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             IN THE UNITED STATES COURT OF APPEALS
                    FOR THE ELEVENTH CIRCUIT



                        APPEAL NO. 23-10031-AA


                    UNITED STATES OF AMERICA,

                          Plaintiff-Appellee,

                                   v.

                        SCOTT MATTHEW YOTKA,

                        Defendant-Appellant.


            APPEAL FROM THE UNITED STATES DISTRICT
           COURT FOR THE MIDDLE DISTRICT OF FLORIDA


                               APPENDIX



                                 A. Fitzgerald Hall, Esq.
                                 Federal Defender

                                 Shehnoor Kaur Grewal, Esq.
                                 Appellate Attorney
                                 Appellate Division
                                 Utah Bar Number 14662
                                 2075 W. First Street, Suite 300
                                 Fort Myers, Florida 33901
                                 Telephone: (239) 334-0397
                                 Email: shehnoor_grewal@fd.org
                                 Counsel for Appellant
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Certificate of Service



FILED SEPARATELY UNDER SEAL

Presentence Investigation Report

Statement of Reasons




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                 DOCKET SHEET
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                                                              APPEAL, CLOSED, CUSTODY, PLED
                         U.S. District Court
               Middle District of Florida (Jacksonville)
 CRIMINAL DOCKET FOR CASE #: 3:21−cr−00106−MMH−JBT All Defendants

Case title: USA v. Yotka

 Magistrate judge case number: 3:21−mj−01443−JBT

Date Filed: 09/29/2021

Date Terminated: 12/21/2022

Assigned to: Judge Marcia Morales
Howard
Referred to: Magistrate Judge Joel B.
Toomey
Appeals court case number:
23−10031−A USCA

Defendant (1)
Scott Matthew Yotka                     represented by Shehnoor Kaur Grewal
Custody                                                Office of the Federal Public Defender
TERMINATED: 12/21/2022                                 Suite 300
also known as                                          2075 West First Street
Scottnjaxx44                                           Ft. Myers, FL 33901
TERMINATED: 12/21/2022                                 239−334−3508
                                                       Email: shehnoor grewal@fd.org
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Maurice C. Grant , II
                                                       Federal Public Defender Florida Middle
                                                       200 W. Forsyth Street
                                                       Ste 1240
                                                       Jacksonville, FL 32202
                                                       904−232−3039
                                                       Fax: 904−232−1937
                                                       Email: maurice grant@fd.org
                                                       ATTORNEY TO BE NOTICED
                                                       Designation: Public Defender or Community
                                                       Defender Appointment

Pending Counts                                         Disposition
                                                       Imprisonment: 720 months, consisting of 360
                                                       months as to each Count One and Count Two to
18:2251.F SEXUAL EXPLOITATION                          run consecutively; Supervised Release: LIFE,
OF CHILDREN                                            consisting of LIFE as to each Count One and
(1)                                                    Count Two to run concurrently; Special
                                                       Assessment: $200.
                                                       Imprisonment: 720 months, consisting of 360
                                                       months as to each Count One and Count Two to
18:2251.F SEXUAL EXPLOITATION                          run consecutively; Supervised Release: LIFE,
OF CHILDREN                                            consisting of LIFE as to each Count One and
(2)                                                    Count Two to run concurrently; Special
                                                       Assessment: $200.

Highest Offense Level (Opening)
USCA11 Case: 23-10031         Document: 22       Date Filed: 03/29/2023        Page: 6 of 200
Felony

Terminated Counts                                       Disposition
18:2252A.F ACTIVITIES RE
MATERIAL                                                Dismissed on the motion of the Assistant U.S.
CONSTITUTING/CONTAINING                                 Attorney and pursuant to the Plea Agreement.
CHILD PORNO
(3)

Highest Offense Level (Terminated)
Felony

Complaints                                              Disposition
18:2252A.F ACTIVITIES RE
MATERIAL
CONSTITUTING/CONTAINING
CHILD PORNO


Plaintiff
USA                                           represented by David Rodney Brown
                                                             US Attorney's Office − FLM
                                                             Suite 700
                                                             300 N Hogan St
                                                             Jacksonville, FL 32202
                                                             904/301−6300
                                                             Email: rodney.brown@usdoj.gov
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Retained

                                                             Mai Tran
                                                             United States Attorney's Office
                                                             Suite 700
                                                             300 N. Hogan Street
                                                             Jacksonville, FL 32202
                                                             904−301−6300
                                                             Fax: 904−301−6310
                                                             Email: mai.tran2@usdoj.gov
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Retained

 Date Filed   #     Docket Text
 09/17/2021    1 COMPLAINT as to Scott Matthew Yotka (1). (Attachments: # 1 Exhibit A −
                 Application for Search Warrant) (TSP) [3:21−mj−01443−JBT] (Entered: 09/17/2021)
 09/17/2021         Arrest of Scott Matthew Yotka on 9/17/2021 (TSP) [3:21−mj−01443−JBT] (Entered:
                    09/17/2021)
 09/17/2021    2 Minute Entry for In Person proceedings held before Magistrate Judge Joel B. Toomey:
                 Initial Appearance as to Scott Matthew Yotka held on 9/17/2021. (Digital) (TSP)
                 [3:21−mj−01443−JBT] (Entered: 09/17/2021)
 09/17/2021    3 ORAL MOTION to Appoint Counsel by Scott Matthew Yotka. (TSP)
                 [3:21−mj−01443−JBT] (Entered: 09/17/2021)
 09/17/2021    4 ORAL MOTION for Detention by USA as to Scott Matthew Yotka. (TSP)
                 [3:21−mj−01443−JBT] (Entered: 09/17/2021)
 09/17/2021    5 ORAL MOTION to Continue the detention hearing by Scott Matthew Yotka. (TSP)
                 [3:21−mj−01443−JBT] (Entered: 09/17/2021)
USCA11 Case: 23-10031        Document: 22        Date Filed: 03/29/2023        Page: 7 of 200
 09/17/2021    6 ***CJA 23 Financial Affidavit by Scott Matthew Yotka. (TSP)
                 [3:21−mj−01443−JBT] (Entered: 09/17/2021)
 09/17/2021    7 ORDER APPOINTING FEDERAL PUBLIC DEFENDER (granting 3 oral
                 motion to appoint counsel) as to Scott Matthew Yotka. Signed by Magistrate
                 Judge Joel B. Toomey on 9/17/2021. (TSP) [3:21−mj−01443−JBT] (Entered:
                 09/17/2021)
 09/17/2021    8 ORDER OF TEMPORARY DETENTION (granting 5 oral motion to continue
                 the detention hearing) as to Scott Matthew Yotka (Detention Hearing set for
                 9/22/2021 at 02:30 PM in Jacksonville Courtroom 5 A before Magistrate Judge
                 Joel B. Toomey.) Signed by Magistrate Judge Joel B. Toomey on 9/17/2021. (TSP)
                 [3:21−mj−01443−JBT] (Entered: 09/17/2021)
 09/22/2021   10 Minute Entry for In Person proceedings held before Magistrate Judge Joel B. Toomey:
                 Detention Hearing as to Scott Matthew Yotka held on 9/22/2021. (Digital) (TSP)
                 [3:21−mj−01443−JBT] (Entered: 09/22/2021)
 09/22/2021   11 ORDER OF DETENTION PENDING TRIAL (granting 4 oral motion for
                 detention) as to Scott Matthew Yotka. Signed by Magistrate Judge Joel B.
                 Toomey on 9/22/2021. (TSP) [3:21−mj−01443−JBT] (Entered: 09/22/2021)
 09/22/2021   12 NOTICE OF HEARING as to Scott Matthew Yotka: Preliminary Hearing set for
                 9/30/2021 at 02:00 PM in Jacksonville Courtroom 5 A before Magistrate Judge Joel B.
                 Toomey. (TSP) [3:21−mj−01443−JBT] (Entered: 09/22/2021)
 09/29/2021   13 INDICTMENT returned in open court as to Scott Matthew Yotka (1) count(s) 1−2, 3.
                 (AEP) (Additional attachment(s) added on 9/30/2021: # 1 Restricted Unredacted
                 Indictment) (AEP). (Entered: 09/30/2021)
 09/29/2021   15 STANDING ORDER as to Scott Matthew Yotka: Pursuant to the Due Process
                 Protections Act, the Court confirms the United States' obligation to produce all
                 exculpatory evidence to the defendant pursuant to Brady v. Maryland, 373 U.S.
                 83 (1963), and its progeny and orders the United States to do so. Failing to do so
                 in a timely manner may result in consequences, including exclusion of evidence,
                 adverse jury instructions, dismissal of charges, contempt proceedings, and
                 sanctions. Signed by Judge Timothy J. Corrigan on 12/01/2020. (AEP) (Entered:
                 09/30/2021)
 09/30/2021   16 NOTICE OF HEARING as to Scott Matthew Yotka: Arraignment set for 9/30/2021 at
                 02:00 PM in Jacksonville Courtroom 5 A before Magistrate Judge Joel B. Toomey.
                 (TSP) (Entered: 09/30/2021)
 09/30/2021   17 Minute Entry for In Person proceedings held before Magistrate Judge Joel B. Toomey:
                 ARRAIGNMENT as to Scott Matthew Yotka (1) Count 1−2, 3 held on 9/30/2021
                 Defendant(s) pled not guilty. (Digital) (TSP) (Entered: 09/30/2021)
 09/30/2021   18 NOTICE of acceptance of general discovery by USA as to Scott Matthew Yotka (Filed
                 in Open Court) (TSP) (Entered: 09/30/2021)
 09/30/2021   19 SCHEDULING ORDER as to Scott Matthew Yotka: Status Conference set for
                 10/18/2021 at 03:00 PM in Jacksonville Courtroom 10 B before Judge Marcia
                 Morales Howard. Jury Trial set for trial term commencing on 11/1/2021 at 09:30
                 AM in Jacksonville Courtroom 10 B before Judge Marcia Morales Howard.
                 Discovery motions due by 10/21/2021. Dispositive motions due by 10/21/2021.
                 Signed by Deputy Clerk on 9/30/2021. (TSP) (Entered: 09/30/2021)
 10/08/2021   20 NOTICE OF ATTORNEY APPEARANCE Mai Tran appearing for USA. (Tran, Mai)
                 (Entered: 10/08/2021)
 10/13/2021   21 NOTICE: The status conference set for October 18, 2021, at 3:00 p.m. will be held
                 telephonically. The Courtroom Deputy Clerk will separately provide counsel with the
                 call−in information. (JW) (Entered: 10/13/2021)
 10/18/2021   22 ORAL MOTION to Continue Trial by Scott Matthew Yotka. (JW) (Entered:
                 10/19/2021)
 10/18/2021   23 Minute Entry for Telephonic proceedings held before Judge Marcia Morales Howard:
                 STATUS Conference as to Scott Matthew Yotka held on 10/18/2021; granting 22 Oral
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                  Motion to Continue as to Scott Matthew Yotka (1). Status Conference set for
                  12/20/2021 at 03:00 PM in Jacksonville Courtroom 10 B before Judge Marcia Morales
                  Howard. Jury Trial set for trial term commencing on 1/3/2022 at 09:00 AM in
                  Jacksonville Courtroom 10 B before Judge Marcia Morales Howard. Court Reporter:
                  Cindy Packevicz Jarriel (JW) (Entered: 10/19/2021)
 10/19/2021       Set/Reset Deadlines as to Scott Matthew Yotka: Plea Agreement due by 12/27/2021.
                  (RH) (Entered: 10/20/2021)
 12/14/2021   24 NOTICE: The status conference set for December 20, 2021, at 3:00 p.m. will be held
                 telephonically. The Courtroom Deputy Clerk will separately provide counsel with the
                 call−in information for the hearing. (JW) (Entered: 12/14/2021)
 12/20/2021   25 ORAL MOTION to Continue Trial by Scott Matthew Yotka. (JW) (Entered:
                 12/21/2021)
 12/20/2021   26 Minute Entry for Telephonic proceedings held before Judge Marcia Morales Howard:
                 STATUS Conference as to Scott Matthew Yotka held on 12/20/2021; granting 25 Oral
                 Motion to Continue as to Scott Matthew Yotka (1). Status Conference set for
                 1/24/2022 at 03:00 PM in Jacksonville Courtroom 10 B before Judge Marcia Morales
                 Howard. Jury Trial set for trial term commencing on 2/7/2022 at 09:00 AM in
                 Jacksonville Courtroom 10 B before Judge Marcia Morales Howard. Court Reporter:
                 Georgia/Rodriguez/Cornerstone (JW) (Entered: 12/21/2021)
 12/21/2021       Set/Reset Deadlines as to Scott Matthew Yotka: Plea Agreement due by 1/31/2022.
                  (BGR) (Entered: 12/21/2021)
 01/19/2022   27 NOTICE: The status conference set for January 24, 2022, at 3:00 p.m. will be held
                 telephonically. The Courtroom Deputy Clerk will separately provide counsel with the
                 call−in information for the hearing. (JW) (Entered: 01/19/2022)
 01/24/2022   28 ORAL MOTION to Continue Trial by Scott Matthew Yotka. (JW) (Entered:
                 01/25/2022)
 01/24/2022   29 Minute Entry for Telephonic proceedings held before Judge Marcia Morales Howard:
                 STATUS Conference as to Scott Matthew Yotka held on 1/24/2022; granting 28 Oral
                 Motion to Continue as to Scott Matthew Yotka (1). Status Conference set for
                 3/21/2022 at 03:00 PM in Jacksonville Courtroom 10 B before Judge Marcia Morales
                 Howard. Jury Trial set for trial term commencing on 4/4/2022 at 09:00 AM in
                 Jacksonville Courtroom 10 B before Judge Marcia Morales Howard. Court Reporter:
                 Kathy Healey (JW) (Entered: 01/25/2022)
 01/25/2022       Set/Reset Deadlines as to Scott Matthew Yotka: Plea Agreement due by 3/28/2022.
                  (BGR) (Entered: 01/25/2022)
 03/21/2022   30 ORAL MOTION to Continue Trial by Scott Matthew Yotka. (JW) (Entered:
                 03/22/2022)
 03/21/2022   31 Minute Entry for In Person proceedings held before Judge Marcia Morales Howard:
                 STATUS Conference as to Scott Matthew Yotka held on 3/21/2022; granting 30 Oral
                 Motion to Continue as to Scott Matthew Yotka (1). Status Conference set for
                 4/18/2022 at 03:00 PM in Jacksonville Courtroom 10 B before Judge Marcia Morales
                 Howard. Jury Trial set for trial term commencing on 5/2/2022 at 09:00 AM in
                 Jacksonville Courtroom 10 B before Judge Marcia Morales Howard. Court Reporter:
                 Katharine Healey (JW) (Entered: 03/22/2022)
 03/24/2022       Set/Reset Deadlines as to Scott Matthew Yotka: Plea Agreement due by 4/25/2022.
                  (RH) (Entered: 03/24/2022)
 04/18/2022   32 ORAL MOTION to Continue Trial by Scott Matthew Yotka. (JW) (Entered:
                 04/18/2022)
 04/18/2022   33 Minute Entry for In Person proceedings held before Judge Marcia Morales Howard:
                 STATUS Conference as to Scott Matthew Yotka held on 4/18/2022; granting 32 Oral
                 Motion to Continue as to Scott Matthew Yotka (1). Status Conference set for
                 5/23/2022 at 03:00 PM in Jacksonville Courtroom 10 B before Judge Marcia Morales
                 Howard. Jury Trial set for trial term commencing on 6/6/2022 at 09:00 AM in
                 Jacksonville Courtroom 10 B before Judge Marcia Morales Howard. Court Reporter:
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                  Katharine Healey (JW) (Entered: 04/18/2022)
 04/20/2022       Set/Reset Deadlines as to Scott Matthew Yotka: Plea Agreement due by 5/31/2022.
                  (RH) (Entered: 04/20/2022)
 05/09/2022   34 NOTICE OF HEARING as to Scott Matthew Yotka: Change of Plea Hearing set for
                 5/13/2022 at 03:00 PM in Jacksonville Courtroom 5 A before Magistrate Judge Joel B.
                 Toomey. (TSP) (Entered: 05/09/2022)
 05/13/2022   35 Minute Entry for In Person proceedings held before Magistrate Judge Joel B. Toomey:
                 Change of Plea Hearing as to Scott Matthew Yotka held on 5/13/2022. (Digital) (TSP)
                 (Entered: 05/13/2022)
 05/13/2022   36 CONSENT regarding entry of a plea of guilty as to Scott Matthew Yotka (Filed in
                 Open Court) (TSP) (Entered: 05/13/2022)
 05/13/2022   37 PLEA AGREEMENT re: count(s) One and Two of the Indictment as to Scott Matthew
                 Yotka (Filed in Open Court) (Original Plea Agreement returned to AUSA) (TSP)
                 (Entered: 05/13/2022)
 05/13/2022   38 REPORT AND RECOMMENDATIONS Concerning Plea of Guilty re: count(s)
                 One and Two of the Indictment as to Scott Matthew Yotka. Signed by Magistrate
                 Judge Joel B. Toomey on 5/13/2022. (TSP) (Entered: 05/13/2022)
 06/01/2022   40 ACCEPTANCE OF PLEA of guilty and adjudication of guilt re: Counts One and Two
                 of the Indictment as to Scott Matthew Yotka. Sentencing set for 8/15/2022 at
                 09:30AM in Jacksonville Courtroom 10 B before Judge Marcia Morales Howard.
                 Signed by Judge Marcia Morales Howard on 6/1/2022. (JW) (Entered: 06/01/2022)
 06/01/2022   41 MOTION for Entry of a Preliminary Order of Forfeiture by USA as to Scott Matthew
                 Yotka. (Tran, Mai) (Modified on 6/2/2022, to edit text) (BGR). (Entered: 06/01/2022)
 06/17/2022   42 PRELIMINARY ORDER OF FORFEITURE (granting 41 Motion for Forfeiture
                 of Property as to Scott Matthew Yotka (1)). Signed by Judge Marcia Morales
                 Howard on 6/17/2022. (JW) (Entered: 06/17/2022)
 06/27/2022   43 NOTICE to the Court Regarding Forfeiture by USA as to Scott Matthew Yotka re 42
                 Order on Motion for Forfeiture of Property. (Tran, Mai) (Entered: 06/27/2022)
 08/02/2022   45 Unopposed MOTION to Continue Sentencing by Scott Matthew Yotka. (Grant,
                 Maurice) (Entered: 08/02/2022)
 08/03/2022   46 ORDER granting 45 Motion to Continue as to Scott Matthew Yotka (1). The
                 sentencing is continued to October 13, 2022, at 1:30 p.m. Signed by Judge Marcia
                 Morales Howard on 8/3/2022. (JW) (Entered: 08/03/2022)
 10/07/2022   49 SECOND UPPOSED MOTION to Continue Sentencing by Scott Matthew Yotka.
                 (Grant, Maurice) Modified on 10/7/2022 to edit text (AET). (Entered: 10/07/2022)
 10/07/2022   50 ORDER granting 49 Motion to Continue as to Scott Matthew Yotka (1).
                 Sentencing continued to November 21, 2022, at 1:00 p.m. Signed by Judge Marcia
                 Morales Howard on 10/7/2022. (JW) (Entered: 10/07/2022)
 11/21/2022   51 JOINT ORAL MOTION to Continue Sentencing by USA, Scott Matthew Yotka as to
                 Scott Matthew Yotka. (JW) (Entered: 11/22/2022)
 11/21/2022   52 Minute Entry for In Person proceedings held before Judge Marcia Morales Howard:
                 SENTENCING held on 11/21/2022; granting 51 Joint Oral Motion to Continue
                 Sentencing as to Scott Matthew Yotka (1). Court Reporter: Katharine Healey (JW)
                 (Entered: 11/22/2022)
 11/22/2022   53 NOTICE OF HEARING as to Scott Matthew Yotka: Sentencing set for 12/21/2022 at
                 9:30 a.m. in Jacksonville Courtroom 10 B before Judge Marcia Morales Howard. (JW)
                 (Entered: 11/22/2022)
 12/21/2022   54 Minute Entry for In Person proceedings held before Judge Marcia Morales Howard:
                 SENTENCING held on 12/21/2022 for Scott Matthew Yotka (1), Count(s) 1, 2,
                 Imprisonment: 720 months, consisting of 360 months as to each Count One and Count
                 Two to run consecutively; Supervised Release: LIFE, consisting of LIFE as to each
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                   Count One and Count Two to run concurrently; Special Assessment: $200; Count(s) 3,
                   Dismissed on the motion of the Assistant U.S. Attorney and pursuant to the Plea
                   Agreement. Defendant is remanded to the custody of the U.S. Marshal. Court
                   Reporter: Katharine Healey (BGR) (Entered: 12/22/2022)
  12/21/2022   55 JUDGMENT as to Scott Matthew Yotka (1), Count(s) 1, 2, Imprisonment: 720
                  months, consisting of 360 months as to each Count One and Count Two to run
                  consecutively; Supervised Release: LIFE, consisting of LIFE as to each Count
                  One and Count Two to run concurrently; Special Assessment: $200; Count(s) 3,
                  Dismissed on the motion of the Assistant U.S. Attorney and pursuant to the Plea
                  Agreement. Signed by Judge Marcia Morales Howard on 12/21/2022. (BGR)
                  (Entered: 12/22/2022)
  01/03/2023   57 NOTICE OF APPEAL by Scott Matthew Yotka re 55 Judgment,. Filing fee not paid
                  (Grant, Maurice) (Entered: 01/03/2023)
  01/04/2023   58 TRANSMITTAL of initial appeal package as to Scott Matthew Yotka to USCA
                  consisting of copies of notice of appeal, order/judgment being appealed, and motion, if
                  applicable to USCA re 57 Notice of Appeal. Eleventh Circuit Transcript information
                  form available to counsel at www.flmd.uscourts.gov under Forms and
                  Publications/General. (Attachments: # 1 Notice of appeal, # 2 Judgment)(SJW)
                  (Entered: 01/04/2023)
  01/05/2023       USCA Case Number as to Scott Matthew Yotka. USCA Number: 23−10031−A for 57
                   Notice of Appeal filed by Scott Matthew Yotka. (SJW) (Entered: 01/09/2023)
  01/06/2023   59 NOTICE OF ATTORNEY APPEARANCE: Shehnoor Kaur Grewal appearing for
                  Scott Matthew Yotka (Grewal, Shehnoor) (Entered: 01/06/2023)
  01/19/2023   60 TRANSCRIPT information form filed by Scott Matthew Yotka for proceedings held
                  on 12/20/2021 before Judge Marcia Morales Howard re 57 Notice of Appeal. USCA
                  number: 23−10031. (Grewal, Shehnoor) (Entered: 01/19/2023)
  01/19/2023   61 TRANSCRIPT information form filed by Scott Matthew Yotka for proceedings held
                  on 10/18/2021 before Judge Marcia Morales Howard re 57 Notice of Appeal. USCA
                  number: 23−10031. (Grewal, Shehnoor) (Entered: 01/19/2023)
  01/19/2023   62 TRANSCRIPT information form filed by Scott Matthew Yotka for proceedings held
                  on 9/17/2021,9/22/2021,1/24/2022,3/21/2022, 4/18/2022, 5/13/2022, 11/21/2022 &
                  12/21/2022 before Judge Marcia Morales Howard & Joel B. Toomey re 57 Notice of
                  Appeal. USCA number: 23−10031. (Grewal, Shehnoor) (Entered: 01/19/2023)
  01/20/2023   63 COURT REPORTER ACKNOWLEDGMENT by Katharine M. Healey, RMR, CRR,
                  FPR−C re 57 Notice of Appeal as to Scott Matthew Yotka. Estimated transcript filing
                  date: 01/26/2023. USCA number: 23−10031. (KMH) (Entered: 01/20/2023)
  01/20/2023   64 COURT REPORTER ACKNOWLEDGMENT by Cindy Packevicz Jarriel re 57
                  Notice of Appeal as to Scott Matthew Yotka. Estimated transcript filing date: 2/18/23.
                  USCA number: 23−10031. (SMK) (Entered: 01/20/2023)
  01/25/2023   65 TRANSCRIPT information form filed by Scott Matthew Yotka for proceedings held
                  on 12/20/2021 before Judge Marcia Morales Howard re 57 Notice of Appeal. USCA
                  number: 23−10031. (Grewal, Shehnoor) (Entered: 01/25/2023)
  01/26/2023   66 COURT REPORTER ACKNOWLEDGMENT by Georgia Rodriguez (Cornerstone)
                  re 57 Notice of Appeal as to Scott Matthew Yotka. Estimated transcript filing date:
                  2/18/23. USCA number: 23−10031. (SJW) (Entered: 01/26/2023)
  02/01/2023   67 NOTICE Regarding Restitution by USA as to Scott Matthew Yotka (Brown, David)
                  (Entered: 02/01/2023)
  02/03/2023   68 AMENDED JUDGMENT as to Scott Matthew Yotka (1), Count(s) 1, 2,
                  Imprisonment: 720 months, consisting of 360 months as to each Count One and
                  Count Two to run consecutively; Supervised Release: LIFE, consisting of LIFE as
                  to each Count One and Count Two to run concurrently; Special Assessment:
                  $200.; Count(s) 3, Dismissed on the motion of the Assistant U.S. Attorney and
                  pursuant to the Plea Agreement. Signed by Judge Marcia Morales Howard on
                  2/2/2023. (BD) (Entered: 02/03/2023)
USCA11 Case: 23-10031         Document: 22         Date Filed: 03/29/2023          Page: 11 of 200
  02/07/2023   69 TRANSCRIPT of Sentencing Hearing for dates of 11/21/2022 held before Judge
                  Marcia Morales Howard, re: 57 Notice of Appeal as to Scott Matthew Yotka. Court
                  Reporter/Transcriber: Katharine M. Healey, RMR, CRR, FPR−C. Email address:
                  katharinehealey@bellsouth.net. Telephone number: 904−301−6843.

                   NOTICE TO THE PARTIES − The parties have seven (7) calendar days to file with
                   the court a Notice of Intent to Request Redaction of this transcript. If no such notice is
                   filed, the transcript may be made remotely available to the public without redaction
                   after ninety (90) calendar days. Transcript may be viewed at the court public terminal
                   or purchased through the Court Reporter/Transcriber before the deadline for Release of
                   Transcript Restriction. After that date it may be obtained through PACER or purchased
                   through the Court Reporter. Redaction Request due 2/28/2023. Redacted Transcript
                   Deadline set for 3/10/2023. Release of Transcript Restriction set for 5/8/2023. (KMH)
                   (Entered: 02/07/2023)
  02/07/2023   70 TRANSCRIPT of Sentencing Hearing for dates of 12/21/2022 held before Judge
                  Marcia Morales Howard, re: 57 Notice of Appeal as to Scott Matthew Yotka. Court
                  Reporter/Transcriber: Katharine M. Healey, RMR, CRR, FPR−C. Email address:
                  katharinehealey@bellsouth.net. Telephone number: 904−301−6843.

                   NOTICE TO THE PARTIES − The parties have seven (7) calendar days to file with
                   the court a Notice of Intent to Request Redaction of this transcript. If no such notice is
                   filed, the transcript may be made remotely available to the public without redaction
                   after ninety (90) calendar days. Transcript may be viewed at the court public terminal
                   or purchased through the Court Reporter/Transcriber before the deadline for Release of
                   Transcript Restriction. After that date it may be obtained through PACER or purchased
                   through the Court Reporter. Redaction Request due 2/28/2023. Redacted Transcript
                   Deadline set for 3/10/2023. Release of Transcript Restriction set for 5/8/2023. (KMH)
                   (Entered: 02/07/2023)
  02/07/2023   71 TRANSCRIPT of Digitally Recorded Change of Plea hearing for dates of 5/13/2022
                  held before Judge Joel B. Toomey, re: 57 Notice of Appeal as to Scott Matthew Yotka.
                  Court Reporter/Transcriber: Katharine M. Healey, RMR, CRR, FPR−C. Email
                  address: katharinehealey@bellsouth.net. Telephone number: 904−301−6843.

                   NOTICE TO THE PARTIES − The parties have seven (7) calendar days to file with
                   the court a Notice of Intent to Request Redaction of this transcript. If no such notice is
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                   Transcript Restriction. After that date it may be obtained through PACER or purchased
                   through the Court Reporter. Redaction Request due 2/28/2023. Redacted Transcript
                   Deadline set for 3/10/2023. Release of Transcript Restriction set for 5/8/2023. (KMH)
                   Modified text on 2/10/2023 (BD). (Entered: 02/07/2023)
  02/07/2023   72 TRANSCRIPT of Digitally Recorded Initial Appearance for dates of 09/17/2021 held
                  before Judge Joel B. Toomey, re: 57 Notice of Appeal as to Scott Matthew Yotka.
                  Court Reporter/Transcriber: Katharine M. Healey, RMR, CRR, FPR−C. Email
                  address: katharinehealey@bellsouth.net. Telephone number: 904−301−6843.

                   NOTICE TO THE PARTIES − The parties have seven (7) calendar days to file with
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                   or purchased through the Court Reporter/Transcriber before the deadline for Release of
                   Transcript Restriction. After that date it may be obtained through PACER or purchased
                   through the Court Reporter. Redaction Request due 2/28/2023. Redacted Transcript
                   Deadline set for 3/10/2023. Release of Transcript Restriction set for 5/8/2023. (KMH)
                   Modified text on 2/10/2023 (BD). (Entered: 02/07/2023)
  02/07/2023   73 TRANSCRIPT of Digitally Recorded Detention Hearing for dates of 09/22/2021 held
                  before Judge Joel B. Toomey, re: 57 Notice of Appeal as to Scott Matthew Yotka.
                  Court Reporter/Transcriber: Katharine M. Healey, RMR, CRR, FPR−C. Email
                  address: katharinehealey@bellsouth.net. Telephone number: 904−301−6843.

                   NOTICE TO THE PARTIES − The parties have seven (7) calendar days to file with
USCA11 Case: 23-10031         Document: 22         Date Filed: 03/29/2023           Page: 12 of 200
                   the court a Notice of Intent to Request Redaction of this transcript. If no such notice is
                   filed, the transcript may be made remotely available to the public without redaction
                   after ninety (90) calendar days. Transcript may be viewed at the court public terminal
                   or purchased through the Court Reporter/Transcriber before the deadline for Release of
                   Transcript Restriction. After that date it may be obtained through PACER or purchased
                   through the Court Reporter. Redaction Request due 2/28/2023. Redacted Transcript
                   Deadline set for 3/10/2023. Release of Transcript Restriction set for 5/8/2023. (KMH)
                   (Entered: 02/07/2023)
  02/07/2023   74 TRANSCRIPT of Telephonic Criminal Status Conference for dates of 01/24/2022 held
                  before Judge Marcia Morales Howard, re: 57 Notice of Appeal as to Scott Matthew
                  Yotka. Court Reporter/Transcriber: Katharine M. Healey, RMR, CRR, FPR−C. Email
                  address: katharinehealey@bellsouth.net. Telephone number: 904−301−6843.

                   NOTICE TO THE PARTIES − The parties have seven (7) calendar days to file with
                   the court a Notice of Intent to Request Redaction of this transcript. If no such notice is
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                   or purchased through the Court Reporter/Transcriber before the deadline for Release of
                   Transcript Restriction. After that date it may be obtained through PACER or purchased
                   through the Court Reporter. Redaction Request due 2/28/2023. Redacted Transcript
                   Deadline set for 3/10/2023. Release of Transcript Restriction set for 5/8/2023. (KMH)
                   (Entered: 02/07/2023)
  02/07/2023   75 TRANSCRIPT of Criminal Status Conference for dates of 03/21/2022 held before
                  Judge Marcia Morales Howard, re: 57 Notice of Appeal as to Scott Matthew Yotka.
                  Court Reporter/Transcriber: Katharine M. Healey, RMR, CRR, FPR−C. Email
                  address: katharinehealey@bellsouth.net. Telephone number: 904−301−6843.

                   NOTICE TO THE PARTIES − The parties have seven (7) calendar days to file with
                   the court a Notice of Intent to Request Redaction of this transcript. If no such notice is
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                   or purchased through the Court Reporter/Transcriber before the deadline for Release of
                   Transcript Restriction. After that date it may be obtained through PACER or purchased
                   through the Court Reporter. Redaction Request due 2/28/2023. Redacted Transcript
                   Deadline set for 3/10/2023. Release of Transcript Restriction set for 5/8/2023. (KMH)
                   (Entered: 02/07/2023)
  02/07/2023   76 TRANSCRIPT of Criminal Status Conference for dates of 04/18/2022 held before
                  Judge Marcia Morales Howard, re: 57 Notice of Appeal as to Scott Matthew Yotka.
                  Court Reporter/Transcriber: Katharine M. Healey, RMR, CRR, FPR−C. Email
                  address: katharinehealey@bellsouth.net. Telephone number: 904−301−6843.

                   NOTICE TO THE PARTIES − The parties have seven (7) calendar days to file with
                   the court a Notice of Intent to Request Redaction of this transcript. If no such notice is
                   filed, the transcript may be made remotely available to the public without redaction
                   after ninety (90) calendar days. Transcript may be viewed at the court public terminal
                   or purchased through the Court Reporter/Transcriber before the deadline for Release of
                   Transcript Restriction. After that date it may be obtained through PACER or purchased
                   through the Court Reporter. Redaction Request due 2/28/2023. Redacted Transcript
                   Deadline set for 3/10/2023. Release of Transcript Restriction set for 5/8/2023. (KMH)
                   (Entered: 02/07/2023)
  02/07/2023   77 NOTIFICATION that transcript has been filed by Katharine M. Healey, RMR, CRR,
                  FPR−C re: 57 Notice of Appeal as to Scott Matthew Yotka. USCA number:
                  23−10031. (KMH) (Entered: 02/07/2023)
  02/15/2023   78 TRANSCRIPT of TELEPHONIC CRIMINAL STATUS CONFERENCE for dates of
                  December 20, 2021 held before Judge Marcia Morales Howard, re: 57 Notice of
                  Appeal as to Scott Matthew Yotka. Court Reporter/Transcriber: Georgeanne
                  Rodriguez. Telephone number: (904) 647−4723.

                   NOTICE TO THE PARTIES − The parties have seven (7) calendar days to file with
                   the court a Notice of Intent to Request Redaction of this transcript. If no such notice is
                   filed, the transcript may be made remotely available to the public without redaction
USCA11 Case: 23-10031         Document: 22         Date Filed: 03/29/2023          Page: 13 of 200
                   after ninety (90) calendar days. Transcript may be viewed at the court public terminal
                   or purchased through the Court Reporter/Transcriber before the deadline for Release of
                   Transcript Restriction. After that date it may be obtained through PACER or purchased
                   through the Court Reporter. Redaction Request due 3/8/2023. Redacted Transcript
                   Deadline set for 3/20/2023. Release of Transcript Restriction set for 5/16/2023. (SJW)
                   (Entered: 02/17/2023)
  02/15/2023   79 NOTIFICATION that transcript has been filed by Georgia Rodriguez re: 57 Notice of
                  Appeal as to Scott Matthew Yotka. USCA number: 23−10031. (SJW) (Entered:
                  02/17/2023)
  02/17/2023   80 TRANSCRIPT of Criminal Status Conference for dates of 10/18/21 held before Judge
                  Howard, re: 57 Notice of Appeal as to Scott Matthew Yotka. Court
                  Reporter/Transcriber: Cindy Packevicz Jarriel. Email address:
                  cindyrprfcrr@gmail.com. Telephone number: 904.651.8997.

                   NOTICE TO THE PARTIES − The parties have seven (7) calendar days to file with
                   the court a Notice of Intent to Request Redaction of this transcript. If no such notice is
                   filed, the transcript may be made remotely available to the public without redaction
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                   through the Court Reporter. Redaction Request due 3/10/2023. Redacted Transcript
                   Deadline set for 3/20/2023. Release of Transcript Restriction set for 5/18/2023. (SMK)
                   (Entered: 02/17/2023)
  02/17/2023   81 NOTIFICATION that transcript has been filed by Cindy Packevicz Jarriel re: 57
                  Notice of Appeal as to Scott Matthew Yotka. USCA number: 23−10031. (SMK)
                  (Entered: 02/17/2023)
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USCA11 Case: 23-10031       Document: 22     Date Filed: 03/29/2023   Page: 15 of 200


                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION


UNITED STATES OF AMERICA

V.                                            Case No. 3:21-cr- 106 MMt\-:1"'31
                                                                      Jo



                                                    18 U.S.C. § 2251(a)
SCOTT MATTHEW YOTKA                                 18 U.S.C. § 2252(a)(2)
  a/k/a "Scottnjax44"



                                  INDICTMENT

      The Grand Jury charges:

                                   COUNT ONE

      On or about September 3, 2021, in the Middle District of Florida, the

defendant,

                          SCOTT MATTHEW YOTKA,
                             a/k/ a "Scottnjax44",

did employ, use, persuade, induce, entice and coerce a minor, Minor 1, to engage in

any sexually explicit conduct for the purpose of producing visual depictions of such

conduct, which visual depictions were produced using materials that have been

mailed, shipped, and transported in and affecting interstate and foreign commerce by

any means.

      In violation of 18 U.S.C. § 2251(a) and (e).
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USCA11 Case: 23-10031       Document: 22       Date Filed: 03/29/2023   Page: 16 of 200


                                    COUNTTWO

       On or about September 3, 2021, in the Middle District of Florida, the

defendant,

                           SCOTT MATTHEW YOTKA,
                              a/k/a "Scottnjax44",

did employ, use, persuade, induce, entice and coerce a minor, Minor 2, to engage in

·any sexually explicit conduct for the purpose of producing visual depictions of such

conduct, which visual depictions were produced using materials that have been

mailed, shipped, and transported in and affecting interstate and foreign commerce by

any means.

       In violation of 18 U.S.C. § 225l(a) and (e).



                                   COUNTTHREE

       On or about September 15, 2021, in the Middle District ofFlorida, the

defendant,

                           SCOTT MATTHEW YOTKA,
                              a/k/a "Scottnjax44",

did knowingly distribute visual depictions using a facility of interstate commerce,

that is, by cellular telephone via the internet, when the production of the visual

depictions involved the use of minors engaging in sexually explicit conduct, and the

visual depictions were of such conduct.

       In violation of 18 U.S.C. § 2252(a)(2) and (b)(l).


                                           2
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                                    FORFEITURE
       I.    The allegations contained in Counts One, Two, and Three of this

Indictment are hereby realleged and incorporated by reference for the purpose

of alleging forfeitures pursuant to the provision of 18 U.S.C. § 2253.

      2.     Upon conviction of a violation of 18 U.S.C. § 2251(a) and/or

2252(a)(2), the defendant, SCOTT MATTHEW YOTKA, a/k/a "Scottnjax44",

shall forfeit to the United States of America, pursuant to 18 U.S.C. § 2253, any visual

depiction described in 18 U.S.C. §§ 2251, 2251A, 2252, 2252A, 2252B, or 2260 of

Chapter 110 of Title 18, United States Code, or any book, magazine, periodical, film,

videotape, or other matter which contains any such visual depiction, which was

produced, transported, mailed, shipped, or received in violation of Chapter 11 O; any

property, real or personal, constituting or traceable to gross profits or other proceeds

obtained from such offense; and any property, real or personal, used or intended to

be used to commit or to promote the commission of such offense.

      4.     If any of the property described above, as a result of any act or omission

of the defendant:

             a.     cannot be located upon the exercise of due diligence;

             b.     has been transferred or sold to, or deposited with, a third party;

             c.     has been placed beyond the jurisdiction of the court;

             d.     has been substantially diminished in value; or

             e.     has been commingled with other property which cannot be

                    divided without difficulty,
                                            3
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the United States of America shall be entitled to forfeiture of substitute property

pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 2253(b).



                                          A TRUE BILL,




                                          Foreperson



                                orney


By:

      Assistant    ited States Attorney
      Senior Litigation Counsel


By:
        ~ ~~
      KELYRASE
      Assistant United States Attorney
      Deputy Chief, Jacksonville Division




                                            4
      USCA11 Case: 23-10031                Document: 22          Date Filed: 03/29/2023   Page: 19 of 200




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9/28/ 21 Revised                        N o.


                                        UNITED STATES DISTRICT COURT
                                             Middle District of Florida
                                              Jacksonville Division

                                       THE UNITED STATES OF AMERICA

                                                           vs.

                                                SCOTT MATTHEW YOTKA
                                                   a/k/a "Scottnjax44"


                                                       INDICTMENT

                     Violations: 18 U.S.C. § 225l(a)
                                 18 U.S.C. § 2252(a)(2)


                     A true bill,


                                         Foreperson


                     Filed in open court this   2q~ day
                     of September, 2021.
                     r-4 ~ s.+>~,u,Jn
                                               Clerk



                     Bail   $_ _ _ __ __
                                                                                                       l il'01i6l :S2S
USCA11 Case: 23-10031   Document: 22   Date Filed: 03/29/2023   Page: 20 of 200




                           DOC. 72
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      1                        UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
      2                            JACKSONVILLE DIVISION

      3   UNITED STATES OF AMERICA,            Case No. 3:21-cr-00106-MMH-JBT

      4           Plaintiff,                   September 17, 2021

      5   v.                                   2:40 p.m. - 2:53 p.m.

      6   SCOTT MATTHEW YOTKA,                 (Digitally Recorded)

      7          Defendant.
          ______________________________________________________________
      8

      9
                         DIGITALLY RECORDED INITIAL APPEARANCE
     10
                          BEFORE THE HONORABLE JOEL B. TOOMEY
     11                      UNITED STATES MAGISTRATE JUDGE

     12                           A P P E A R A N C E S

     13
          COUNSEL FOR PLAINTIFF:
     14   D. RODNEY BROWN, Esquire
            United States Attorney's Office
     15     300 North Hogan Street, Suite 700
            Jacksonville, FL 32202
     16

     17   COUNSEL FOR DEFENDANT:
          MAURICE C. GRANT, II, Esquire
     18     Federal Public Defender - MDFL
            200 West Forsyth Street, Suite 1240
     19     Jacksonville, FL 32202

     20
          OFFICIAL COURT REPORTER:
     21   Katharine M. Healey, RMR, CRR, FPR-C
            PO Box 56814
     22     Jacksonville, FL 32241
            Telephone: (904) 301-6843
     23     KatharineHealey@bellsouth.net

     24
                       (Proceedings    recorded by electronic sound     recording;
     25                                      transcript produced by     computer.)
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      1                             P R O C E E D I N G S

      2   September 17, 2021                                            2:40 p.m.

      3                                    -   -    -

      4                COURT SECURITY OFFICER:     All rise.   The United States

      5   District Court in and for the Middle District of Florida is now

      6   in session.    The Honorable Joel B. Toomey presiding.

      7                Please be seated.

      8                THE COURT:   Madame Clerk, if you could swear in the

      9   interpreter.

     10         (Interpreter sworn.)

     11                THE COURT:   All right.     We're here in two unrelated

     12   cases, United States vs. Noe Vicente-Barrera.         It's

     13   Case No. 3:21-mj-1433.

     14                And the defendant's present.     And Mr. Grant is here

     15   on that case.    And Mr. Corsmeier is here for the government on

     16   that case.    And we're here for a detention hearing in that

     17   case.

     18                And then United States vs. Scott Matthew Yotka,

     19   Case No. 3:21-mj-1443.

     20                And the defendant's present in that case.       And

     21   Mr. Grant's here for possible appointment.         And Mr. Brown is

     22   here for the government.

     23                So first of all, on Mr. Vicente-Barrera's case, are

     24   the parties ready to proceed with the detention hearing?

     25         (Defendant Vicente-Barrera's case heard; proceedings not
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      1   transcribed.)

      2                             *   *      *     *    *

      3                THE COURT:   All right.     So we're now here on

      4   Mr. Yotka's case.

      5                Mr. Yotka, I need to ask you some background

      6   questions.    You can keep your seat there.

      7                What is your full name?

      8                THE DEFENDANT:   Scott Matthew Yotka.

      9                THE COURT:   And what's your date of birth?

     10                THE DEFENDANT:   May 20th, 1974.

     11                THE COURT:   And what's your current home address?

     12                THE DEFENDANT:   10158 Bradley Road Jacksonville,

     13   Florida, 32246.

     14                THE COURT:   And how long have you lived there?

     15                THE DEFENDANT:   Since January of last year.

     16                THE COURT:   And are you a U.S. citizen?

     17                THE DEFENDANT:   Yes.

     18                THE COURT:   How much schooling or education have you

     19   completed?

     20                THE DEFENDANT:   I have an AA degree.

     21                THE COURT:   And so can you read, write, and

     22   understand English?

     23                THE DEFENDANT:   Yes.

     24                THE COURT:   Are you currently under the influence of

     25   any drugs, alcohol, or other intoxicants?
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      1              THE DEFENDANT:     No.

      2              THE COURT:    Are you currently under the influence of

      3   any medications?

      4              THE DEFENDANT:     Blood pressure medicine.

      5              THE COURT:    Does that medication have any impact on

      6   your ability to understand these proceedings?

      7              THE DEFENDANT:     No.

      8              THE COURT:    And are you currently under the care of a

      9   physician or psychiatrist?

     10              THE DEFENDANT:     A specialist for blood pressure, yes.

     11              THE COURT:    Okay.   Any other type of treatment?

     12              THE DEFENDANT:     No.

     13              THE COURT:    Have you ever been treated for any mental

     14   illness?

     15              THE DEFENDANT:     No.

     16              THE COURT:    To your knowledge, do you now suffer from

     17   any mental or emotional disability?

     18       (Pause in proceedings.)

     19              THE COURT:    Are you thinking or . . .

     20              Well, while you're thinking about that --

     21              THE DEFENDANT:     I am -- I do --

     22              THE COURT:    Sorry, go ahead.

     23              THE DEFENDANT:     I do feel like I suffer from

     24   depression sometimes, but that's about it.

     25              THE COURT:    Have you ever been treated for
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      1   depression?

      2              THE DEFENDANT:     Negative.

      3              THE COURT:    And right now do you clearly understand

      4   where you are, what you're doing, and the importance of this

      5   proceeding?

      6              THE DEFENDANT:     Yes.

      7              THE COURT:    Is the agent here to . . .

      8       (Pause in proceedings.)

      9              THE COURT:    A criminal complaint has been filed

     10   against you.    Have you received a copy of this complaint?

     11              THE DEFENDANT:     Yes.

     12              THE COURT:    I'm going to ask the government to advise

     13   you of the charge contained in the complaint as well as the

     14   maximum and any minimum penalties.

     15              MR. BROWN:    Mr. Yotka, you've been charged in a

     16   one-count criminal complaint.        This particular complaint

     17   charges you with the knowing distribution of child pornography,

     18   and specifically in the affidavit it lays out the full breadth

     19   of the charge.

     20              It alleges that on or about September 15, 2021, in

     21   the Middle District of Florida, that you, also known as

     22   "ScottnJax44," did knowingly distribute visual depictions using

     23   facilities of interstate commerce, that is, by cellular

     24   telephone via the internet, the -- when the production of the

     25   visual depictions involved the use of minors engaging in
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      1   sexually explicit conduct and the visual depictions were of

      2   such conduct.    And that's alleged to be in violation of Title

      3   18, United States Code, Section 2252(a)(2) and (b)(1).

      4              Now, sir, if you were to be found guilty of the

      5   charge which is set forth in the criminal complaint and the

      6   district court were to sentence you under the maximum penalties

      7   under the law, you'd face the following:

      8              A term of imprisonment of not less than five years,

      9   that is, a minimum mandatory five years, up to 20 years in

     10   prison, $250,000 in fines, or both the fine and the term of

     11   imprisonment.    There's a special assessment of $100 which is

     12   akin to a court cost and another special assessment of $5,000

     13   under the Justice for Victims of Trafficking Act if you're

     14   found to be non-indigent.

     15              Additionally, you'd be subject to a term of

     16   supervised release of not less than five years and potentially

     17   up to life term of supervised release.        And if you were to

     18   violate the terms and conditions of your supervised release by

     19   committing one of the listed felonies which are set forth in

     20   Title 18, United States Code, Section 3583(k), which are

     21   essentially federal criminal sexual offenses or kidnapping, and

     22   you were to commit that crime having had registered as a sex

     23   offender, which if you're convicted in this case you would be

     24   one, then you would be subject to revocation of your supervised

     25   release and the judge would have no choice but to sentence you
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      1   to a term of imprisonment of not less than five years,

      2   potentially up to life.       However, if you were to violate the

      3   terms and conditions in some other manner, you could be sent

      4   back to prison for potentially up to two additional years.

      5                Moreover, there is a statute under -- which requires

      6   payment of at least $3,000 per victim of each of the victims

      7   which were affected by your conduct.

      8                And then lastly there's a 35- --

      9   not-more-than-$35,000 assessment under Section 2259A because

     10   you committed a trafficking of child pornography offense.

     11                THE COURT:   Do you understand the charge in the

     12   complaint?

     13                THE DEFENDANT:    Yes.

     14                THE COURT:   Do you understand the minimum and maximum

     15   penalties you face?

     16                THE DEFENDANT:    Yes.

     17                THE COURT:   The purpose of this hearing is to advise

     18   you of the charge, the rights that you have, the proceedings

     19   that will follow, and to consider the issue of bail.

     20                You'll not be called upon to enter a plea to the

     21   charge at this time.

     22                You have a constitutional right to remain silent.

     23   You do not have to make a statement.        You do not have to give a

     24   statement at any time to any law enforcement officer or

     25   government agent.
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      1               If you do make a statement, anything you say can and

      2   will be used against you in court, including at a subsequent

      3   hearing or proceeding in this case.

      4               If you made a statement already in the past, you need

      5   not make any further statement in the future.

      6               Do you understand your right to remain silent?

      7               THE DEFENDANT:    Yes.

      8               THE COURT:   You have the right to be represented by

      9   an attorney in all proceedings in this case.

     10               If you cannot afford to retain an attorney and wish

     11   to be represented by one, the Court will appoint an attorney to

     12   represent you at no cost or obligation to yourself.

     13               I'll have you placed under oath and ask you questions

     14   about your financial condition to see if you qualify for

     15   court-appointed counsel.

     16               You also have the constitutional right to represent

     17   yourself without an attorney if that's what you wish to do.

     18               Do you understand your right to an attorney?

     19               THE DEFENDANT:    Yes.

     20               THE COURT:   Are you now represented by an attorney?

     21               THE DEFENDANT:    No.

     22               THE COURT:   Do you want to be represented by an

     23   attorney?

     24               THE DEFENDANT:    I can't afford one.

     25               THE COURT:   You want to have the Court inquire to see
Case 3:21-cr-00106-MMH-JBT Document 72 Filed 02/07/23 Page 9 of 13 PageID 331
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                                                                                9



      1   if you qualify for court-appointed counsel?

      2               THE DEFENDANT:    Yes, please.

      3               THE COURT:   Madam Clerk.

      4               COURTROOM DEPUTY:    Do you solemnly swear or affirm

      5   the answers you will give during these proceedings will be the

      6   truth, the whole truth, and nothing but the truth?

      7               THE DEFENDANT:    I do.

      8               COURTROOM DEPUTY:    And please state your name for the

      9   record.

     10               THE DEFENDANT:    Scott Matthew Yotka.

     11               THE COURT:   You've just taken an oath to tell the

     12   truth.    If you do not -- if you knowingly and intentionally

     13   make a material false statement or omission, your answers to my

     14   questions can subject you to prosecution for perjury, which is

     15   a felony.

     16               In addition, if you make any false statements about

     17   your financial condition and are ultimately convicted in this

     18   case, those false statements could you used against you under

     19   the sentencing guidelines to enhance the sentence to be

     20   imposed.

     21               Do you understand that?

     22               THE DEFENDANT:    Yes.

     23               THE COURT:   And prior to court today did you answer

     24   some questions about your financial circumstances?

     25               THE DEFENDANT:    Yes, sir.
Case 3:21-cr-00106-MMH-JBT Document 72 Filed 02/07/23 Page 10 of 13 PageID 332
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      1               THE COURT:    And were the answers you gave true and

      2   correct?

      3               THE DEFENDANT:    Yes, sir.

      4               THE COURT:    Have you had a chance to look at this?

      5               MR. BROWN:    I have, Your Honor.     I have no additional

      6   inquiry of the Court.

      7               THE COURT:    Based upon the information provided, I

      8   find that you are financially unable to obtain counsel and I

      9   will appoint the Federal Defender's Office to represent you.

     10               As required by Rule 5(f), the United States is

     11   ordered to produce all exculpatory evidence to the defendant

     12   pursuant to Brady v. Maryland and its progeny.          Not doing so in

     13   a timely manner may result in sanctions, including the

     14   exclusion of evidence, adverse jury instructions, dismissal of

     15   charges, and contempt proceedings.

     16               Is the government seeking detention?

     17               MR. BROWN:    Yes, Your Honor.     And we would ask the

     18   Court to continue the detention hearing until sometime on

     19   Wednesday, September 22nd.        I discussed that matter with

     20   counsel.

     21               THE COURT:    How about 2:30?

     22               MR. BROWN:    Fine.    Fine, Your Honor.

     23               THE COURT:    I'll enter an order of temporary

     24   detention, grant the government's motion for a continuance of

     25   the detention hearing, and set the case for a detention hearing
Case 3:21-cr-00106-MMH-JBT Document 72 Filed 02/07/23 Page 11 of 13 PageID 333
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                                                                                 11



      1   for Wednesday, September 22nd at 2:30.

      2               Also, Mr. Yotka, since this case right now has been

      3   brought by way of a complaint rather than an indictment, you

      4   have the right to a preliminary hearing.

      5               At a preliminary hearing the government must present

      6   sufficient evidence to convince the Court that there's probable

      7   cause to believe that a federal offense has been committed and

      8   that you committed it.

      9               If the Court's so convinced, you'd be held to await

     10   further grand jury proceedings.       If the Court's not so

     11   convinced, the complaint would be dismissed and you'd be

     12   discharged.

     13               If you're released on bond, this hearing must be held

     14   within 21 days from today.       If you remain in custody, this

     15   hearing must be held within 14 days from today.

     16               Now, if the grand jury returns an indictment between

     17   now and the day of the preliminary hearing, then you would have

     18   no more right to a preliminary hearing and that hearing would

     19   be canceled.

     20               You could also waive, or give up, this right to a

     21   preliminary hearing if you want, and you'll be able to speak

     22   with your attorney about that.

     23               So do you understand your right to a preliminary

     24   hearing?

     25               THE DEFENDANT:    Yes, sir.
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      1               THE COURT:    Is there anything further to take up?

      2               MR. BROWN:    No, Your Honor.

      3               MR. GRANT:    No, Your Honor.

      4               THE COURT:    Court will be in recess.

      5               COURT SECURITY OFFICER:      All rise.

      6         (Proceedings concluded at 2:53 p.m.)

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Case 3:21-cr-00106-MMH-JBT Document 72 Filed 02/07/23 Page 13 of 13 PageID 335
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                                                                                 13



      1                  CERTIFICATE OF OFFICIAL COURT REPORTER

      2   UNITED STATES DISTRICT COURT)

      3   MIDDLE DISTRICT OF FLORIDA )

      4

      5           I, court approved transcriber, certify that the

      6   foregoing is a correct transcript from the official electronic

      7   sound recording of the proceedings in the above-entitled

      8   matter.

      9

     10           DATED this 20th day of January 2023.

     11

     12                           /s/ Katharine M. Healey
                                  Katharine M. Healey, RMR, CRR, FPR-C
     13                           Official Court Reporter

     14

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     1
                              UNITED STATES DISTRICT COURT
     2                         MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION
     3
         UNITED STATES OF AMERICA,            Jacksonville, Florida
     4
                 Plaintiff,                   Case No. 3:21-cr-00106-MMH-JBT
     5
         -vs-                                 September 22, 2021
     6
         SCOT MATTHEW YOTKA,                  2:34 p.m. - 2:38 p.m.
     7
                 Defendant.                   (Digitally Recorded)
     8
         ___________________________________________________________
     9

    10                   DIGITALLY RECORDED DETENTION HEARING

    11                    BEFORE THE HONORABLE JOEL B. TOOMEY
                             UNITED STATES MAGISTRATE JUDGE
    12
                                  A P P E A R A N C E S
    13

    14   COUNSEL FOR PLAINTIFF:
         D. RODNEY BROWN, Esquire
    15     United States Attorney's Office
           300 North Hogan Street, Suite 700
    16     Jacksonville, FL 32202

    17
         COUNSEL FOR DEFENDANT:
    18   MAURICE C. GRANT, II, Esquire
           Federal Public Defender - MDFL
    19     200 West Forsyth Street, Suite 1240
           Jacksonville, FL 32202
    20

    21   OFFICIAL COURT REPORTER:
         Katharine M. Healey, RMR, CRR, FPR-C
    22     PO Box 56814
           Jacksonville, FL 32241
    23     Telephone: (904) 301-6843
           KatharineHealey@bellsouth.net
    24

    25                 (Proceedings   recorded by electronic sound      recording;
                                            transcript produced by      computer.)
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                                                                                2



     1                             P R O C E E D I N G S

     2   September 21, 2021                                             2:34 p.m.

     3                                  -    -    -

     4                COURT SECURITY OFFICER:     -- court is now in session.

     5   The Honorable Joel B. Toomey presiding.

     6                THE COURT:   We're here on the case United States vs.

     7   Scott Matthew Yotka, Case Number 3:21-mj-1443.

     8                And the defendant's present along with his attorney,

     9   Mr. Grant.    And Mr. Brown is here for the government.

    10                And we're here for a detention hearing.       Are the

    11   parties ready to proceed on that?

    12                MR. GRANT:   Your Honor, it's my understanding the

    13   government still intends to seek detention.

    14                I've communicated with Mr. Yotka.      We are in a

    15   position where he is going to waive the detention hearing,

    16   reserving the right to reopen in the event that we are able to

    17   find a suitable third-party custodian.

    18                THE COURT:   Madam Clerk, if you can swear in

    19   Mr. Yotka.

    20                COURTROOM DEPUTY:     Do you solemnly swear or affirm

    21   the answers you will give in these proceedings will be the

    22   truth, the whole truth, and nothing but the truth?

    23                THE DEFENDANT:   I do.

    24                COURTROOM DEPUTY:     And please state your name for the

    25   record.
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     1               THE DEFENDANT:    Scott Matthew Yotka.

     2               THE COURT:    Mr. Yotka, let me ask you a couple of

     3   background questions again.

     4               What was your date of birth?

     5               THE DEFENDANT:    May 20th, 1974.

     6               THE COURT:    And are you currently under the influence

     7   of any drugs, alcohol, medication, or intoxicants?

     8               THE DEFENDANT:    Just blood pressure medicine.

     9               THE COURT:    And is that a prescribed medication?

    10               THE DEFENDANT:    It is.

    11               THE COURT:    And does that interfere with your ability

    12   to understand the proceedings in any way?

    13               THE DEFENDANT:    Negative.

    14               THE COURT:    And do you clearly understand where you

    15   are, what you're doing, and the importance of this proceeding?

    16               THE DEFENDANT:    Yes, sir.

    17               THE COURT:    So your attorney has indicated that

    18   you're willing to waive your right to a detention hearing at

    19   this time, reserving the right to reopen it should you be able

    20   to present a potential third-party custodian.

    21               Is that what you want to do?

    22               THE DEFENDANT:    Yes, sir.

    23               THE COURT:    And have you spoken with your attorney

    24   about this?

    25               THE DEFENDANT:    Yes, sir.
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     1               THE COURT:    And you understand you will be held in

     2   custody at least until this charge is determined or such a

     3   hearing is held and you're placed on bond?

     4               THE DEFENDANT:    Yes, sir.    I've got nowhere else to

     5   go.

     6               THE COURT:    And do you make this waiver freely and

     7   voluntarily?

     8               THE DEFENDANT:    Yes, sir.

     9               THE COURT:    All right.    I find the defendant has made

    10   a knowing and voluntary waiver of his right to a detention

    11   hearing, reserving the right to have it should a potentially

    12   suitable third-party custodian be found.         So I will enter an

    13   order of detention.

    14               And we still have the matter of a potential

    15   preliminary hearing.      What did you want to do?

    16               MR. BROWN:    Yes, Your Honor.     If the Court could

    17   please set that for September 30th, anytime on Thursday,

    18   September 30th.     I spoke with defense counsel about that.          We

    19   expect grand jury presentment on September 29th.          And that

    20   would be -- by my count, the 30th would be the 13th day.

    21               THE COURT:    Is two o'clock . . .

    22               MR. GRANT:    Two o'clock is fine, Your Honor.

    23               MR. BROWN:    That's fine, Your Honor.

    24               THE COURT:    Set this case for preliminary hearing for

    25   September 30th at two o'clock.
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     1                Is there anything further?

     2                THE DEFENDANT:   Your Honor, can I just say one thing?

     3                THE COURT:   Sure.   You better -- you might want to

     4   talk to your attorney first, but it's okay.

     5                MR. GRANT:   Just a moment, Your Honor.

     6        (Pause in proceedings.)

     7                MR. GRANT:   You can proceed, Your Honor.

     8                THE COURT:   Mr. Yotka, did you want to say something?

     9                THE DEFENDANT:   No, sir, I'm good.

    10                THE COURT:   All right.     Court will be in recess.

    11   Thank you.

    12                COURT SECURITY OFFICER:     All rise.

    13         (Proceedings concluded at 2:38 p.m.)

    14                                 -      -      -

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Case 3:21-cr-00106-MMH-JBT Document 73 Filed 02/07/23 Page 6 of 6 PageID 341
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                                                                               6



     1                  CERTIFICATE OF OFFICIAL COURT REPORTER

     2   UNITED STATES DISTRICT COURT)

     3   MIDDLE DISTRICT OF FLORIDA )

     4

     5           I, court approved transcriber, certify that the

     6   foregoing is a correct transcript from the official electronic

     7   sound recording of the proceedings in the above-entitled

     8   matter.

     9

    10           DATED this 20th day of January 2023.

    11

    12                           /s/ Katharine M. Healey
                                 Katharine M. Healey, RMR, CRR, FPR-C
    13                           Official Court Reporter

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                           DOC. 80
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     USCA11 Case: 23-10031 Document: 22 Date Filed: 03/29/2023 Page: 42 of 200
                                                                                    1


 1                    IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
 2                           JACKSONVILLE DIVISION
 3                       Case No:   3:21-cr-106-MMH-JBT
 4     UNITED STATES OF AMERICA                  Jacksonville, Florida
 5             -vs-                              Date: October 18, 2021
 6     SCOTT MATTHEW YOTKA,                      Time: 3:00 p.m.
 7            Defendant.                Courtroom 10B
       _______________________________________________________
 8
                  TELEPHONIC CRIMINAL STATUS CONFERENCE
 9             BEFORE THE HONORABLE MARCIA MORALES HOWARD
                      UNITED STATES DISTRICT JUDGE
10

11     APPEARANCES:
12     FOR THE GOVERNMENT:

13     RODNEY BROWN, ESQ.
       U.S. Attorney's Office
14     Suite 700
       300 N. Hogan Street
15     Jacksonville, FL       32202
16
       FOR THE DEFENDANT:
17
       MAURICE GRANT, ESQ.
18     Office of the Public Defender
       407 N. Laura Street
19     Jacksonville, FL 32202
20
       COURT REPORTER:
21
       Cindy Packevicz Jarriel, RPR, FCRR
22     115 Davis Street
       Neptune Beach, FL 32266
23     Telephone: 904.651-8997
       e-mail: cindyrprfcrr@gmail.com
24          (Proceedings reported        by   stenography;    transcript
       produced by computer.)
25
     Case 3:21-cr-00106-MMH-JBT Document 80 Filed 02/17/23 Page 2 of 4 PageID 368
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                                                                                    2


 1                           P R O C E E D I N G S
 2     October 18, 2021                                       3:00 p.m.
 3                                   -     -   -
 4                  THE COURT:     Last up is 3:21-cr-106-MMH-JBT,
 5           United States of America versus Scott Matthew
 6           Yotka.
 7                  Mr. Brown, are you here for the United
 8           States?
 9                  MR. BROWN:     Yes, Your Honor.       Good afternoon.
10                  THE COURT:     Good afternoon.
11                  And Mr. Grant is here on behalf of Mr. Yotka.
12                  Mr. Grant, can you tell me your thoughts
13           about this case?
14                  MR. GRANT:     I can, Your Honor.       We've been
15           calling him Yotka.        I have never asked him
16           specifically.       He responds to Yotka when I say it.
17                  THE COURT:     Okay.
18                  MR. GRANT:     But I did speak with him.         This
19           is a brand-new case.          I would be asking for a
20           60-day continuance so that I can review all of the
21           discovery, speak with Mr. Yotka fully.             There are
22           some possible issues regarding uncharged State
23           offenses because he was picked straight up and
24           brought over to federal court, but the allegations
25           are ones that have dual jurisdiction issues, so
     Case 3:21-cr-00106-MMH-JBT Document 80 Filed 02/17/23 Page 3 of 4 PageID 369
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                                                                                    3


 1           I'm going to have to try to speak with somebody
 2           over there to see what I can do to protect
 3           Mr. Yotka over there.              So I'd be asking for 60
 4           days.
 5                   THE COURT:       Mr. Brown, any objection to a
 6           60-day continuance in order to allow Mr. Grant to
 7           address those issues?
 8                   MR. BROWN:       No, Your Honor.
 9                   THE COURT:       All right.          Then the Court will
10           grant the motion and will continue the matter to
11           the January 3, 2022, trial term.
12                   The status will be December 20th.               The plea
13           deadline will be December 27.
14                   In light of the recent filing of the case and
15           the need for Mr. Grant to thoroughly review the
16           discovery as well as to attempt to address on
17           behalf of Mr. Yotka the potential State charges,
18           the Court will find that the ends of justice
19           served by granting the continuance outweigh the
20           best interests of the public and the defendant in
21           a speedy trial.
22                   All time from now until the end of the
23           January trial term will be excludable time.
24                                *     *   *     *   *
25
     Case 3:21-cr-00106-MMH-JBT Document 80 Filed 02/17/23 Page 4 of 4 PageID 370
     USCA11 Case: 23-10031 Document: 22 Date Filed: 03/29/2023 Page: 45 of 200
                                                                                    4


 1                           C E R T I F I C A T E
 2

 3     UNITED STATES DISTRICT COURT)
 4
       MIDDLE DISTRICT OF FLORIDA         )
 5

 6           I hereby certify that the foregoing transcript is a true
 7     and correct computer-aided transcription of my stenotype notes
 8     taken at the time and place indicated herein.
 9

10

11                  Dated this 17th day of February 2023.
12

13

14

15                              /s/Cindy Packevicz Jarriel
16                              Cindy Packevicz Jarriel, RPR, FCRR
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USCA11 Case: 23-10031   Document: 22   Date Filed: 03/29/2023   Page: 46 of 200




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             Cornerstone Litigation Services, LLC
                301 West Bay St., Suite 1400
                   Jacksonville, FL 32202
                   Phone: (904) 647-4723
                      www.clsjax.com
Case 3:21-cr-00106-MMH-JBT Document 78 Filed 02/15/23 Page 2 of 8 PageID 358
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  1                       UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
  2                          JACKSONVILLE DIVISION

  3
       UNITED STATES OF AMERICA,            Jacksonville, Florida
  4
                      Plaintiff,            Case No. 3:21-cr-106-MMH-JBT
  5
       vs.                                  December 20, 2021
  6
       SCOTT MATTHEW YOTKA,                 3:21 p.m. to 3:24 p.m.
  7
                  Defendant.       Courtroom No. 10B
  8    ___________________________

  9               TELEPHONIC CRIMINAL STATUS CONFERENCE
                BEFORE THE HONORABLE MARCIA MORALES HOWARD
 10                    UNITED STATES DISTRICT JUDGE

 11

 12    GOVERNMENT COUNSEL:

 13                 RODNEY BROWN, ESQ. (VIA TELEPHONE)
                    U.S. Attorney's Office - FLM
 14                 300 North Hogan Street, Suite 700
                    Jacksonville, Florida 32202
 15
       DEFENSE COUNSEL:
 16
                    MAURICE C. GRANT, II, ESQ. (VIA TELEPHONE)
 17                 200 West Forsyth Street, Suite 1240
                    Jacksonville, Florida 32202
 18
       COURT REPORTER:
 19
                    Georgeanne Rodriguez, RPR
 20                 Cornerstone Litigation Services, LLC
                    301 West Bay Street, Suite 1420
 21                 Jacksonville, Florida 32202

 22

 23

 24              (Proceedings recorded by mechanical
       stenography; transcript produced by computer.)
 25
Case 3:21-cr-00106-MMH-JBT Document 78 Filed 02/15/23 Page 3 of 8 PageID 359
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      UNITED STATES OF AMERICA vs SCOTT MATTHEW YOTKA
      Hearing, Status Conference on 12/20/2021

  1                           P R O C E E D I N G S
  2    December 20, 2021                                                    3:21 p.m.
  3                  THE COURT:       3:21-cr-106-MMH-JBT, United States
  4           of America versus Scott Matthew Yotka.
  5                  Mr. Brown, are you here for the United States?
  6                  MR. BROWN:       Yes, Your Honor.                 Good afternoon.
  7                  THE COURT:       Good afternoon.
  8                  Mr. Grant, you're still with me?
  9                  MR. GRANT:       I am, Your Honor.
 10                  THE COURT:       All right.            Do you want to let me
 11           know what's going on with Mr. Yatka?
 12                  MR. GRANT:       Yes, Your Honor.                 I have to
 13           apologize, this one kind of got away from me.                        I
 14           was going out to the jail of late talking to
 15           various individuals and also Hispanic clients, and
 16           Mr. Yotka -- for some reason, I wasn't registering
 17           that he was there.
 18                  This is a case where it's not likely to be a
 19           trial.     I'm trying to figure out what his exposure
 20           is in the state court and trying to avoid that
 21           exposure, so I need an additional 30 days.                        And,
 22           again, I apologize.
 23                  THE COURT:       Is this 30 days going to be enough
 24           time to deal with the state charges?
 25                  MR. GRANT:       What it will do is it will give me

                                Cornerstone Litigation Services, LLC
                                 904.647.4723· ·|· ·www.clsjax.com
Case 3:21-cr-00106-MMH-JBT Document 78 Filed 02/15/23 Page 4 of 8 PageID 360
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      UNITED STATES OF AMERICA vs SCOTT MATTHEW YOTKA
      Hearing, Status Conference on 12/20/2021

  1     enough time to know where we are.                        That's really
  2     what it's about, trying to stay on top of it, and
  3     that's why I apologize for that.                       I dropped it this
  4     time.
  5            But the object is to try to be able to
  6     position myself where I understand what his
  7     exposure is, if any, and then be able to
  8     communicate that to him.
  9            THE COURT:      All right.            Mr. Brown, any
 10     objection to a 30-day continuance?
 11             MR. BROWN:     Your Honor, I have no objection to
 12     whatever continuance Mr. Grant needs.                          I do -- I
 13     will say, however, you know, in -- if there was
 14     going to be a trial, Mr. Grant, of course, would
 15     need to meet with me and arrange some viewing of
 16     discovery.      So I'm happy with 30 days, but I also
 17     have no objection if he needs more time than that.
 18             THE COURT:     I think what I'm understanding
 19     from Mr. Grant is he'd prefer a shorter deadline to
 20     make sure that the next time we get together we
 21     have a better idea of what's happening in the case.
 22            Is that right, Mr. Grant?
 23            MR. GRANT:      Correct, Your Honor.
 24            THE COURT:      Okay.
 25            MR. BROWN:      That's fine, Your Honor.

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Case 3:21-cr-00106-MMH-JBT Document 78 Filed 02/15/23 Page 5 of 8 PageID 361
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      UNITED STATES OF AMERICA vs SCOTT MATTHEW YOTKA
      Hearing, Status Conference on 12/20/2021

  1                  THE COURT:       All right.            So I'm going to grant
  2           the motion, and we'll continue the matter for 30
  3           days to the February 7th trial term.                     We'll have
  4           statuses on January 24th and a plea deadline on
  5           January 31st.
  6                  And the Court will find that the need for
  7           Mr. Grant to investigate the state charges and the
  8           defendant's exposure on those charges, as well as
  9           on this charge before him -- before -- against him
 10           before this Court outweighs the best interest of
 11           the public and the defendant in a speedy trial, so
 12           all time from now until the end of the February
 13           trial term will be excludable time.
 14                  (Whereupon, at 3:24 p.m. the status conference
 15    was concluded.)
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                                Cornerstone Litigation Services, LLC
                                 904.647.4723· ·|· ·www.clsjax.com
Case 3:21-cr-00106-MMH-JBT Document 78 Filed 02/15/23 Page 6 of 8 PageID 362
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      UNITED STATES OF AMERICA vs SCOTT MATTHEW YOTKA
      Hearing, Status Conference on 12/20/2021

  1                                     CERTIFICATE

  2

  3     UNITED STATES DISTRICT COURT                        )
                                                            )
  4     MIDDLE DISTRICT OF FLORIDA                          )

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  6

  7                    I hereby certify that the foregoing

  8     transcript is a true and correct computer-aided

  9     transcription of my stenotype notes taken at the time

 10     and place indicated herein.

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 12                  DATED this 15th day of February 2023.

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                                                   Georgeanne Rodriguez, RPR
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                                Cornerstone Litigation Services, LLC
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     UNITED STATES OF AMERICA vs SCOTT MATTHEW YOTKA
     Hearing, Status Conference on 12/20/2021




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     1                        UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
     2                            JACKSONVILLE DIVISION

     3   UNITED STATES OF AMERICA,            Case No. 3:21-cr-00106-MMH-JBT

     4           Plaintiff,                   January 24, 2022

     5   v.                                   3:41 p.m. - 3:45 p.m.

     6   SCOTT MATTHEW YOTKA,                 Courtroom 10B

     7          Defendant.
         ______________________________________________________________
     8
                         TELEPHONIC CRIMINAL STATUS CONFERENCE
     9
                      BEFORE THE HONORABLE MARCIA MORALES HOWARD
    10                       UNITED STATES DISTRICT JUDGE

    11                            A P P E A R A N C E S

    12   COUNSEL FOR PLAINTIFF:
         D. RODNEY BROWN, Esquire
    13     United States Attorney's Office
           300 North Hogan Street, Suite 700
    14     Jacksonville, FL 32202

    15
         COUNSEL FOR DEFENDANT:
    16   MAURICE C. GRANT, II, Esquire
           Federal Public Defender - MDFL
    17     200 West Forsyth Street, Suite 1240
           Jacksonville, FL 32202
    18

    19   OFFICIAL COURT REPORTER:
         Katharine M. Healey, RMR, CRR, FPR-C
    20     PO Box 56814
           Jacksonville, FL 32241
    21     Telephone: (904) 301-6843
           KatharineHealey@bellsouth.net
    22
                                        (Proceedings reported by stenography;
    23                                  transcript produced by computer.)

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Case 3:21-cr-00106-MMH-JBT Document 74 Filed 02/07/23 Page 2 of 5 PageID 343
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     1                            P R O C E E D I N G S

     2   January 24, 2022                                             3:41 p.m.

     3               THE COURT:    Next is Case No. 3:21-cr-106-MMH-JBT,

     4   United States of America vs. Scott Matthew Yotka.

     5               Mr. Brown, are you here for Mr. Yotka -- for the

     6   United States as to Mr. Yotka?

     7               MR. BROWN:    Yes, Your Honor.

     8               THE COURT:    And Mr. Grant?

     9               MR. GRANT:    I'm still here, Your Honor.

    10               THE COURT:    Okay.   Mr. Grant, where are you?      Last

    11   time you were -- you hadn't had a chance to meet with the

    12   client, so have we gotten beyond that?

    13               MR. GRANT:    Well, I've met with the client a couple

    14   of times.    I'm still waiting for the State prosecutor to get

    15   back to me.

    16               But in any event, when I spoke to Mr. Yotka and

    17   advised him that I still hadn't received word back from the

    18   State prosecutor, he indicated to me that he wanted to start

    19   moving on with his case.

    20               And I communicated to Mr. Brown that Mr. Yotka is

    21   wanting to revolve his case.       And we communicated an offer to

    22   the Government, but we probably won't physically get into court

    23   until I can get word back from the State prosecutor.           But we

    24   are asking to start the process here in all earnestness.

    25               THE COURT:    So how much time do you think you're
Case 3:21-cr-00106-MMH-JBT Document 74 Filed 02/07/23 Page 3 of 5 PageID 344
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     1   going to need, Mr. Grant?

     2                MR. GRANT:   I would think 30 days, because I mean, I

     3   hoping -- I'm hoping, you know, that I'll hear back from the

     4   prosecutor in State Court before that.

     5                And Mr. Brown, I'm also hoping that he'll accept our

     6   offer, in which case I can get a plea agreement and go talk to

     7   Mr. Yotka.

     8                THE COURT:   Mr. Brown?

     9                MR. BROWN:   No objection to whatever continuance

    10   Mr. Grant needs.

    11                THE COURT:   I guess, Mr. Brown, is 30 days, in your

    12   mind, going to be sufficient to get all those pieces together?

    13                MR. BROWN:   Your Honor, you know, I would defer to my

    14   colleague, but 30 days seems a little tight when you're dealing

    15   with two different sovereigns, Your Honor.         And I guess I

    16   represent the second sovereign in line, so I think 60 is

    17   probably more realistic.

    18                THE COURT:   Mr. Grant, would you like to take that as

    19   a friendly amendment, or do you want to keep it at 30 days just

    20   to make sure it's moving?

    21                MR. GRANT:   I will take it as a friendly amendment.

    22   And primarily because Mr. Yotka's exposure is so great, 60 days

    23   won't make a difference.

    24                THE COURT:   Okay.   All right.    So that's Mr. Yotka's

    25   motion for a 60-day continuance in order to allow Mr. Grant to
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     1   continue his efforts to confer with the State Court prosecutor

     2   and also to continue plea negotiations with the United States.

     3               The United States has no objection to the 60-day

     4   continuance, and the Court will grant that continuance and

     5   would also find that the ends of justice served by giving the

     6   defendant the opportunity -- or the additional time to complete

     7   those matters outweighs the best interests of the public and

     8   the defendant in a speedy trial.

     9               We'll put the case on the Court's April 2022 trial

    10   term.   That trial term begins April 4th.        Statuses will be

    11   March 21st and the plea deadline will be March 28th.

    12               Because the Court has found that the ends of justice

    13   served by granting the continuance outweigh the best interests

    14   of the public and the defendant in a speedy trial, all-time

    15   from now until the end of the April trial term will be

    16   excludable time.

    17         (Proceedings concluded at 3:45 p.m.)

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     1                  CERTIFICATE OF OFFICIAL COURT REPORTER

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     3   UNITED STATES DISTRICT COURT)

     4   MIDDLE DISTRICT OF FLORIDA )

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     6           I hereby certify that the foregoing transcript is a true

     7   and correct computer-aided transcription of my stenotype notes

     8   taken at the time and place indicated herein.

     9

    10           DATED this 20th day of January 2023.

    11

    12                           /s/ Katharine M. Healey
                                 Katharine M. Healey, RMR, CRR, FPR-C
    13                           Official Court Reporter

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USCA11 Case: 23-10031   Document: 22   Date Filed: 03/29/2023   Page: 61 of 200




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     1                        UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
     2                            JACKSONVILLE DIVISION

     3   UNITED STATES OF AMERICA,            Case No. 3:21-cr-00106-MMH-JBT

     4           Plaintiff,                   March 21, 2022

     5   v.                                   3:06 p.m. - 3:09 p.m.

     6   SCOTT MATTHEW YOTKA,                 Courtroom 10B

     7          Defendant.
         ______________________________________________________________
     8
                               CRIMINAL STATUS CONFERENCE
     9
                      BEFORE THE HONORABLE MARCIA MORALES HOWARD
    10                       UNITED STATES DISTRICT JUDGE

    11                            A P P E A R A N C E S

    12   COUNSEL FOR PLAINTIFF:
         D. RODNEY BROWN, Esquire
    13     United States Attorney's Office
           300 North Hogan Street, Suite 700
    14     Jacksonville, FL 32202

    15
         COUNSEL FOR DEFENDANT:
    16   MAURICE C. GRANT, II, Esquire
           Federal Public Defender - MDFL
    17     200 West Forsyth Street, Suite 1240
           Jacksonville, FL 32202
    18

    19   OFFICIAL COURT REPORTER:
         Katharine M. Healey, RMR, CRR, FPR-C
    20     PO Box 56814
           Jacksonville, FL 32241
    21     Telephone: (904) 301-6843
           KatharineHealey@bellsouth.net
    22
                                        (Proceedings reported by stenography;
    23                                  transcript produced by computer.)

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     1                             P R O C E E D I N G S

     2   March 21, 2022                                               3:06 p.m.

     3                THE COURT:   We are here for the status conferences

     4   for the Court's April 2022 trial term.

     5                First up is Case No. 3:21-cr-106-MMH-JBT, United

     6   States of America vs. Scott Matthew Yotka.

     7                Mr. Brown is here for the United States.        Mr. Grant

     8   is here for Mr. Yotka.

     9                Mr. Grant.

    10                MR. GRANT:   I would say it's nice to be back after

    11   two years of actually not having in-person statuses, but we

    12   have been seeing each other, so . . .

    13                But in any event, with respect to Mr. Yotka, we have

    14   extended an offer to the government.        Mr. Brown has indicated

    15   that he was giving me a counter proposal, and then I had

    16   indicated to him a suggestion regarding the counter proposal.

    17   And I hope he's still taking that under advisement.

    18                MR. BROWN:   That's right, Your Honor.      Mr. Grant and

    19   I have been speaking over the last few weeks or so, maybe even

    20   longer than that, with regard to plea negotiations.           And we

    21   don't really have anything that we care to discuss with the

    22   Court at this point, but I think a continuance would be

    23   justified.

    24                MR. GRANT:   Correct.   I would say one month, Your

    25   Honor.
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     1               THE COURT:    All right.    So that's Mr. Yotka's motion

     2   to continue the matter for a month in order to allow counsel to

     3   continue plea negotiations on his behalf.

     4               And I understand from Mr. Brown's comments that

     5   there's no objection by the United States?

     6               MR. BROWN:    That's correct, Your Honor.

     7               THE COURT:    And so on that basis the Court will grant

     8   the motion and will continue the matter to the May trial term.

     9   The May trial term begins May the 2nd.         Statuses will be

    10   April 18th.    Plea deadline is April 25th.

    11               The Court will find that the ends of justice served

    12   by permitting the defendant additional time to pursue plea

    13   negotiations outweighs the best interests of the public and the

    14   defendant in a speedy trial, so all time from now until the end

    15   of the May trial term will be excludable time.

    16       (Proceedings concluded at 3:09 p.m.)

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Case 3:21-cr-00106-MMH-JBT Document 75 Filed 02/07/23 Page 4 of 4 PageID 350
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     1                  CERTIFICATE OF OFFICIAL COURT REPORTER

     2

     3   UNITED STATES DISTRICT COURT)

     4   MIDDLE DISTRICT OF FLORIDA )

     5

     6           I hereby certify that the foregoing transcript is a true

     7   and correct computer-aided transcription of my stenotype notes

     8   taken at the time and place indicated herein.

     9

    10           DATED this 20th day of January 2023.

    11

    12                           /s/ Katharine M. Healey
                                 Katharine M. Healey, RMR, CRR, FPR-C
    13                           Official Court Reporter

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     1                        UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
     2                            JACKSONVILLE DIVISION

     3   UNITED STATES OF AMERICA,            Case No. 3:21-cr-00106-MMH-JBT

     4           Plaintiff,                   April 18, 2022

     5   v.                                   3:14 p.m. - 3:16 p.m.

     6   SCOTT MATTHEW YOTKA,                 Courtroom 10B

     7          Defendant.
         ______________________________________________________________
     8
                               CRIMINAL STATUS CONFERENCE
     9
                      BEFORE THE HONORABLE MARCIA MORALES HOWARD
    10                       UNITED STATES DISTRICT JUDGE

    11                            A P P E A R A N C E S

    12   COUNSEL FOR PLAINTIFF:
         D. RODNEY BROWN, Esquire
    13     United States Attorney's Office
           300 North Hogan Street, Suite 700
    14     Jacksonville, FL 32202

    15
         COUNSEL FOR DEFENDANT:
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           Jacksonville, FL 32241
    21     Telephone: (904) 301-6843
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                                        (Proceedings reported by stenography;
    23                                  transcript produced by computer.)

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Case 3:21-cr-00106-MMH-JBT Document 76 Filed 02/07/23 Page 2 of 4 PageID 352
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     1                             P R O C E E D I N G S

     2   April 18, 2022                                               3:14 p.m.

     3                THE COURT:   Case No. 3:21-cr-106-MMH-JBT, United

     4   States of America vs. Scott Matthew Yotka.

     5                Mr. Brown for the United States.      Mr. Grant for

     6   Mr. Yotka.

     7                We continued it for a month for plea negotiations.

     8   Where does that stand?

     9                MR. GRANT:   Your Honor, we are still in the midst of

    10   those same negotiations.      I spoke to Mr. Brown, I believe it

    11   was Thursday of last week, and he indicated that it was still

    12   under consideration.

    13                THE COURT:   All right.    So where does that leave us

    14   today?

    15                MR. GRANT:   I ask for 30 days.

    16                MR. BROWN:   No objection, Your Honor.

    17                THE COURT:   All right.    So that is Mr. Yotka's motion

    18   for an additional 30 days in order to continue plea

    19   negotiations with the United States.        The United States has no

    20   objection.    And the Court will grant that motion, finding that

    21   the ends of justice served by granting the continuance in order

    22   to allow Mr. Yotka to exhaust his plea discussions outweighs

    23   the best interests of the public and the defendant in a speedy

    24   trial.

    25                We'll move the matter to the June 2022 trial term,
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     1   which begins June 6th.      Statuses will be May 23rd and plea

     2   deadline will be May 31st.

     3               MR. GRANT:    Thank you.

     4               MR. BROWN:    Thank you, Your Honor.

     5       (Proceedings concluded at 3:16 p.m.)

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Case 3:21-cr-00106-MMH-JBT Document 76 Filed 02/07/23 Page 4 of 4 PageID 354
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     1                  CERTIFICATE OF OFFICIAL COURT REPORTER

     2

     3   UNITED STATES DISTRICT COURT)

     4   MIDDLE DISTRICT OF FLORIDA )

     5

     6           I hereby certify that the foregoing transcript is a true

     7   and correct computer-aided transcription of my stenotype notes

     8   taken at the time and place indicated herein.

     9

    10           DATED this 20th day of January 2023.

    11

    12                           /s/ Katharine M. Healey
                                 Katharine M. Healey, RMR, CRR, FPR-C
    13                           Official Court Reporter

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USCA11 Case: 23-10031   Document: 22   Date Filed: 03/29/2023   Page: 71 of 200




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USCA11 Case: 23-10031        Document: 22      Date Filed: 03/29/2023      Page: 72 of 200
                                                                     FILED IN OPEN COURT
                         UNITED STATES DISTRICT COURT                          c:5-13 ·2D22-
                          MIDDLE DISTRICT OF FLORIDA                    cLERK. U. S. DISTRICT COURT
                            JACKSONVILLE DIVISION                       MIDDLE DISTRICT OF FLORIDA
                                                                          JACKSONVILLE. FLORIDA


UNITED STATES OF AMERICA

      V.                                        CASE NO. 3:21-cr-106-MMH-JBT

SCOTT MATTHEW YOTKA


                                PLEA AGREEMENT

      Pursuant to Fed. R. Crim. P. l l(c), the United States of America, by Roger B.

Handberg, United States Attorney for the Middle District of Florida, and the

defendant, SCOTT MATTHEW YOTKA, and the attorney for the defendant,

Maurice C. Grant, II, mutually agree as follows:

A.    Particularized Terms

       1.    Counts Pleading To

             The defendant shall enter a plea of guilty to Counts One and Two of the

Indictment. Counts One and Two charge the defendant with production of child

pornography, in violation of 18 U.S.C. § 225l(a) and (e).

      2.     Minimum and Maximum Penalties

             Counts One and Two of the Indictment are each punishable by a

mandatory minimum term of imprisonment of not less than 15 years and not more

than 30 years, a fine of $250,000, or both, a term of supervised release of any term of

years not less than 5, or life, and a special assessment of $100, said special



Defendant's Initials ~                                             AF Approval        (Y\T
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assessment to be due on the date of sentencing. If the Court sentenced the defendant

on each count consecutively, the aggregate minimum and maximum penalties would

be a minimum mandatory term of imprisonment of not less than 30 years and not

more than 60 years, fines totaling $500,000, or both, a term of supervised release of

any term of years not less than 5 years, or life, and special assessments totaling $200.

Pursuant to Title 18, United Staites Code, Section 3583(k), if the defendant is

required to register under the Sex Offender Registration and Notification Act and

commits any criminal felony offense under Title 18, United States Code, Chapters

109A, 110 or 117, or Sections 1201 or 1591, the Court shall revoke the term of

supervised release and require the defendant to serve a term of imprisonment of not

less than 5 years and up to life per count. Any other violation of the terms and

conditions of supervised release is punishable by a term of imprisonment of up to 3

years per count. With respect to these offenses and pursuant to Title 18, United

States Code, Sections 2259, 3663, 3663A and 3664, the Court shall order the

defendant to make restitution to any victim of the offenses, and with respect to other

offenses, the Court may order the defendant to make restitution to any victim of the

offenses, or to the community. Pursuant to 18 U .S.C. § 2259, if the Court orders

restitution, the mandatory minimum amount must not be less than $3,000 per victim.

             Pursuant to 18 U.S.C. § 2259A, the Court shall impose a special

assessment of not more than $50,000 per count on any defendant convicted of an

offense in violation of 18 U.S.C. § 2251.




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             Additionally, pursuant to 18 U.S.C. § 3014, the Court shall impose a

$5,000 special assessment per count on any non-indigent defendant convicted of an

offense in violation of certain enumerated statutes involving: (1) peonage, slavery,

and trafficking in persons; (2) sexual abuse; (3) sexual exploitation and other abuse of

children; (4) transportation for illegal sexual activity; or (5) human smuggling in

violation of the Immigration and Nationality Act (exempting any individual involved

in the smuggling of an alien who is the alien's spouse, parent, son or daughter).

      3.     Elements of the Offenses

             The defendant acknowledges understanding the nature and elements of

the offenses with which defendant has been charged and to which defendant is

pleading guilty. The elements of Counts One and Two of the Indictment are:

                           That an actual minor, that is, a real person who was less
                           than 18 years old, was depicted in certain visual
                           depictions;

             Second:       That the defendant employed, used, persuaded, induced,
                           enticed or coerced a minor to engage in sexually explicit
                           conduct for the purpose of producing these visual
                           depictions of the conduct; and

             Third:        That such visual depictions were actually transported and
                           transmitted using a facility of interstate commerce, that is,
                           by cellular telephone via the internet.

      4.     Count Dismissed

             At the time of sentencing, the remaining count against the defendant,

Count Three, will be dismissed pursuant to Fed. R. Crim. P . ll(c){l)(A).




Defendant's I n i t i a l s ~               3
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USCA11 Case: 23-10031        Document: 22         Date Filed: 03/29/2023   Page: 75 of 200



      5.     No Further Charges

             If the Court accepts this plea agreement, the United States Attorney's

Office for the Middle District of Florida agrees not to charge defendant with

committing any other federal criminal offenses known to the United States

Attorney's Office at the time of the execution of this agreement, related to the

conduct giving rise to this plea agreement.

      6.     Restitution to Any Minor Victims of Offenses Committed by
             Defendant, Whether Charged or Uncharged

             Pursuant to 18 U .S.C. § 3663(a)(3), 18 U .S.C. § 3663A(a) & (b), 18

U .S.C. § 3664, 18 U.S.C. § 2248, and 18 U.S.C. § 2259, the defendant agrees to

make full restitution to all minor victims of his offenses as to all counts charged,

whether or not the defendant enters a plea of guilty to such counts and whether or

not such counts are dismissed pursuant to this agreement. Further, the defendant

agrees to pay restitution to any of his minor victims, for the entire scope of his

criminal conduct, including but not limited to all matters included as relevant

conduct. The defendant acknowledges and agrees that this criminal conduct (or

relevant conduct) includes any minor victim of any child pornography offenses,

charged or uncharged, under Chapter 110, United States Code, and any minor

victim of any violation of federal and/or state law committed by the defendant,

including any contact sexual offense. Further, pursuant to 18 U .S.C. § 3664(d)(5),

the defendant agrees not to oppose bifurcation of the sentencing hearing if the

victims' losses are not ascertainable prior to sentencing.



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      7.     Acceptance of Responsibility - Three Levels

             At the time of sentencing, and in the event that no adverse information

is received suggesting such a recommendation to be unwarranted, the United States

will recommend to the Court that the defendant receive a two-level downward

adjustment for acceptance of responsibility, pursuant to USSG § 3El.l(a). The

defendant understands that this recommendation or request is not binding on the

Court, and if not accepted by the Court, the defendant will not be allowed to

withdraw from the plea.

             Further, at the time of sentencing, if the defendant's offense level prior

to operation of subsection (a) is level 16 or greater, and if the defendant complies

with the provisions of USSG § 3E 1.1(b) and all terms of this Plea Agreement,

including but not limited to, the timely submission of the financial affidavit

referenced in Paragraph B.5., the United States agrees to file a motion pursuant to

USSG § 3E 1.1(b) for a downward adjustment of one additional level. The defendant

understands that the determination as to whether the defendant has qualified for a

downward adjustment of a third level for acceptance of responsibility rests solely

with the United States Attorney for the Middle District of Florida, and the defendant

agrees that the defendant cannot and will not challenge that determination, whether

by appeal, collateral attack, or otherwise.

       8.    Forfeiture of Assets

             The defendant agrees to forfeit to the United States immediately and

voluntarily any and all assets and property, or portions thereof, subject to forfeiture,


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pursuant to 18 U.S.C. § 2253, whether in the possession or control of the United

States, the defendant or defendant's nominees. The assets to be forfeited specifically

include, but are not limited to, a OnePlus ST+ 5G Model KB2007 cellular telephone,

IMEi 9900170914719, serial number 979EEAID; which asset contained visual

depictions of minors engaged in sexually explicit conduct and which was used to

produce, receive, distribute, and possess such visual depictions.

              The defendant agrees and consents to the forfeiture o( these assets

pursuant to any federal criminal, civil judicial or administrative forfeiture action.

The defendant also agrees to waive all constitutional, statutory and procedural

challenges (including direct appeal, habeas corpus, or any other means) to any

forfeiture carried out in accordance with this Plea Agreement on any grounds,

including that the forfeiture described herein constitutes an excessive fine, was not

properly noticed in the charging instrument, addressed by the Court at the time of

the guilty plea, announced at sentencing, or incorporated into the judgment.

              The defendant admits and agrees that the conduct described in the

Factual Basis below provides a sufficient factual and statutory basis for the forfeiture

of the property sought by the government. Pursuant to Rule 32.2(b)(4), the defendant

agrees that the preliminary order of forfeiture will satisfy the notice requirement and

will be final as to the defendant at the time it is entered. In the event the forfeiture is

omitted from the judgment, the defendant agrees that the forfeiture order may be

incorporated into the written judgment at any time pursuant to Rule 36.




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              The defendant agrees to take all steps necessary to identify and locate

all property subject to forfeiture and to transfer custody of such property to the

United States before the defendant's sentencing. The defendant agrees to be

interviewed by the government, prior to and after sentencing, regarding such assets

and their connection to criminal conduct. The defendant further agrees to be

polygraphed on the issue of assets, if it is deemed necessary by the United States.

The defendant agrees that Federal Rule of Criminal Procedure 11 and USSG § IBI.8

will not protect from forfeiture assets disclosed by the defendant as part of the

defendant's cooperation.

              The defendant agrees to take all steps necessary to assist the

government in obtaining clear title to the forfeitable assets before the defendant's

sentencing. In addition to providing full and complete information about forfeitable

assets, these steps include, but are not limited to, the surrender of title, the signing of

a consent decree of forfeiture, and signing of any other documents necessary to

effectuate such transfers. To that end, the defendant agrees to make a full and

complete disclosure of all assets over which defendant exercises control directly or

indirectly, including all assets held by nominees, to execute any documents requested

by the United States to obtain from any other parties by lawful means any records of

assets owned by the defendant, and to consent to the release of the defendant's tax

returns for the previous five years. The defendant agrees to be interviewed by the

government, prior to and after sentencing, regarding such assets and their connection

to criminal conduct.


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              The defendant agrees that the United States is not limited to forfeiture

of the property specifically identified for forfeiture in this Plea Agreement. If the

United States determines that property of the defendant identified for forfeiture

cannot be located upon the exercise of due diligence; has been transf~ed or sold to,

or deposited with, a third party; has been placed beyond the jurisdiction of the Court;

has been substantially diminished in value; or has been commingled with other

property which c~nnot be divided without difficulty; then the United States shall, at

its option, be entitled to forfeiture of any other property (substitute assets) of the

defendant up to the value of any property described above. The defendant expressly

consents to the forfeiture of any substitute assets sought by the Government. The

defendant agrees that forfeiture of substitute assets as authorized herein shall not be

deemed an alteration of the defendant's sentence.

              Forfeiture of the defendant's assets shall not be treated as satisfaction of

any fine, restitution, cost of imprisonment, or any other penalty the Court may

impose upon the defendant in addition to forfeiture.

              The defendant agrees that, in the event the Court determines that the

defendanthas breached this section of the Plea Agreement, the defendant may be

found ineligible for a reduction in the Guidelines calculation for acceptance of

responsibility and substantial assistance, and may be eligible for an obstruction of

justice enhancement.

              The defendant agrees that the forfeiture provisions of this plea

agreement are intended to, and will, survive the defendant, notwithstanding the


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abatement of any underlying criminal conviction after the execution of this

agreement. The forfeitability of any particular property pursuant to this agreement

shall be determined as if the defendant had survived, and that determination shall be

binding upon defendant's heirs, successors and assigns until the agreed forfeiture,

including satisfaction of any preliminary order of forfeiture for proceeds.

       9.     Sex Offender Registration and Notification

              The defendant has been advised and understands, that under the Sex

 Offender Registration and Notification Act, a federal law, the defendant must

register and keep the registration current in each of the following jurisdictions: the

location of the defendant's residence, the location of the defendant's employment;

 and, if the defendant is a student, the location of the defendant's school. Registration

will require that the defendant provide information that includes name, residence

 address, and the names and addresses of any places at which the defendant is or will

be an employee or a student. The defendant understands that he must update his

. registrations not later than three business days after any change of name, residence,

 employment, or student status. The defendant understands that failure to comply

 with these obligations subjects the defendant to prosecution for failure to register

 under federal law, 18 U.S.C. § 2250, which is punishable by a fine or imprisonment,

 or both.




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B.     Standard Terms and Conditions

       1.     Restitution, Special Assessment and Fine

              The defendant understands and agrees that the Court, in addition to or

in lieu of any other penalty, shall order the defendant to make restitution to any

victim of the offense(s), pursuant to 18 U.S.C. § 3663A, for all offenses described in

 18 U .S.C. § 3663A(c)(l); and the Court may order the defendant to make restitution

to any victim of the offense(s), pursuant to 18 U.S.C. § 3663, including restitution as

to all counts charged, whether or not the defendant enters a plea of guilty to such

counts, and whether or not such counts are dismissed pursuant to this agreement.

The defendant further understands that compliance with any restitution payment

plan imposed by the Court in no way precludes the United States from

simultaneously pursuing other statutory remedies for collecting restitution (28 U.S.C.

§ 3003(b)(2)), including, but not limited to, garnishment and execution, pursuant to

the Mandatory Victims Restitution Act, in order to ensure that the defendant's

restitution obligation is satisfied.

              On each count to which a plea of guilty is entered, the Court shall

impose a special assessment pursuant to 18 U.S.C. § 3013. The special assessment is

due on the date of sentencing. The defendant understands that this agreement

imposes no limitation as to fine.

       2.     Supervised Release

              The defendant understands that the offense(s) to which the defendant is

 pleading provide(s) for imposition of a term of supervised release upon release from

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imprisonment, and that, if the defendant should violate the conditions of release, the

defendant would be subject to a further term of imprisonment.

       3.     Immigration Consequences of Pleading Guilty

              The defendant has been advised and understands that, upon conviction,

a defendant who is not a United States citizen may be removed from the United

States, denied citizenship, and denied admission to the United States in the future.

       4.     Sentencing Information

              The United States reserves its right and obligation to report to the Court

and the United States Probation Office all information concerning the background,

character, and conduct of the defendant, to provide relevant factual information,

including the totality of the defendant's criminal activities, if any, not limited to the

count(s) to which defendant pleads, to respond to comments made by the defendant

or defendant's counsel, and to correct any misstatements or inaccuracies. The

United States further reserves its right to make any recommendations it deems

appropriate regarding the disposition of this case, subject to any limitations set forth

herein, if any.

       5.     Financial Disclosures

              Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P. 32(d)(2)(A)(ii),

the defendant agrees to complete and submit to the United States Attorney's Office

within 30 days of execution of this agreement an affidavit reflecting the defendant's

financial condition. The defendant promises that his financial statement and

disclosures will be complete, accurate and truthful and will include all assets in

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which he has any interest or over which the defendant exercises control, directly or

indirectly, including those held by a spouse, dependent, nominee or other third party.

The defendant further agrees to execute any documents requested by the United

States needed to obtain from any third parties any records of assets owned by the

defendant, directly or through a nominee, and, by the execution of this Plea

Agreement, consents to the release of the defendant's tax returns for the previous five

years. The defendant similarly agrees and authorizes the United States Attorney's

Office to provide to, and obtain from, the United States Probation Office, the

financial affidavit, any of the defendant's federal, state, and local tax returns, bank

records and any other financial information concerning the defendant, for the

purpose of making any recommendations to the Court and for collecting any

assessments, fines, restitution, or forfeiture ordered by the Court. The defendant

expressly authorizes the United States Attorney's Office to obtain current credit

reports in order to evaluate the defendant's ability to satisfy any financial obligation

imposed by the Court.

       6.    Sentencing Recommendations

              It is understood by the parties that the Court is neither a party to nor

bound by this agreement. The Court may accept or reject the agreement, or defer a

decision until it has had an opportunity to consider the presentence report prepared

by the United States Probation Office. The defendant understands and

acknowledges that, although the parties are permitted to make recommendations and

present arguments to the Court, the sentence will be determined solely by the Court,


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with the assistance of the United States Probation Office. Defendant further

understands and acknowledges that any discussions between defendant or

defendant's attorney and the attorney or other agents for the government regarding

any recommendations by the government are not binding on the Court and that,

should any recommendations be rejected, defendant will not be permitted to

withdraw defendant's plea pursuant to this plea agreement. The government

expressly reserves the right to support and defend any decision that the Court may

make with regard to the defendant's sentence, whether or not such decision is

consistent with the government's recommendations contained herein.

      7.     Defendant's Waiver of Right to Appeal the Sentence

             The defendant agrees that this Court has jurisdiction and authority to

impose any sentence up to the statutory maximum and expressly waives the right to

appeal defendant's sentence on any ground, including the ground that the Court

erred in determining the applicable guidelines range pursuant to the United States

Sentencing Guidelines, except (a) the ground that the sentence exceeds the

defendant's applicable guidelines range as determined by the Court pursuant to the

United States Sentencing Guidelines; (b) the ground that the sentence exceeds the

statutory maximum penalty; or (c) the ground that the sentence violates the Eighth

Amendment to the Constitution; provided, however, that if the government exercises

its right to appeal the sentence imposed, as authorized by 18 U.S.C. § 3742(b), then

the defendant is released from his waiver and may appeal the sentence as authorized

by 18 U.S.C. § 3742(a).

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       8.     Middle District of Florida Agreement

              It is further understood that this agreement is limited to the Office of the

United States Attorney for the Middle District of Florida and cannot bind other

federal, state, or local prosecuting authorities, although this office will bring

defendant's cooperation, if any, to the attention of other prosecuting officers or

others, if requested.

       9.     Filing of Agreement

              This agreement shall be presented to the Court, in open court or in

camera, in whole or in part, upon a showing of good cause, and filed in this cause, at

the time of defendant's entry of a plea of guilty pursuant hereto.

       10.    Voluntariness

              The defendant acknowledges that defendant is entering into this

agreement and is pleading guilty freely and voluntarily without reliance upon any

discussions between the attorney for the government and the defendant and

defendant's attorney and without promise of benefit of any kind (other than the

concessions contained herein), and without threats, force, intimidation, or coercion

of any kind. The defendant further acknowledges defendant's understanding of the

nature of the offense or offenses to which defendant is pleading guilty and the

elements thereof, including the penalties provided by law, and defendant's complete

satisfaction with the representation and advice received from defendant's

undersigned counsel (if any). The defendant also understands that defendant has the

right to plead not guilty or to persist in that plea if it has already been made, and that

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defendant has the right to be tried by a jury with the assistar£ e tw' cm.msel, the right

to confront and cross-examine the witnesses against defendamt~the tight ~gainst

compulsory self-incrimination, and the right to compulsory process for the

attendance of witnesses to testify in defendant's defense; but, by pleading guilty,

defendant waives or gives up those rights and there will be no trial. The defendant

further understands that if defendant pleads guilty, the Court may ask defendant

questions about the offense or offenses to which defendant pleaded, and if defendant

answers those questions under oath, on the record, and in the presence of counsel (if

any), defendant's answers may later be used against defendant in a prosecution for

perjury or false statement. The defendant also understands that defendant will be

adjudicated guilty of the offenses to which defendant has pleaded and, if any of such

offenses are felonies, may thereby be deprived of certain rights, such as the right to

vote, to hold public office, to serve on a jury, or to have possession of firearms.

       11.    Factual Basis

              Defendant is pleading guilty because defendant is in fact guilty. The

defendant certifies that defendant does hereby admit that the facts set forth in the

attached "Factual Basis," which is incorporated herein by reference, are true, and

were this case to go to trial, the United States would be able to prove those specific

facts and others beyond a reasonable doubt.

       12.    Entire Agreement

              This plea agreement constitutes the entire agreement between the

 government and the defendant with respect to the aforementioned guilty plea and no

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other promises, agreements, or representations exist or have been made to the

defendant or defendant's attorney with regard to such guilty plea.

       13.    Certification

              The defendant and defendant's counsel certify that this plea agreement

has been read in its entirety by (or has been read to) the defendant and that defendant

fully understands its terms.

       DATED this _I/'---_ day of May, 2022.




SCOTT MATTHEW YOT
Defendant


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MAURJCE C. GRANT, II
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Attorney for Defendant                              Assistant United States Attorney
                                                    Deputy Chief, Jacksonville Division




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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION


 UNITED STATES OF A11ERICA

 V.                                          CASE NO. 3:21-cr-106-MMH-JBT

 SCOTT MATTHEW YOTKA


                       PERSONALIZATION OF ELEMENTS

As to Count One

       1.     Do you admit that an actual minor, that is, a real person who was less

than 18 years old, referred to as Minor 1 in the indictment, was depicted in certain

visual depictions that you took with your smart phone, a OnePlus 8T model KB2007

cellular telephone, on or about September 3, 2021?

       2.     On or about September 3, 2021, in the Middle District of Florida, did

you employ, use, persuade, induce, entice and coerce Minor 1 to engage in sexually

explicit conduct, that is, the lascivious exhibition of the child's genitalia and the

penetration of the child's anus with a foreign object, for the purpose of producing

visual depictions of such conduct?

       3.     Do you admit that you actually transported and transmitted these visual

 depictions using facilities of interstate commerce, that is, you distributed them using

 your cellular telephone via the internet using an online social messaging application

 to an undercover FBI Task Force Officer on September 15, 2021?




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 As to Count Two

        1.     Do you admit that an actual minor, that is, a real person who was less

 than 18 years old, referred to as Minor 2 in the indictment, was depicted in certain

 visual depictions that you took with your smart phone, a OnePlus 8T model K.B2007

 cellular telephone, on or about September 3, 2021?

        2.     On or about September 3, 2021, in the Middle District of Florida, did

 you employ, use, persuade, induce, entice and coerce Minor 2 to engage in sexually

 explicit conduct, that is, the lascivious exhibition of the child's genitalia, the

 penetration of the child's anus with a foreign object, and oral to genital sexual

 intercourse (placing your erect penis in Minor 2's mouth), for the purpose of

 producing visual depictions of such conduct?

        3.     Do you admit that you actually transported and transmitted these visual

 depictions·using facilities of interstate commerce, that is, you distributed them using

 your cellular telephone via the iintemet using an online social messaging application

 to an undercover FBI Task Force Officer on September 15, 2021?




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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION


  UNITED STATES OF AMERICA

  V.                                         CASE NO. 3:21-cr-106-MMH-JBT

  SCOTT MATTHEW YOTKA


                                   FACTUAL BASIS

       On September 15, 2021, an undercover FBI Task Force Officer in

 Washington, D.C. (the "UC"), engaged in a private message conversation on a

 particular social media application (the "App") with user "Scottnjax44," who was

 subsequently identified as defendant, Scott Matthew Yotka. During this online

 conversation, the UC and Yotka engaged in graphic conversation regarding the

 sexual exploitation of children. Yotka advised that he had access to three minor

 children, and further that he was sexually active with two of them, referred to herein

 as Minor 1 and Minor 2. Regarding these two children, Yotka stated, "Love to f-ck

 their little holes and piss inside them and get them to swallow." Yotka sent the UC at

 least seven images and one video that depicted Minor 1 and Minor 2 engaged in

 sexually explicit conduct with Yotka. Yotka told the UC that he was employed as an

 "emergency dispatcher" and works "12 hour shifts." Responsive documents resulting

 from emergency disclosure requests to the App company and an internet service

 provider showed internet protocol (IP) login activity to the "Scottnjax44" account

 resolved, in part, to a particular residence located in Jacksonville, Florida, and also


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 showed that the subscriber listed on that account was "Scott Yotka." Documents

 obtained from the App company showed that the display name for user

 "Scottnjax44" was "Scott Yotka."

       On September 16, 2021, further investigation revealed that Yotka was

 employed by the Jacksonville Sheriffs Office as a dispatcher and was scheduled to

 work a 12-hour shift beginning on the late afternoon of September 16, 2021 and

 concluding on the early morning of September 17, 2021. Responsive documents

 resulting from the emergency disclosure request to the App company listed frequent

 IP login activity from a particular IP address to the "Scottnjax44" user account, and

 this IP address resolved to the City of Jacksonville office in the Ed Ball Building in

 downtown Jacksonville.

       On the evening of September 16, 2021, a federal search warrant was issued for

 Yotka's residence in Jacksonville. On the morning of September 17, 2021, FBI

 agents and other personnel executed this search warrant at Yotka's residence. Yotka

 was at the residence and was advised that a search warrant was being executed at his

 residence. After the residence was secured, FBI agents approached Yotka for a

 possible interview. Yotka agreed to speak with two FBI agents inside an FBI vehicle

 that was parked outside the residence. This interview was recorded on audio.

       FBI Special Agent (SA) D. Moxley informed Yotka that he was not under

 arrest and speaking to the agents was completely voluntary. Yotka confirmed his

 name and his date ofbirth. After being advised of his constitutional rights, Y otka




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 acknowledged and waived those rights and agreed to speak with the agents. During

 an interview, Yotka stated in substance, and among other things, the following:

              Y otka has lived at the residence for approximately a year and a half.

 There is internet service at the residence which is password protected. Yotka has a

 OnePlus Android cellular phone that does not require a password to access and

 Y otka uses this cellular phone to access the wireless network. Y otk:a uses his cellular

 phone mostly to text and call others, but also has an account on the App as well as

 several other online social media accounts.

              Yotka's user name on the App is "scottnjax44" and Yotka initially

 stated he has not accessed his App account in over three years, but later admitted

 accessing his App account as recently as that morning. Yotka initially stated he used

 the App account for "nothing really," later admitted he used it to participate in "local

 groups," such as "singles" chat rooms, and ultimately admitted to being a member

 and administrator of a public chat room on the App titled "N__". He explained

 that his role as an administrator of the "N__" chat room was primarily to verify

 the legitimacy of other users, but sometimes Yotka would engage in private chat

 conversations with other members of the group after he verified them. Y otka stated

 the "N__" chat room consisted of users who are interested in "incest fetishes, little

 kid things, animal things." A rule of the "N__" chat room does not allow users to

 post images or videos into the public chat room until after they had been a member

 for at least 12 hours, so users would send Yotka images and videos, including images




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 and videos of child pornography, via private message, that he would then distribute

 to the members of the "N__" chat room.

              Yotka recalled a private message conversation he recently had with an

 App user who was a member of the "N_ _ " chat room. Yotka was shown an

 image of the user profile used by the UC on the App, which he acknowledged was

 the user that he (Yotka) communicated with from the "N__" public chat room but

 again stated he could not remember the details of the conversation.

       There was a break in the interview and Yotka exited the FBI vehicle. Later,

 Yotka then approached FBI SA L. Jackson and advised her that he wanted to speak

 further with the agents and SA Jackson told Yotka that he must make it clear to the

 agents that he wished to speak with them again. Yotka confirmed with SA Jackson

 that he did want to speak with the agents, but wanted to do so in a location out of

 view of the residence. SA Mmdey advised Yotka that in order to speak with the

 agents, he needed to make it clear that he wished to do so and was doing it

 voluntarily, which Yotka confirmed was accurate. SA Moxley asked Yotka if it was

 suitable to continue the interview in the FBI vehicle again, but move it towards the

 other end of the street, out of view of the residence, which Yotka confirmed would

 be acceptable. Yotka then got in the passenger seat of the same FBI vehicle and the

 agent drove the vehicle from the residence to the end of the street, approximately 200

 yards from the residence.

       After the vehicle was moved to the new location just down the street, SA

 Moxley again advised Yotka that ifhe continued to speak with us, he needed to

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 make it clear about his decision to do so, which he confirmed. After being advised of

 his constitutional rights again, Yotka acknowledged and waived those rights and

 agreed to speak with the agents, stating in substance, and among other things, the

 following:

              Yotka acknowledged sending pornographic pictures of children to

 whom he had access to the App user (the UC), which included sending pictures that

 depicted a foreign object being inserted into the anuses of both Minor 2 and Minor 1.

 Y otka stated that he took those pictures and ejaculated on M.inor 1, and that he also

 took a picture of this incident and sent it to the App user (the UC) but has not sent it

 to anyone else. Yotka acknowledged that he inserted the object and took the

 pornographic photos of Minor 1 and Minor 2. Yotka stated that he was "trying to fit

 in" with other members of the group, which he acknowledged meant fitting in with

 other members of the group by distributing child pornography. Yotka agreed that the

 pictures he took of the children constituted child pornography.

              SA Moxley showed Yotka the images and one video that "Scottnjax44"

 distributed to the UC over the internet using the App. Yotka confirmed that he took

 each of the pictures and the video "a couple weeks ago" and described each as

 depicting either Minor I or Minor 2. Y otka was at home when he took the pictures

 and they were all "taken at the same time, did it in one shot." Y otka acknowledged

 that he masturbated and ejaculated to the images. Y otka stated that he did not send

 the images and video to other members of the group on the App and "this was a one-

 time incident."

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              Y otka showed the agents using a similar object how he penetrated the

 anuses of Minor I and Minor 2. Yotka does not store child pornography on his

 cellular phone and "probably already deleted" the images and video he took of

 Minor I and Minor 2. Yotka then gave the agents verbal and written consent to

 search the contents of his OnePlus 8T model KB2007 cellular phone. Yotka

 acknowledged the cellular phone he is referring to is the cellular phone that was on

 his person earlier in the morning when the FBI arrived at his residence. Yotka also

 gave the agents verbal consent to access his App account and provided the password.

              When asked if he believed what he had done was harmful to children,

 Yotka responded "yes" and acknowledged that he has harmed Minor I and Minor 2

 physically and emotionally. Yotka stated "I know what I did" and "I'm not proud of

 what I did." Yotka stated what he did, referring to taking sexually explicit images.

 and videos of children, is a "criminal offense" and a "felony offense," and that he "is

 pretty much screwed for the rest of [his] life."

        Forensic review ofYotka's OnePlus 8T model KB2007 cellular telephone

 revealed that at least seven sexually explicit photos and one video of Minors 1 and 2

 were contained thereon on the phone. Metadata embedded on these files indicate

 that each was produced using this phone, and that Yotka produced these visual

 depictions on September 3, 2021 between 1:30 p.m. and 2:21 p.m. For example, on

 September 3, 2021 at 1:40 p.m., Yotka produced a photo that depicted Yotka using

 an object to penetrate the anus of Minor I, and this photo also showed the lascivious

 exhibition ofMinor l's genitalia (a basis of Count One ofthe indictment). Also, on


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 September 3, 2021 at 1:42 p.m., Yotka produced a photo that depicted Yotka forcing

 his erect p~nis into Minor 2's mouth (a basis of Count Two of the indictment). There

 were also additional images depicting children being sexually abused that were found

 on Y otka's OnePlus 8T model KB2007 cellular phone that Yotka downloaded from

 the internet.

        Yotka acknowledges that his OnePlus 8T model KB2007 cellular telephone

 and the internet are both facilities of interstate commerce. Yotka also acknowledges

 that there exists a sufficient nexus for purposes of forfeiture between the items

 specified herein and the criminal conduct set forth above.




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      1                        UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
      2                            JACKSONVILLE DIVISION

      3   UNITED STATES OF AMERICA,            Case No. 3:21-cr-00106-MMH-JBT

      4           Plaintiff,                   May 13, 2022

      5   v.                                   3:03 p.m. - 3:32 p.m.

      6   SCOTT MATTHEW YOTKA,                 (Digitally Recorded)

      7          Defendant.
          ______________________________________________________________
      8

      9
                            DIGITALLY RECORDED CHANGE OF PLEA
     10
                          BEFORE THE HONORABLE JOEL B. TOOMEY
     11                      UNITED STATES MAGISTRATE JUDGE

     12                           A P P E A R A N C E S

     13
          COUNSEL FOR PLAINTIFF:
     14   D. RODNEY BROWN, Esquire
            United States Attorney's Office
     15     300 North Hogan Street, Suite 700
            Jacksonville, FL 32202
     16

     17   COUNSEL FOR DEFENDANT:
          MAURICE C. GRANT, II, Esquire
     18     Federal Public Defender - MDFL
            200 West Forsyth Street, Suite 1240
     19     Jacksonville, FL 32202

     20
          OFFICIAL COURT REPORTER:
     21   Katharine M. Healey, RMR, CRR, FPR-C
            PO Box 56814
     22     Jacksonville, FL 32241
            Telephone: (904) 301-6843
     23     KatharineHealey@bellsouth.net

     24
                       (Proceedings    recorded by electronic sound     recording;
     25                                      transcript produced by     computer.)
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      1                             P R O C E E D I N G S

      2   May 13, 2022                                             3:03 p.m.

      3                                  -    -   -

      4                COURT SECURITY OFFICER:    All rise.    The United States

      5   District Court in and for the Middle District of Florida is now

      6   in session.    The Honorable Joel B. Toomey is presiding.

      7                You may be seated.

      8                THE COURT:   We're here in the case United States vs.

      9   Scott Matthew Yotka, Case No. 3:21-cr-106.

     10                And the defendant's present along with his attorney,

     11   Mr. Grant.

     12                And Mr. Brown is here for the government.

     13                And I've been provided with a written plea agreement.

     14   Is it the defendant's intention to enter a guilty plea pursuant

     15   to this agreement?

     16                MR. GRANT:   Yes, Your Honor.

     17                THE COURT:   Madam Clerk, if you can swear in

     18   defendant.

     19                COURTROOM DEPUTY:     Please stand and raise your right

     20   hand.   Do you solemnly or affirm the answers you will give

     21   during these proceedings will be the truth, the whole truth,

     22   and nothing but the truth?

     23                THE DEFENDANT:   (Inaudible.)

     24                COURTROOM DEPUTY:     And please state your name for the

     25   record.
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      1               THE DEFENDANT:    (Inaudible.)

      2               COURTROOM DEPUTY:    Thank you.

      3               THE COURT:   Okay.   You can have a seat.

      4               Now, you've just taken an oath to tell the truth.         If

      5   you do not tell the truth, or if you omit or leave anything

      6   important out, your testimony can form the basis of a

      7   prosecution for perjury or making a false statement, which are

      8   felonies.

      9               In addition, your testimony can be used against you

     10   in any proceeding if you challenge the taking of the plea, the

     11   judgment, the conviction, or the sentence.

     12               So do you understand what I've explained and the

     13   importance of having been placed under oath?

     14               THE DEFENDANT:    Yes, sir.

     15               THE COURT:   And are you a U.S. citizen?

     16               THE DEFENDANT:    Yes, sir.

     17               THE COURT:   It is you're right to plead guilty.

     18   However, before the Court may accept a plea of guilty, it's

     19   necessary that the Court find that your plea is made freely and

     20   voluntarily and that there's a factual basis for your plea.

     21   It's therefore necessary for me to ask questions about the

     22   offenses to which you plead.

     23               If you don't understand the questions or the words

     24   that I use, feel free to ask that they be explained.

     25               You may consult with your lawyer about any matter
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      1   during the questioning.      If necessary, I will recess the

      2   proceedings and allow you as much time as you need to meet

      3   privately with your lawyer.

      4              Do you understand that?

      5              THE DEFENDANT:     Yes, sir.

      6              THE COURT:    Has the government complied with the

      7   Crime Victims Rights statute?

      8              MR. BROWN:    Yes, Your Honor.

      9              THE COURT:    Now, first of all, I'm a magistrate

     10   judge, and your case is also assigned to a district judge.            You

     11   have the right to have your guilty plea taken by a district

     12   judge, or you could consent to have it taken by a magistrate

     13   judge, such as myself.

     14              Even if you consent to allowing me, the magistrate

     15   judge, to take your plea, the district judge will still decide

     16   whether to accept your plea.       And if it is accepted, the

     17   district judge will be the one who imposes sentence.

     18              So if you consent to allowing me, the magistrate

     19   judge, to take your plea, you're also waiving, or giving up,

     20   your right to have the district judge take your plea.

     21              So do you understand your right to have the district

     22   judge take your plea?

     23              THE DEFENDANT:     Yes, sir.

     24              THE COURT:    And do you want to waive that right and

     25   allow me, the magistrate judge, to take your plea?
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      1              THE DEFENDANT:     Yes, sir.

      2              THE COURT:    And did you sign a consent form allowing

      3   me to do that?

      4              THE DEFENDANT:     Yes, sir.

      5              THE COURT:    And Mr. Grant, did you sign it as well

      6   and explain it to your client?

      7              MR. GRANT:    I did, Your Honor.

      8              THE COURT:    And do you make this waiver freely and

      9   voluntarily?

     10              THE DEFENDANT:     Yes, sir.

     11              THE COURT:    I need to go over some background

     12   questions with you.     What was your date of birth?

     13              THE DEFENDANT:     May 20th, 1974.

     14              THE COURT:    And how far did you go in school?

     15              THE DEFENDANT:     I have an AA degree.

     16              THE COURT:    So you can read, write, and understand

     17   English?

     18              THE DEFENDANT:     Yes, sir.

     19              THE COURT:    And are you currently under the influence

     20   of any drugs, alcohol, or other intoxicants?

     21              THE DEFENDANT:     Negative.

     22              THE COURT:    Are you currently under the influence of

     23   any medications?

     24              THE DEFENDANT:     Just the prescribed ones, but no.

     25              THE COURT:    What prescription drugs have you had?
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      1              THE DEFENDANT:     I take two for blood pressure and I

      2   have one for reflux.

      3              THE COURT:    And did you have these medications in the

      4   prescribed dosages within the last 48 hours?

      5              THE DEFENDANT:     Yes.

      6              THE COURT:    And do any of these medications interfere

      7   with your ability to understand these proceedings?

      8              THE DEFENDANT:     No.

      9              THE COURT:    And so other than what you just

     10   mentioned, are you currently in need of or receiving any

     11   medical or mental healthcare?

     12              THE DEFENDANT:     Medical.

     13              THE COURT:    For -- and what is that for?

     14              THE DEFENDANT:     Heart.

     15              THE COURT:    Okay.   And what -- what type of heart

     16   issue?

     17              THE DEFENDANT:     I keep showing signs of strokes.

     18              THE COURT:    Signs of what?

     19              THE DEFENDANT:     Stroke.

     20              THE COURT:    Stroke?     And did you say you're taking

     21   your medication for that?

     22              THE DEFENDANT:     Yes.

     23              THE COURT:    And what was that again?

     24              THE DEFENDANT:     I take two for blood pressure and I

     25   take another one for a reflux.       And that's all they have me on
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      1   right now.

      2                THE COURT:    All right.   Have you ever been treated

      3   for or suffered from any mental or emotional illness?

      4                THE DEFENDANT:    No.

      5                THE COURT:    And to your knowledge, are you now

      6   suffering from any mental or emotional disease or illness?

      7                THE DEFENDANT:    No.

      8                THE COURT:    And do you clearly understand where you

      9   are, what you're doing, and the importance of this proceeding?

     10                THE DEFENDANT:    Yes.

     11                THE COURT:    Mr. Grant, do you have any concern

     12   regarding the defendant's competency to enter a plea at this

     13   time?

     14                MR. GRANT:    I do not, Your Honor.

     15                THE COURT:    Any other questions you'd like me to ask?

     16                MR. BROWN:    No, Your Honor.

     17                THE COURT:    You have the right to plead not guilty,

     18   as you've previously done, and to persist in that plea.

     19                If you maintain your plea of not guilty you have the

     20   following rights under the Constitution and laws of the United

     21   States:

     22                You have the right to a speedy and public trial and

     23   to be tried by a jury of 12 people, or by the judge if you

     24   waive a jury trial.       If you're tried by a jury, all 12 of the

     25   jurors must unanimously agree on your guilt before you could be
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      1   convicted.

      2                You're presumed innocent.     Before you could be found

      3   guilty, the burden of proof is on government to prove your

      4   guilt by competent and sufficient evidence beyond a reasonable

      5   doubt.   You do not have to prove that you're innocent.

      6                You have the right to have the assistance of an

      7   attorney at the trial and at every stage of these criminal

      8   proceedings.

      9                At your trial the witnesses for the government have

     10   to come into court and testify in your presence.          You have the

     11   right to confront these witnesses against you, meaning to see,

     12   hear, question, and cross-examine the witnesses.

     13                Your attorney could object to evidence offered by the

     14   government and offer evidence on your behalf.

     15                At trial you may present witnesses in your own

     16   defense.    And if they will not appear voluntarily, I can issue

     17   orders to make them come to the trial.

     18                You need not make any statement about the charges,

     19   and you may not be compelled to incriminate yourself or testify

     20   at trial.    Other the other hand, if you wanted to testify at

     21   your trial you could do so.      The choice is entirely up to you.

     22                Now, if you plead guilty there will be no trial of

     23   any kind and on your plea the Court will find you guilty and

     24   will convict you.

     25                A plea of guilty admits the truth of the charge but a
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      1   plea of not guilty denies the charge.

      2              Has this been explained to you by your lawyer.

      3              THE DEFENDANT:     (Inaudible.)

      4              THE COURT:    If you choose to plead guilty you must

      5   give up the right not to incriminate yourself because I have to

      6   ask you questions about the crime to which you plead guilty to

      7   satisfy myself that there's a factual basis for your plea.

      8              By pleading guilty you also waive and give up your

      9   right to trial, to confrontation and cross-examination of

     10   government witnesses, and to compulsory process for attendance

     11   of defense witnesses at trial.       So there'll be no trial and the

     12   next stepping would be sentencing.

     13              Now, you may have defenses to the charge, but if you

     14   plead guilty, you waive and give up your right to assert any

     15   possible defenses.

     16              Has your lawyer discussed with you any defenses that

     17   may be available to you?

     18              THE DEFENDANT:     Yes, sir.

     19              THE COURT:    By pleading guilty you also waive and

     20   give up your right to challenge the way the government obtained

     21   any evidence, statement, or confession.

     22              In addition, by pleading guilty you may lose the

     23   right to challenge on appeal any rulings which the Court has

     24   made in your case.

     25              By pleading guilty to this felony you may lose
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      1   certain civil rights, such as your right to vote, to hold

      2   public office, to serve on juries, and to own and possess

      3   firearms and ammunition.      A felony conviction may also prevent

      4   you from obtaining or keeping certain occupational licenses.

      5               So do you fully understand all the rights that you

      6   have and the rights that you waive and give up by pleading

      7   guilty?

      8               THE DEFENDANT:    Yes, sir.

      9               THE COURT:    Now, the Federal Sentencing Guidelines

     10   apply to your case.      Have you discussed the sentencing

     11   guidelines with your attorney?

     12               THE DEFENDANT:    Yes.

     13               THE COURT:    I won't go into too much detail about the

     14   guidelines since you discussed them with your lawyer, but I do

     15   have to make sure you understand certain things about how the

     16   sentencing process works.

     17               The Court will not be able to determine your

     18   guidelines until after the presentence report has been

     19   completed by the probation office.

     20               After it's been determined what guidelines apply to

     21   your case, the district judge still has the authority to impose

     22   a sentence that is more severe or less severe than the sentence

     23   called for by the guidelines.

     24               In determining a sentence, the district judge is

     25   obligated to apply any minimum mandatory sentence that's set
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      1   out by statute, and subject to that, calculate the applicable

      2   guideline range, consider that range, also consider possible

      3   departures from the guidelines and other sentencing factors

      4   that are listed in the statute, which is 18, United States

      5   Code, Section 3553(a).

      6               So the guidelines are only advisory and the judge is

      7   not bound by them and can impose any sentence up to and

      8   including the maximum permitted by law.

      9               Also, under some circumstances the government may

     10   have the right to appeal any sentence that the district judge

     11   imposes and ask a higher court to impose a more severe

     12   sentence.

     13               Parole's been abolished, and if you're sentenced to

     14   prison you'll not be released on parole.

     15               So as we sit here today the sentence -- as we sit

     16   here today, nobody can tell you what your sentence will be.

     17   The sentence imposed could be different than any estimated

     18   sentence your attorney or anyone else has given you.           It could

     19   be more severe than you expect.       But even if that happens

     20   you'll still be bound by your guilty plea and will not have a

     21   right to withdraw it.

     22               Do you understand that?

     23               THE DEFENDANT:    Yes, sir.

     24               THE COURT:    And do you understand all the things I

     25   just explained about sentencing?
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      1               THE DEFENDANT:    Yes, sir.

      2               THE COURT:    And did you receive a copy of the

      3   indictment against you in this case?

      4               THE DEFENDANT:    Yes, sir.

      5               THE COURT:    And have the charges been read and

      6   explained to you by your attorney?

      7               THE DEFENDANT:    Yes, sir.

      8               THE COURT:    And have you discussed the charges and

      9   the case in general with your attorney?

     10               THE DEFENDANT:    Yes, sir.

     11               THE COURT:    Now, the charges against you in Counts

     12   One and Two of the indictment, they each charge you with

     13   production of child pornography, in violation of 18, U.S.

     14   Code, Section 2251(a) and (e).       Do you fully understand the

     15   charges contained in the indictment?

     16               THE DEFENDANT:    Yes, sir.

     17               THE COURT:    Do you have any questions about these

     18   charges?

     19               THE DEFENDANT:    No, sir.

     20               THE COURT:    Now, the necessary elements the

     21   government must prove beyond a reasonable doubt in order for

     22   you to be convicted of this crime are as follows.          And they're

     23   listed in your plea agreement on page three.

     24               First, that an actual minor, that is, a real person

     25   who is less than 18 years old, was depicted in certain visual
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      1   depictions.

      2               Second, that you employed, used, persuaded, induced,

      3   enticed, or coerced a minor to engage in sexually explicit

      4   conduct for the purpose of producing these visual depictions of

      5   the conduct.

      6               And third, that such visual depictions were actually

      7   transported and transmitted using a facility of interstate

      8   commerce, that is, by cellular telephone via the internet.

      9               So do you understand the elements of the charge which

     10   the government would have to prove beyond a reasonable doubt

     11   for you to be convicted?

     12               THE DEFENDANT:    Yes, sir.

     13               THE COURT:    Do you have any questions about the

     14   elements?

     15               THE DEFENDANT:    No, sir.

     16               THE COURT:    Now, this crime is punishable by the

     17   following minimum and maximum penalties, which are also listed

     18   in your plea agreement on pages 1 and 2 and 3.

     19               So each count is punishable by a mandatory minimum

     20   term of imprisonment of not less than 15 years and not more

     21   than 30 years, a fine of $250,000, or both the imprisonment and

     22   the fine, a term of supervised release after prison of not less

     23   than five years and up to life.       There's a special assessment

     24   of $100 for each count.

     25               So if the Court were to sentence you consecutively,
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      1   the aggregate minimum and maximum penalties would be a

      2   mandatory minimum term of imprisonment of not less than

      3   30 years and not more than 60 years, fines totaling $500,000,

      4   or both the imprisonment and the fine, a term of supervised

      5   release after prison of, again, five years up to life -- not

      6   less than five years up to life, special assessments totaling

      7   $200.

      8                If you're required to register under the Sex Offender

      9   Registration and Notification Act, which you will be, and you

     10   violate your supervised release by committing certain felony

     11   offenses that are listed there in your plea agreement, then the

     12   Court must revoke your term of supervised release and require

     13   you to serve an additional term of imprisonment of not less

     14   than five years and up to life, again on each count.

     15                If you were to violate your supervised release in

     16   some other way, you could be sentenced to an additional three

     17   years in prison on each count.

     18                Also, the Court shall order you to make restitution

     19   to any victims of the offense -- offenses in the mandatory

     20   minimum amount of not less than $3,000 per victim.          There's

     21   also a special assessment of not more than $50,000 per count.

     22   There's also an additional $5,000 special assessment per count

     23   as to any non-indigent defendant.

     24                Have I accurately stated the minimum and maximum

     25   penalties?
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      1               MR. BROWN:    Yes, Your Honor.

      2               THE COURT:    And the Court may also require you to

      3   forfeit certain property to the government and provide notice

      4   of the conviction to any victims.

      5               Mr. Grant, have I accurately stated the minimum and

      6   maximum penalties?

      7               MR. GRANT:    Yes, Your Honor.

      8               THE COURT:    So do you understand the minimum and

      9   maximum penalties you face on each charge?

     10               THE DEFENDANT:    Yes, sir.

     11               THE COURT:    And do you understand the total

     12   cumulative minimum and maximum penalties?

     13               THE DEFENDANT:    Yes, sir.

     14               THE COURT:    Do you understand that the maximum

     15   penalties are a possible consequence of your guilty plea?

     16               THE DEFENDANT:    Yes, sir.

     17               THE COURT:    And do you have any questions about

     18   anything I've explained thus far?

     19               THE DEFENDANT:    No, sir.

     20               THE COURT:    And have you fully discussed all these

     21   matters with your lawyer?

     22               THE DEFENDANT:    Yes, sir.

     23               THE COURT:    And do you understand that there have

     24   been discussions between the attorney for the government and

     25   your attorney which have resulted in a written plea agreement?
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      1               THE DEFENDANT:    Yes, sir.

      2               THE COURT:    Madam Clerk.

      3               And is that your original plea agreement?

      4               THE DEFENDANT:    Yes, sir.

      5               THE COURT:    And let me get you to look at page 16,

      6   the signature page.      Is that your signature on that page?

      7               THE DEFENDANT:    Yes, sir.

      8               THE COURT:    And then on the bottom left-hand corner

      9   of every page are those your initials?

     10               THE DEFENDANT:    Yes, sir.

     11               THE COURT:    And Mr. Grant, if you can verify your

     12   signature as well.

     13               MR. GRANT:    Yes, Your Honor.     This is the plea

     14   agreement that I received from Mr. Brown.         I witnessed

     15   Mr. Yotka sign and initial each page of the document.           It's

     16   dated on May 11th.     I myself signed it at the same time.

     17               MR. BROWN:    Your Honor, I have the original plea

     18   agreement that was negotiated between the parties through

     19   counsel in this case.      On page 16 there are four signatures.

     20   Two on the right-hand side of the page belong to

     21   representatives of the United States.        One is mine, as the

     22   responsible prosecutor, and the other belongs to Kelly Karase,

     23   who is a supervisor in our office.

     24               And last, but not least, on the first page in the

     25   lower right-hand corner, I recognize the initials of our Asset
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      1   Forfeiture Specialist, Mai Tran.

      2                THE COURT:   And did you read the entire plea

      3   agreement before signing it?

      4                THE DEFENDANT:    Yes, sir.

      5                THE COURT:   And did you go over it with your

      6   attorney?

      7                THE DEFENDANT:    Yes, sir.

      8                THE COURT:   And did you understand your entire plea

      9   agreement?

     10                THE DEFENDANT:    Yes, sir.

     11                THE COURT:   And do you have any questions about your

     12   plea agreement?

     13                THE DEFENDANT:    No, sir.

     14                THE COURT:   Okay.   Even though you don't have any

     15   questions about your plea agreement, I'm still going to go over

     16   some of the provisions of the plea agreement, but I'm not going

     17   to go over all of them.       But, of course, you are bound by the

     18   entire plea agreement.

     19                Do you understand that?

     20                THE DEFENDANT:    Yes, sir.

     21                THE COURT:   Now, your plea agreement provides that at

     22   the time of sentencing, the remaining count against you, Count

     23   Three, will be dismissed.       And then also the government is

     24   agreeing not to charge you with any other federal criminal

     25   offenses known to them at the time of the execution of this
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      1   agreement.

      2                The district judge can only accept a plea agreement

      3   that involves dismissal of some charges or an agreement not to

      4   pursue other charges if the district judge finds that the

      5   remaining charges that you plead guilty to adequately reflect

      6   the seriousness of your actual offense behavior and that

      7   accepting the agreement will not undermine the statutory

      8   purpose of sentencing.

      9                Also, if charges are to be dismissed pursuant to a

     10   plea agreement, you may still be held accountable under the

     11   sentencing guidelines for that conduct even though the charge

     12   has been dismissed.

     13                Do you understand that?

     14                THE DEFENDANT:   Yes, sir.

     15                THE COURT:   Also, on page 4, you're agreeing to make

     16   full restitution to all minor victims of your offenses as to

     17   all counts charged whether or not you enter a guilty plea to

     18   such count.

     19                Do you understand that?

     20                THE DEFENDANT:   Yes, sir.

     21                THE COURT:   I'm sorry?

     22                THE DEFENDANT:   Yes, sir.

     23                THE COURT:   And then the government is agreeing to

     24   make certain recommendations about your sentence in the event

     25   no adverse information is received.        But as your plea agreement
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      1   states, the government's recommendations are not binding on the

      2   district judge.     If the judge does not accept the government's

      3   sentencing recommendations in your plea agreement, you'll still

      4   be bound by your guilty plea and will not have a right to

      5   withdraw it.

      6               Do you understand that?

      7               THE DEFENDANT:    Yes, sir.

      8               THE COURT:    Also, you're agreeing to forfeit assets

      9   to the government, including the ones that are listed there on

     10   page 6, such as the cellular telephone.

     11               Do you understand that?

     12               THE DEFENDANT:    Yes, sir.

     13               THE COURT:    Also, you're agreeing that you'll have to

     14   comply with the Sex Offender Registration and Notification Act.

     15               Do you understand that?

     16               THE DEFENDANT:    Yes, sir.

     17               THE COURT:    Then on page 13 there's a provision in

     18   which you're waiving your right to appeal your sentence except

     19   in the circumstances that are listed there.

     20               So normally you have a right to appeal your sentence

     21   on any ground that you think's appropriate, including an

     22   incorrect application of the sentencing guidelines.           Under this

     23   plea agreement, however, you're waiving, or giving up, your

     24   right to appeal your sentence except in the circumstances that

     25   are listed.
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      1               So you could still appeal your sentence on the

      2   following grounds:

      3               First, that your sentence exceeds your applicable

      4   guideline range as that range is determined by the Court; or

      5   second, that your sentence exceeds the statutory maximum

      6   penalty; or third, that your sentence violates the Eighth

      7   Amendment to the Constitution prohibiting cruel and unusual

      8   punishment; or fourth, if the government appeals your sentence,

      9   then you can appeal it as well.

     10               But other than in those circumstances, you're waiving

     11   your right to appeal your sentence.

     12               So do you understand what you're waiving and giving

     13   up in this portion of the plea agreement?

     14               THE DEFENDANT:    Yes, sir.

     15               THE COURT:    Do you make this waiver freely and

     16   voluntarily?

     17               THE DEFENDANT:    Yes, sir.

     18               THE COURT:    Are there any other provisions of the

     19   plea agreement you'd like me to discuss, Mr. Brown?

     20               MR. BROWN:    No, Your Honor.

     21               THE COURT:    Mr. Grant?

     22               MR. GRANT:    No, Your Honor.

     23               THE COURT:    Mr. Yotka, are there any other provisions

     24   of the plea agreement you'd like me to discuss with you?

     25               THE DEFENDANT:    No, sir.
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      1               THE COURT:    And do you understand all of the

      2   provisions of the plea agreement?

      3               THE DEFENDANT:    Yes, sir.

      4               THE COURT:    Are you willing to be bound by the

      5   provisions of the plea agreement?

      6               THE DEFENDANT:    Yes, sir.

      7               THE COURT:    Have any promises or assurances been made

      8   to you by anyone that are not reflected in the plea agreement?

      9               THE DEFENDANT:    No, sir.

     10               THE COURT:    And do you fully understand all the

     11   matters we've covered up to this point in the hearing?

     12               THE DEFENDANT:    Yes, sir.

     13               THE COURT:    And how do you plead, guilty or not

     14   guilty, to Counts One and Two of the indictment?

     15               THE DEFENDANT:    Guilty.

     16               THE COURT:    Are you pleading guilty because you are

     17   guilty?

     18               THE DEFENDANT:    (Inaudible.)

     19               THE COURT:    Do you now admit that you committed the

     20   acts sets forth in those charges?

     21               THE DEFENDANT:    (Inaudible.)

     22               THE COURT:    Do you understand that a plea of guilty

     23   admits the truth of the charges against you?

     24               THE DEFENDANT:    Yes, sir.

     25               THE COURT:    And is your plea entered with an
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      1   understanding of what you're doing here today?

      2               THE DEFENDANT:    Yes, sir.

      3               THE COURT:    And part of your plea agreement --

      4   there's a factual basis at the end of your plea agreement.             And

      5   did you read the factual basis as well?

      6               THE DEFENDANT:    Yes, sir.

      7               THE COURT:    And is that what you did?

      8               THE DEFENDANT:    Yes, sir.

      9               THE COURT:    I'm sorry?

     10               THE DEFENDANT:    Yes, sir.

     11               THE COURT:    And do you admit the truth of the factual

     12   basis and that all of the elements thereof are true and correct

     13   as they pertain to you?

     14               THE DEFENDANT:    Yes, sir.

     15               THE COURT:    I'm going to ask you the personalization

     16   of elements, which is also part of your plea agreement.

     17               As to Count One, do you admit that an actual minor,

     18   that is, a real person who is less than 18 years old, referred

     19   to as Minor 1 in the indictment, was depicted in certain visual

     20   depictions that you took with your smart phone, a OnePlus 8T

     21   model KB 2007 cellular telephone, on or about September 3rd,

     22   2021?

     23               THE DEFENDANT:    Yes, sir.

     24               THE COURT:    On or about September 3rd, 2021, in the

     25   Middle District of Florida, did you employ, use, persuade,
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      1   induce, entice, and coerce Minor 1 to engage in sexually

      2   explicit conduct, that is, lascivious exhibition of the child's

      3   genitalia and the penetration of the child's anus with a

      4   foreign object, for the purpose of producing visual depictions

      5   of such conduct?

      6               THE DEFENDANT:    Yes, sir.

      7               THE COURT:    Do you admit that you actually

      8   transported and transmitted these visual depictions using

      9   facilities of interstate commerce; that is, you distributed

     10   them using your cellular telephone via the internet using an

     11   online social messaging application to an undercover FBI task

     12   force officer on September 15th, 2021?

     13               THE DEFENDANT:    Yes, sir.    Yes, sir.

     14               THE COURT:    As to Count Two, do you admit that an

     15   actual minor, that is, a real person who is less than 18 years

     16   old, referred to as Minor 2 in the indictment, was depicted in

     17   certain visual depictions that you took with your smart phone,

     18   a OnePlus 8T model KB 200 (sic) cellular telephone, on or about

     19   September 3rd, 2021?

     20               THE DEFENDANT:    Yes, sir.

     21               THE COURT:    On or about September 3rd, 2021, in the

     22   Middle District of Florida, did you employ, use, persuade,

     23   induce, entice, and coerce Minor 2 to engage in sexually

     24   explicit conduct, that is, the lascivious exhibition of the

     25   child's genitalia, the penetration of the child's anus with a
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      1   foreign object, and oral-to-genital sexual intercourse, that

      2   is, placing your erect penis in Minor 2's mouth, for the

      3   purpose of producing visual depictions of such conduct?

      4               THE DEFENDANT:    Yes, sir.

      5               THE COURT:    Do you admit that you actually

      6   transported and transmitted these visual depictions using

      7   facilities of interstate commerce; that is, you distributed

      8   them using your cellular telephone via the internet using an

      9   online social messaging application to an undercover FBI task

     10   force officer on September 15th, 2021?

     11               THE DEFENDANT:    Yes, sir.

     12               THE COURT:    I find a factual basis for the plea.

     13               Is your plea free and voluntary?

     14               Is your plea free and voluntary?

     15               THE DEFENDANT:    Yes, sir.

     16               THE COURT:    Is your plea of guilty your own

     17   independent decision?

     18               THE DEFENDANT:    Yes, sir.

     19               THE COURT:    Has anyone threatened you, forced you,

     20   coerced you or intimidated you in any way regarding your

     21   decision to plead guilty?

     22               THE DEFENDANT:    No, sir.

     23               THE COURT:    Has anyone made any promises or

     24   assurances to you of any kind to induce you to plead guilty

     25   other than what's stated in your plea agreement?
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      1                THE DEFENDANT:   No, sir.

      2                THE COURT:   Are you relying on any other agreement or

      3   promise about what sentence you'll get if you plead guilty

      4   other than what's stated in your plea agreement?

      5                THE DEFENDANT:   No, sir.

      6                THE COURT:   At this time do you know what sentence

      7   you will receive?

      8                THE DEFENDANT:   No, sir.

      9                THE COURT:   And has anyone promised that you will

     10   receive a light sentence or be otherwise rewarded by pleading

     11   guilty other than what's stated in your plea agreement?

     12                THE DEFENDANT:   No, sir.

     13                THE COURT:   Let me ask each attorney:      Do you assure

     14   the Court that as far as you know, no assurances, promises, or

     15   understandings have been given the defendant as the disposition

     16   of his case which are different or contrary to what's in the

     17   plea agreement?

     18                MR. BROWN:   I can assure the Court of that.

     19                MR. GRANT:   I do, Your Honor.

     20                THE COURT:   Now, you've been represented by

     21   Mr. Grant.    Have you discussed your case fully and explained

     22   everything you know about it to him?

     23                THE DEFENDANT:   Yes, sir.

     24                THE COURT:   And have you had enough time to talk with

     25   your lawyer or anyone else you care to about your case?
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      1               THE DEFENDANT:    Yes, sir.

      2               THE COURT:    And are you satisfied with your lawyer

      3   and the way he's represented you in this case?

      4               THE DEFENDANT:    Yes, sir.

      5               THE COURT:    Do you have any complaints about the way

      6   he's represented you?

      7               THE DEFENDANT:    No, sir.

      8               THE COURT:    Do you have any complaints about the way

      9   you've been treated by the Court or anyone else which is

     10   causing you to plead guilty?

     11               THE DEFENDANT:    No, sir.

     12               THE COURT:    Has anyone coached you or suggested that

     13   you answer untruthfully any of the questions asked of you by

     14   the Court today?

     15               THE DEFENDANT:    No, sir.

     16               THE COURT:    And have you told the truth today?

     17               THE DEFENDANT:    Yes, sir.

     18               THE COURT:    And do you fully understand all the

     19   rights and procedures that you waive and give up by pleading

     20   guilty?

     21               THE DEFENDANT:    Yes, sir.

     22               THE COURT:    Having heard everything I've said, is it

     23   your final desire to plead guilty to Counts One and Two of the

     24   indictment pursuant to the terms of your plea agreement?

     25               THE DEFENDANT:    Yes, sir.
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      1               THE COURT:    Now's your last chance to speak up or ask

      2   questions before I recommend to the district judge that she

      3   accept your plea.     Do you have any questions or anything you

      4   want to say at this point?

      5               THE DEFENDANT:    No, sir.

      6               THE COURT:    Is the government satisfied with the

      7   colloquy?

      8               MR. BROWN:    Yes, Your Honor.

      9               THE COURT:    Is the defense satisfied?

     10               MR. GRANT:    Yes, Your Honor.

     11               THE COURT:    Mr. Grant, are you satisfied that your

     12   client knows what he's charged with and that you've had

     13   sufficient time to counsel with him and that he is pleading

     14   guilty freely and voluntarily, with full knowledge of the

     15   consequences of his plea?

     16               MR. GRANT:    Yes as to each of those matters.

     17               THE COURT:    Okay.   I'm going to make certain findings

     18   that pertain to you and then ask if you agree with them,

     19   Mr. Yotka, so if you can listen carefully.

     20               I find that you are now alert and intelligent, that

     21   you understand the nature of the charges against you and the

     22   possible penalties, and you appreciate the consequences of

     23   pleading guilty.

     24               I also find the facts which the government is

     25   prepared to prove and which by your plea of guilty you admit
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      1   state all the essential elements of the crime to which you have

      2   pleaded guilty.

      3               I further find that your decision to plead guilty is

      4   freely, voluntarily, knowingly, and intelligently made and that

      5   you've had the advice and counsel of a competent lawyer with

      6   whom you say you are satisfied.

      7               Do you agree with these findings?

      8               THE DEFENDANT:    Yes, sir.

      9               THE COURT:    I will make a written report to the

     10   district judge recommending that she accept your plea.           Each

     11   side has 14 days to object to that or that can be waived.

     12               MR. BROWN:    The United States will waive, Your Honor.

     13               MR. GRANT:    The defense will waive that 14-day period

     14   as well, Your Honor.

     15               THE COURT:    The presentence report will be prepared

     16   by the probation office to assist the district judge in

     17   sentencing you.     You'll be required to furnish information for

     18   this report.     Your attorney will represent you in the

     19   preparation of this report and at sentencing.

     20               You and your attorney will be given an opportunity to

     21   speak on your behalf at the sentencing hearing.

     22               You and your attorney will be permitted to read the

     23   presentence report before the sentencing hearing and to make

     24   objections to it if you have objections.

     25               Is there anything further to take up?
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      1               MR. BROWN:    No, Your Honor.

      2               THE COURT:    Mr. Grant?

      3               MR. GRANT:    No, Your Honor.

      4               THE COURT:    Okay.   Court will be in recess.

      5               COURT SECURITY OFFICER:      All rise.

      6         (Proceedings concluded at 3:32 p.m.)

      7                                 -      -      -

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      1                  CERTIFICATE OF OFFICIAL COURT REPORTER

      2   UNITED STATES DISTRICT COURT)

      3   MIDDLE DISTRICT OF FLORIDA )

      4

      5           I, court approved transcriber, certify that the

      6   foregoing is a correct transcript from the official electronic

      7   sound recording of the proceedings in the above-entitled

      8   matter.

      9

     10           DATED this 20th day of January 2023.

     11

     12                           /s/ Katharine M. Healey
                                  Katharine M. Healey, RMR, CRR, FPR-C
     13                           Official Court Reporter

     14

     15

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      1                       UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
      2                           JACKSONVILLE DIVISION

      3   UNITED STATES OF AMERICA,           Case No. 3:21-cr-00106-MMH-JBT

      4          Plaintiff,                   November 21, 2022

      5   v.                                  1:02 p.m. - 1:12 p.m.
                                              3:32 p.m. - 3:26 p.m.
      6   SCOTT MATTHEW YOTKA,
                                              Courtroom 10B
      7          Defendant.
          ______________________________________________________________
      8
                                        SENTENCING
      9
                      BEFORE THE HONORABLE MARCIA MORALES HOWARD
     10                      UNITED STATES DISTRICT JUDGE

     11
                                  A P P E A R A N C E S
     12
          COUNSEL FOR PLAINTIFF:
     13   D. RODNEY BROWN, Esquire
            United States Attorney's Office
     14     300 North Hogan Street, Suite 700
            Jacksonville, FL 32202
     15

     16   COUNSEL FOR DEFENDANT:
          MAURICE C. GRANT, II, Esquire
     17     Federal Public Defender - MDFL
            200 West Forsyth Street, Suite 1240
     18     Jacksonville, FL 32202

     19
          OFFICIAL COURT REPORTER:
     20   Katharine M. Healey, RMR, CRR, FPR-C
            PO Box 56814
     21     Jacksonville, FL 32241
            Telephone: (904) 301-6843
     22     KatharineHealey@bellsouth.net

     23                                 (Proceedings reported by stenography;
                                        transcript produced by computer.)
     24
     25
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      1                             P R O C E E D I N G S

      2   November 21, 2022                                             1:02 p.m.

      3                COURT SECURITY OFFICER:    All rise.   The United States

      4   District Court in and for the Middle District of Florida is now

      5   in session.    The Honorable Marcia Morales Howard presiding.

      6                Please be seated.

      7                THE COURT:   This is Case No. 3:21-cr-106-MMH-JBT,

      8   United States of America vs. Scott Matthew Yotka.

      9                Mr. Brown is here on behalf of the United States.

     10   And Mr. Brown, if you could please introduce the case agent.

     11                MR. BROWN:   Good afternoon, Your Honor.     This is

     12   Special Agent Daniel Moxley with the FBI.

     13                THE COURT:   And Mr. Grant is here on behalf of

     14   Mr. Yotka.

     15                And you are Scott Matthew Yotka?

     16                THE DEFENDANT:   Yes, Your Honor.

     17                THE COURT:   All right.   I would ordinarily ask if

     18   you-all are prepared to proceed, but Madam Deputy advised me

     19   shortly before the hearing that she had been given to

     20   understand that you-all might not be prepared to proceed.

     21                Who wants to address that?

     22                MR. BROWN:   I will, Your Honor, because it's my

     23   fault.

     24                Your Honor, a little over an hour ago, I guess, I

     25   discovered that I had inadvertently not disclosed some
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      1   information to Mr. Grant that he needed to have for his --

      2        (Unidentified people enter the courtroom.)

      3              THE COURT:    Mr. Brown, do you want to confer with

      4   them?   Is that --

      5              MR. BROWN:    Yes, Your Honor.

      6              THE COURT:    Do you want to confer with them for a

      7   moment before --

      8              MR. BROWN:    Yes, Your Honor.     Thank you.

      9              THE COURT:    Go ahead.

     10        (Pause in proceedings.)

     11              THE COURT:    All right.    Go ahead.

     12              MR. BROWN:    In any event, Your Honor, information

     13   that may be useful or helpful or whatever to Mr. Grant's

     14   sentencing presentation.     So I immediately called him, I got

     15   together with him and met with him and provided him with that

     16   information.    And based upon that, he would like to have

     17   additional time, Your Honor.

     18              Again, I apologize, I know it's the 11th hour.            This

     19   is not the way it's supposed to happen, but it is what it is.

     20              And so I'm now, I think, joining in him -- with him

     21   to move to continue the sentencing to allow him time to digest

     22   and look at that further.

     23              THE COURT:    All right.    I guess is this information

     24   that would have been impacted the plea?        I'm a little --

     25              MR. BROWN:    No, Your Honor.    This is sentencing type
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      1   information.

      2                THE COURT:   Okay.

      3                Mr. Grant.

      4                MR. GRANT:   Yes, Your Honor.    When Mr. Brown advised

      5   me -- I was just about ready to talk to Mr. Yotka outside the

      6   marshal's lockup and Mr. Brown walked up to me.

      7                Based on what he communicated to me, I spoke to

      8   Mr. Yotka and I didn't feel comfortable going forward.          That's

      9   how it is.    And I advised Mr. Yotka that I needed to review the

     10   material that the government was alluding to.         And so for that

     11   reason I am asking for a continuance.

     12                I understand, having been here this morning, the

     13   Court's calendar.    And on top of that, you and I are in trial

     14   the week of the 12th.     I communicated to Madam Deputy, I think

     15   that that particular trial will be over -- at least the

     16   evidentiary part of it will be over no later than Thursday.

     17   And so if you're available that Friday, the 16th, I think that

     18   would be a good day, if you're available.

     19                THE COURT:   I think I was planning to be with you.

     20   Can you-all give me an idea of what sort of information -- this

     21   is a little unusual.      I guess I just want to --

     22                MR. BROWN:   I can, Your Honor.    Could we do it at

     23   sidebar?

     24        (Proceedings at sidebar:)

     25                THE COURT:   Go ahead, Mr. Brown.
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      1              MR. BROWN:    Your Honor, and again, I apologize.         I'm

      2   so sorry about this.     But in any event, in addition to the

      3   charged conduct, there is additional information about the

      4   victims in this case that the defendant had produced images of

      5   them that were detected in a cyber tip to the authorities in

      6   Gainesville about a week -- actually, that were produced --

      7   would have been produced and uploaded about -- on August 24th

      8   of 2021.   That production predates the production in this case.

      9   So essentially it's the same -- the same children he produced

     10   images of in August, on August 24th, that came through Kik as

     11   well.

     12              It's not the charged conduct, but to the extent that

     13   a defense strategy might be to suggest that, you know, this is

     14   the only time this has ever happened, I didn't want Mr. Grant

     15   to walk into that buzz saw.

     16              I didn't want the Court to be compromised without

     17   having the information.     You know, I just -- I don't know what

     18   else to do other than stop the proceeding here and ask for a

     19   continuance to allow Mr. Grant to view the images.         And again,

     20   it's not a -- it's not complex, it's just basically on

     21   August 24th, this is what happened.

     22              THE COURT:    Okay.   That's fine.    I -- we -- the way

     23   you described it sounded different, and I was -- I guess I was

     24   trying to understand why it -- why the defense would need

     25   additional time.    Now that you've explained it, I can certainly
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      1   see why Mr. Grant would want to be able to discuss it with

      2   Mr. Yotka and that it could affect how he intended to proceed

      3   at the sentencing today.

      4              MR. GRANT:    Correct.

      5              THE COURT:    So -- okay.    Thank you.

      6              MR. GRANT:    Thank you.

      7        (Proceedings in open court:)

      8              THE COURT:    All right.    Having conferred with counsel

      9   and been given additional information, I'm convinced that a

     10   continuance is certainly warranted in order to allow counsel to

     11   consider and discuss the additional information received today

     12   with his client and determine the effect it may or may not have

     13   on the sentencing presentation.       So for that reason, the Court

     14   will grant the motion and will continue the matter.

     15              So you're confident, Mr. Grant, that if we start --

     16   I'm trying to think how.     We're planning -- Judge Barksdale's

     17   picking the jury on the Monday, and were we going to start that

     18   afternoon or that --

     19              MR. GRANT:    You hadn't told us.     But now that she's

     20   shaking her head, I'm happy to hear that, or see that.

     21              But if we picked the jury on the 12th and then start

     22   the trial on the 13th, I'm fairly confident that the

     23   evidentiary portion will be concluded by the fif- -- by the

     24   14th, more than likely, but the 15th at the outset.

     25              I don't see us going beyond -- into the 16th as far
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      1   as the evidentiary portion of it.

      2              THE COURT:    And including having instructed the jury?

      3              MR. GRANT:    Yes.    I think we can instruct the jury no

      4   later than the 15th is what I'm saying.

      5              THE COURT:    Okay.    So if we move this, just in an

      6   abundance of caution, to the afternoon of the 16th at 1:30 --

      7   I'm not looking at a calendar.

      8              Madam -- Ms. Wiles, is that --

      9              COURTROOM DEPUTY:      That is open, Your Honor.

     10              THE COURT:    Mr. Grant.

     11              MR. GRANT:    Yes, Your Honor.

     12              MR. BROWN:    At what time, Your Honor?

     13              THE COURT:     1:30.

     14              MR. BROWN:    That would be fine, thank you.

     15              THE COURT:    And I also -- I think that Ms. Wiles told

     16   me that there was no longer an anticipation that we would have

     17   any witnesses --

     18              MR. GRANT:    Correct.

     19              THE COURT:    -- or expert witnesses?

     20              MR. GRANT:    Correct.

     21              THE COURT:    Okay.    All right.   So I'll grant the

     22   motion and we'll continue the sentencing to December -- Friday,

     23   December 16th, at 1:30 in the afternoon.

     24              And I know that a representative of the family of the

     25   victims is present.     I apologize for the inconvenience, but
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      1   hopefully you'll be able to come back on December the 16th.

      2              Is that date okay with you?

      3              UNIDENTIFIED SPEAKER FROM AUDIENCE:        That's fine.

      4              THE COURT:    Okay.   All right.    Then anything further

      5   we need to address at this time, Mr. Brown?

      6              MR. BROWN:    No, Your Honor.

      7              THE COURT:    Mr. Grant?

      8              MR. GRANT:    No, Your Honor.

      9              THE COURT:    All right.    Well, you-all have a happy

     10   Thanksgiving.    We'll be in recess.

     11              MR. GRANT:    You as well.

     12              COURT SECURITY OFFICER:      All rise.

     13       (Proceedings concluded at 1:12 p.m.)

     14                              -      -      -

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      1                 CERTIFICATE OF OFFICIAL COURT REPORTER

      2

      3   UNITED STATES DISTRICT COURT)

      4   MIDDLE DISTRICT OF FLORIDA )

      5

      6          I hereby certify that the foregoing transcript is a true

      7   and correct computer-aided transcription of my stenotype notes

      8   taken at the time and place indicated herein.

      9

     10          DATED this 20th day of January 2023.

     11

     12                          /s/ Katharine M. Healey
                                 Katharine M. Healey, RMR, CRR, FPR-C
     13                          Official Court Reporter

     14

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      1                        UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
      2                            JACKSONVILLE DIVISION

      3   UNITED STATES OF AMERICA,            Case No. 3:21-cr-00106-MMH-JBT

      4           Plaintiff,                   December 21, 2022

      5   v.                                   9:47 a.m. - 10:56 a.m.

      6   SCOTT MATTHEW YOTKA,                 Courtroom 10B

      7          Defendant.
          ______________________________________________________________
      8
                                         SENTENCING
      9
                      BEFORE THE HONORABLE MARCIA MORALES HOWARD
     10                      UNITED STATES DISTRICT JUDGE

     11
                                  A P P E A R A N C E S
     12
          COUNSEL FOR PLAINTIFF:
     13   D. RODNEY BROWN, Esquire
            United States Attorney's Office
     14     300 North Hogan Street, Suite 700
            Jacksonville, FL 32202
     15

     16   COUNSEL FOR DEFENDANT:
          MAURICE C. GRANT, II, Esquire
     17     Federal Public Defender - MDFL
            200 West Forsyth Street, Suite 1240
     18     Jacksonville, FL 32202

     19
          OFFICIAL COURT REPORTER:
     20   Katharine M. Healey, RMR, CRR, FPR-C
            PO Box 56814
     21     Jacksonville, FL 32241
            Telephone: (904) 301-6843
     22     KatharineHealey@bellsouth.net

     23                                  (Proceedings reported by stenography;
                                         transcript produced by computer.)
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     25
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      1                           P R O C E E D I N G S

      2   December 21, 2022                                             9:47 a.m.

      3              COURT SECURITY OFFICER:      All rise.    The United States

      4   District Court in and for the Middle District of Florida is now

      5   in session.    The Honorable Marcia Morales Howard presiding.

      6              Please be seated.

      7              THE COURT:    This is Case No. 3:21-cr-106-MMH-JBT,

      8   United States of America vs. Scott Matthew Yotka.

      9              Mr. Brown is here on behalf of the United States.

     10              Mr. Brown, could you please introduce the case agent.

     11              MR. BROWN:    Yes, Your Honor.     Good morning.     This is

     12   Special Agent Daniel Moxley with the FBI.

     13              THE COURT:    Mr. Grant is here on behalf of Mr. Yotka

     14   and Mr. Yotka is in the courtroom.       We're scheduled for a

     15   sentencing.

     16              Is the United States prepared to proceed?

     17              MR. BROWN:    Yes, Your Honor.

     18              THE COURT:    And you, Mr. Grant?

     19              MR. GRANT:    Yes, Your Honor.

     20              THE COURT:    All right.    Mr. Yotka, on May 13th of

     21   2022 you entered a plea of guilty to Counts One and Two of the

     22   indictment, which each charged you with production of child

     23   pornography, in violation of Title 18, United States Code,

     24   Sections 2251(a) and 2251(e).

     25              The Court has accepted your guilty pleas, and so
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      1   we're at the stage of the proceedings where it's necessary for

      2   the Court to determine the appropriate sentence.

      3               There is a process that the Court must follow for

      4   sentencing.    It begins with the preparation of a presentence

      5   report, and the next thing that's supposed to happen is that

      6   you're supposed to review that presentence report with your

      7   attorney.

      8               Did you have an opportunity to do that?

      9               THE DEFENDANT:    Yes, ma'am.

     10               THE COURT:   Did Mr. Grant answer all of the questions

     11   you may have had about that presentence report?

     12               THE DEFENDANT:    Yes, ma'am.

     13               THE COURT:   Mr. Grant, did you have sufficient

     14   opportunity to review the PSR with this gentleman?

     15               MR. GRANT:   I did, Your Honor.

     16               THE COURT:   Does he have any outstanding objections

     17   to the factual statements or the guideline calculations?

     18               MR. GRANT:   What I will say is none that we were able

     19   to substantiate.

     20               THE COURT:   Okay.   Thank you, Mr. Grant.

     21               Mr. Brown, any objections by the United States?

     22               MR. BROWN:   No, Your Honor.

     23               THE COURT:   All right.    There being no objections to

     24   the factual statements and the guideline calculations set forth

     25   in the presentence report, the Court accepts those as its
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      1   findings and determines that the guidelines applicable to

      2   Mr. Yotka are as follows:      Total offense level is 43.      It's

      3   actually calculated higher than 43, but because that's the

      4   maximum, it's offense level 43.        Criminal History Category is

      5   I, which yields a guideline term of imprisonment of basically

      6   the statutory maximum of 720 months, with a term of supervised

      7   release of at least five years and up to life, restitution to

      8   be determined, fines ranging from $50,000 to $250,000, two

      9   special assessments of $100 each, a potential special

     10   assessment under the JVTA of $5,000, and then under the AVAA of

     11   $50,000.

     12                Mr. Grant, is that consistent with your

     13   understanding, sir?

     14                MR. GRANT:   Yes, Your Honor.

     15                THE COURT:   And yours, Mr. Brown?

     16                MR. BROWN:   Yes, Your Honor.

     17                THE COURT:   All right.    Then at this time I'll hear

     18   from Mr. Brown with his recommendation.

     19                And then, Mr. Grant, I'll hear from you on behalf of

     20   Mr. Yotka.

     21                And Mr. Yotka, I'll give you an opportunity to speak

     22   if you want to speak.     You don't have to, but it is certainly

     23   your right to do so, okay?

     24                THE DEFENDANT:   Yes, ma'am.

     25                THE COURT:   Mr. Brown.
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      1                MR. BROWN:   May it please the Court.     Your Honor is

      2   advised by a very thorough presentence investigative report in

      3   this case.

      4                As the Court correctly knows, the defendant pled

      5   guilty to two counts of production of child pornography.              I'm

      6   just going to highlight some of the facts and talk about some

      7   of the factors that the Court -- we suggest that the Court

      8   consider, and then, of course, specifically some of the factors

      9   under Section 3553(a) which the Court, of course, is obligated

     10   to consider.

     11                The Court is aware that this began as an undercover

     12   investigation, and it really unfolded very quickly.          And one of

     13   the reasons why it unfolded quickly was because the FBI came to

     14   understand that real children were involved and that they were

     15   potentially in a situation where they were being on- -- in an

     16   ongoing state of molestation; that is, by the defendant.

     17                So this undercover operation began on September 15th,

     18   2021.   And essentially an undercover officer up in Washington

     19   engaged in online conversation, messaging, on a public -- or a

     20   social messaging app called Kik and made contact with

     21   "Scottnjax44," who was the defendant.        It turns out that

     22   Mr. Yotka was the administrator of this particular chat room.

     23                And after the initial entrée by the undercover to the

     24   chat room, Mr. Yotka responded, quote -- with a message that

     25   said, quote, "All you new people that came in and have not
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      1   verified, please do so now."

      2               This is a verification process with regard to certain

      3   chat rooms in certain applications.        And the administrator

      4   there, that is, the defendant, was simply suggesting that they

      5   comply with the rules, which may have been providing a

      6   photograph or other types of minimum requirements.

      7               The conversation then went right to it.        Mr. Yotka

      8   responded to the undercover, or began talking with the

      9   undercover, and said, quote, "You acted with anyone?"

     10               This information is set forth in -- it's not set

     11   forth in detail in the presentence investigation, but it is in

     12   the Criminal Complaint that was filed in this case as docket

     13   number 1.

     14               Mr. Yotka indicated that the children that he had

     15   access to were 6G, 4B, and 1B; that is, a six-year-old girl, a

     16   four-year-old boy, and a one-year-old boy.

     17               He, upon questioning by the undercover which children

     18   he was active with, indicated that he was active with the boys

     19   "cuz," quote, "girl won't play."

     20               And he goes on to say subsequently that this

     21   particular girl -- who is a real -- was at the time six years

     22   old and was a real person and was in the residence -- indicated

     23   that -- in the chats to the undercover Mr. Yotka indicated,

     24   quote, that he "wanted that with the girl" -- talking about

     25   sexually explicit conduct -- "but, like I said, she won't play
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      1   nicely," essentially meaning that she is not interested or

      2   rejects those type of advances.

      3               Mr. Yotka and the undercover go on to continue to

      4   discuss sexual conduct that they both had performed involving

      5   children.    Of course, the undercover's conduct is all imaginary

      6   and fake.

      7               Mr. Yotka responded, talking about how he engaged in

      8   sexually explicit conduct with the four-year-old and the

      9   one-year-old, and he noted, quote, "They squirm, LOL."

     10               Quote, "And they look" -- "and have that look like,

     11   let's just get this over with," closed quote, during the time

     12   that he was engaging in sexual activity with them.

     13               He also noted that, quote, "Little one is starting to

     14   bite, so gotta be careful with him."

     15               When asked what he was trying to do, Mr. Yotka

     16   responded, quote, "Eventually, everything."

     17               And then there's that line, "Love to f-u-c-k their

     18   little holes," et cetera, which is set forth in the PSR that

     19   follows.

     20               The undercover asked if his wife knew and Mr. Yotka

     21   responded, "Nope.     Have to go around her," closed quote.

     22               And in this case the two -- the charged images were

     23   produced by Mr. Yotka on September 3rd, which FBI verified that

     24   the mother of the victim children worked that day, had a job

     25   and worked that day.     Or was at work that day, I should say.
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      1               There was additional conversation where Mr. Yotka

      2   indicated, "Swap boys?"      Meaning perhaps they could each engage

      3   in each other's -- in sexual activity with each other's

      4   children.

      5               And then unsolicited there were a series of images

      6   and a video that were provided to the undercover and -- after

      7   discussion about some of the specifics of that, because the

      8   undercover said, quote, "How do I know you're a good dad too,"

      9   closed quote.

     10               And then Mr. Yotka sent a number of images which are

     11   described in the presentence investigative report.          They

     12   involve the lascivious exhibition of genitalia and anal

     13   penetration of the children and also oral-to-genital

     14   intercourse with him; that is, Mr. Yotka.

     15               So this case involves a person who's an administrator

     16   of a Kik chat room that specifically is tailored to taboo

     17   conduct with children.      The case involves anal penetration of

     18   two very young children.      The case involves the distribution of

     19   images and videos as well, and arguably unsolicited

     20   distribution.

     21               The presentence investigative report also talks about

     22   the preliminary conduct, that is, the offense conduct in this

     23   case, and I've already mentioned that.        It also speaks to the

     24   specific statements that Mr. Yotka made when he was contacted

     25   when the FBI executed a search warrant at his residence on
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      1   September 17th.

      2               And just so the Court understands how this unfolded,

      3   on September 15 these conversations happen with the undercover.

      4   The FBI makes contacts, they do some geolocation, and they find

      5   out that this IP address -- the IP addresses that were used by

      6   "Scottnjax44" resolve to Jacksonville, to two locations:           one,

      7   the residence of the defendant; and two, the Ed Ball Building,

      8   which is right across the street, because at the time Mr. Yotka

      9   worked as an emergency dispatcher for JSO, as a public

     10   emergency operator, if you will.        And so what that means is

     11   that he was engaging in Kik conversations from the Ed Ball

     12   Building while he was either on the way to work, on the way

     13   home from work, or at work.

     14               JSO cooperated with the investigation.        And the FBI

     15   moved quickly to obtain a search warrant, going to the home of

     16   the magistrate judge in the evening of September 16th, 2021,

     17   during a -- as I recall, a rain storm.

     18               They learned, with coordination with JSO, that the

     19   defendant was working the night shift, and so that gave -- at

     20   least the FBI knew at that time that the children were not at

     21   risk and they had time to get a search warrant and not use

     22   other exigency type of techniques.        And they were able to

     23   execute the search warrant as he rolled up, having gotten off

     24   of his shift in the early morning hours of September 17th.

     25               The presentence investigative report lays out in
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      1   substantial detail some of the statements that he made.           I

      2   wanted to point out just a few of them.

      3               He admitted, eventually, sending pornographic

      4   pictures of the children that he had access to.          He admitted

      5   inserting a foreign object and described how he did that.              He

      6   admitted that he ejaculated on at least one of the children.

      7               He indicated that he did this and took these pictures

      8   because he was, quote, "trying to fit in," closed quote, with

      9   other members of the group.

     10               He was shown several of the images and video, and he

     11   acknowledged that he took them a couple weeks ago.          And as I've

     12   already indicated, metadata that was imbedded on the images and

     13   the video indicated they were produced during a relatively

     14   short time period on September 3rd.

     15               He indicated that he did not send the images and

     16   video to other members of the group, meaning other members

     17   other than the undercover that he was talking to.          And he said

     18   in paragraph 17 on page six of the PSR, quote, "This is a

     19   one-time incident."

     20               We learned that that was not true, because on

     21   August 24th of 2021 there were images that were uploaded to the

     22   Kik app by Mr. Yotka's IP address and sent to NCMEC, and the

     23   FBI was alerted to those subsequently as well.          Those

     24   happened -- that upload on August 24th happened approximately

     25   ten -- ten days or so before the production on September 3rd.
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      1   They depicted the same children in similar type images.           And so

      2   it was not actually a one-time incident.

      3               He indicated that he does not store child pornography

      4   on his cellular phone and probably, quote, "already deleted the

      5   images" he took of the two minors.        And these were minors that

      6   lived in the residence with him that he had not only access to,

      7   but sometimes custody and control over, obviously.

      8               He -- and that seems to be true, that there was not

      9   child pornography, or at least large amounts of child

     10   pornography, stored on the phone.        There were the images that

     11   were produced by him that were charged, and that was largely

     12   it.

     13               There were -- in the cyber tip that I mentioned on

     14   August 24th, there were another couple of images of other

     15   minors, but not on his phone.

     16               He indicated that he knew that what he did was

     17   harmful to the children.      And, of course, we all know, common

     18   sense tells us, that that was true.        Those children suffered

     19   during these -- the incidents wherein they were forced to

     20   engage in oral sex with the minor and pene- -- or, excuse me,

     21   with the defendant and penetrated by the defendant.

     22               We even know that through his own statements that he

     23   made wherein he talked about them squirming and looking like

     24   they -- hey, let's just get this over with.

     25               He also, by his own admission, attempted to molest
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      1   the third child, the six-year-old child, that was in the

      2   residence as well.     But we have no information that that ever

      3   happened.    And he -- so there's no reason to doubt that she had

      4   rejected his advances.

      5               So here's an emergency dispatcher who is charged with

      6   responding to emergencies who actually created one for the FBI,

      7   and with potentially devastating results for the children.

      8               So the good news is, is that the FBI was able to

      9   rescue the two actual victims and the other children and to

     10   remove the defendant from being able to get his hands on any of

     11   them again anytime soon.

     12               The defendant's 48 years old.       I would suggest to the

     13   Court that -- well, I would assert to the Court that he has a

     14   deep-seated sexual interest in children, as proven by the

     15   conduct which I've just gone through.        He's not going to

     16   change.    And the guidelines recommend a 60-month -- 60-year

     17   sentence in this case, and that's the sentence that we

     18   recommend to the Court as well.

     19               The -- this Court has some experience in similar

     20   types of cases in this courthouse and similar types of

     21   potential sentences.      And I'll just mention a few of them.

     22   This Court, of course, tried the case of Columbus -- excuse me,

     23   Colin Moran.     I can't read my own writing.

     24               THE COURT:    Colum Patrick Moran.

     25               MR. BROWN:    That's correct, Your Honor.      About a year
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      1   and a half ago.     Mr. Grant was his lawyer.      In that case, the

      2   Court sentenced the defendant to a below-guideline sentence.

      3   It ended up being 64 years, a significance sentence.

      4               Mr. Moran's case is a little different -- well, it's

      5   a lot different in ways, but the sentence is similar.           Of

      6   course, we -- the United States never was able to prove -- and

      7   there was no evidence that Mr. Moran actually was hands-on with

      8   children, but he also had a cache of child pornography that was

      9   significant, which makes it different than this case.

     10               There was the case of United States vs. Columbus

     11   Jeffrey, which I think Mr. Grant was also the defense lawyer as

     12   well.   That was before Judge Corrigan.        There was a plea to two

     13   counts of child pornography in that case involving an actual

     14   11-year-old boy.     And in that case the defendant was sentenced

     15   to the statutory maximum, which in that case was the

     16   recommended guideline sentence, similar to this one, of

     17   60 years.    A difference in that case was that the defendant

     18   also had a cache of child pornography other than the produced

     19   images.    But in that case the defendant also distributed the

     20   image or images of the child that was molested in that case.

     21               And then lastly, Andrew Leslie, who pled guilty to

     22   two counts of production of child pornography involving a

     23   two-year-old and I think a six-month-old.         He received a

     24   statutory maximum of 60 years after a guilty plea to two

     25   counts.    The guidelines recommended that as well.        The conduct
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      1   is similar.    The difference is that Mr. Leslie was an

      2   administrator of a child pornography server and was engaged in

      3   activities with people through the internet, other pedophiles

      4   through the internet, and there's no evidence of that level of

      5   sophistication in this case.

      6               So the United States recommends a 60-year sentence in

      7   this case to -- and it would not be -- it would be sufficient

      8   to protect the public from this type of behavior.          It would

      9   essentially incapacitate the defendant and not allow him to be

     10   around children again.

     11               We'd also ask for a term of supervised release of

     12   life.   Even if the defendant gets a 60-year sentence, as the

     13   Court knows, he won't serve all of that.         He'll serve

     14   86 percent at best.      And we don't know what the future will

     15   hold.   We don't know if there's the possibility of commutation

     16   somewhere down the line.      We don't know if there's the

     17   possibility of other types of release, early release, based on

     18   various statutes.     And so that would ensure ongoing supervision

     19   for a person who has a very deep-seated sexual interest in

     20   children that he is willing to act on.

     21               There is no restitution in this case, Your Honor.

     22   The victim's mother has been not only interviewed by the FBI,

     23   I've spoken with her, our victim/witness specialist who is in

     24   the court has spoken with her as well.

     25               As the Court may remember, she was here three weeks
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      1   ago when we were -- when we were set for sentencing.           She was

      2   made aware of the new sentencing date by our victim/witness

      3   specialist, Ms. Daniels.

      4               Ms. Daniels emailed me late last night and indicated

      5   that she finally heard back from -- because we wanted to

      6   confirm with her that she was going to be able to come and

      7   assist her in making whatever presentation, or no presentation

      8   at all if she wished, to the Court, but at least have the

      9   opportunity to be heard.      And she declined and she said that

     10   she had to work today, and so she is not -- she is not here.

     11               THE COURT:    And she's not interested in any sort of

     12   counseling for the children?

     13               MR. BROWN:    That's right, Your Honor.      We made

     14   available to her -- you know, asked her if there was any type

     15   of restitution, if there was any type of harm that she could

     16   seek compensation for, and she declined any of that.           Or all of

     17   that, I should say.      And I will say that there's no evidence

     18   that the children have received any of that type care;

     19   professional care, I should say.

     20               One last point, Your Honor -- or, actually, two last

     21   points, and largely housekeeping.

     22               Of course, the Court entered a preliminary order of

     23   forfeiture in that case.      We would ask that the Court enter a

     24   final order of forfeiture with regard to the OnePlus phone.            I

     25   think that was docket 42.       And so we'll ask that the Court
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      1   orally pronounce that and also put that in the judgment.

      2               And then I would be happy to move now to dismiss

      3   Count Three.

      4               THE COURT:    I didn't -- hold on.

      5               Mr. Brown, in document number 43 you gave notice that

      6   you would not seek to complete the criminal forfeiture of this

      7   cellular phone.

      8               MR. BROWN:    And that's because of an administrative

      9   forfeiture?

     10               THE COURT:    Yes.

     11               MR. BROWN:    I apologize, Your Honor.      It's been a

     12   while since I looked at that.       I grabbed the preliminary order

     13   of forfeiture, so I'll --

     14               THE COURT:    I just knew I didn't have a final order

     15   of forfeiture in the file, so that's why I was confused.

     16               MR. BROWN:    And again, I apologize, Your Honor.          Lots

     17   of different cases downstairs.

     18               THE COURT:    Understood.

     19               MR. BROWN:    Thank you.

     20               THE COURT:    All right.    Let me hear from Mr. Grant.

     21               MR. GRANT:    Good morning, Your Honor.

     22               THE COURT:    Good morning, Mr. Grant.

     23               MR. GRANT:    Your Honor, without saying, this is a

     24   very difficult case for the Court and also for Mr. Yotka.

     25               As Mr. Brown indicated, when Mr. Yotka was
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      1   interviewed by the FBI shortly after his encounter, he

      2   acknowledged and admitted virtually all of the conduct which

      3   has given rise to the charges for which he is facing today.

      4               Prior to August of last year, July, June, Mr. Yotka

      5   lived what would probably be described as an ordinary life.

      6   And that is to say that he was born in 1974.         At the age of

      7   four he was adopted.      He was raised by his adoptive parents.

      8   He graduated from high school on time, in 1992.          He went to

      9   work, just like most kids coming out of high school.

     10               1997 he got married.     And then after getting married,

     11   in order to support his family that was coming, he enlisted in

     12   the Army.    And that was in March of 19- -- of 1997.

     13               Unfortunately for him, he had physical incapacitation

     14   which caused his discharge from the military.          I believe it was

     15   in October of 1997.

     16               So up until that time he was just like any other

     17   child or young adult who is trying to establish a life for

     18   himself, oftentimes going into the military, hoping to be able

     19   to have a career in the military and be able to come out and

     20   support your family.      That didn't happen for him.

     21               So he comes out of the military, he comes back home,

     22   he eventually starts working for his parents.          His parents, his

     23   father, owned -- it was a family-owned HVAC company.           He ended

     24   up getting his certification and he worked for them for about

     25   16 years.
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      1                During that time his family life fell apart.        He and

      2   his wife divorced.

      3                I had stated earlier that Mr. Yotka did not have any

      4   substantiated objections to the presentence investigation

      5   report.    And what I meant by that, and I'll clarify, is that in

      6   the presentence investigation report his wife makes the claim

      7   that he forced her to have sex with other couples.          Mr. Yotka

      8   vehemently denies that.      He says it was consensual.       And, in

      9   fact, he said that his wife left him for one of the individuals

     10   that they were engaged in sex with who was living with them at

     11   the time.

     12                We were not able to locate that individual to

     13   substantiate Mr. Yotka's position, but that is what Mr. Yotka

     14   has told us, that his wife left him for an individual who was

     15   living with them who they were engaged in sexual activities

     16   with.

     17                Additionally, Mr. Yotka raised his oldest sons.           Now,

     18   one of his sons claims that Mr. Yotka abused them.          Mr. Yotka

     19   has indicated that he didn't -- he did not abuse his son.

     20                We wanted to clarify to make sure that the abuse

     21   wasn't sexual.     We contacted the son.     The son said that it was

     22   not sexual, but he did describe what he said was abuse.

     23                Mr. Yotka has indicated to us, and we don't have

     24   reason to believe otherwise, that it was just general

     25   parenting.    But nevertheless, as the Court may know, I mean,
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      1   what a parent might think is normal can be seen as being

      2   abusive.

      3               But in any event, from Mr. Yotka's perspective, he

      4   raised his sons the best he could.        And therefore, that's one

      5   of the other factors that we are talking about when we say we

      6   cannot substantiate his objection.        But nevertheless, that is

      7   what he's saying.

      8               Mr. Yotka worked for his parents for a period of

      9   about 16 years.     During that time, as he indicates, their

     10   relationship deteriorated.       And I think that had a lot to do

     11   with the fact that Mr. Yotka did not believe that he was being

     12   appreciated by his parents for his dedication and work, staying

     13   in the family business and trying to make it work.

     14               His parents eventually closed the business or sold it

     15   or just dissolved it.      In any event, Mr. Yotka then had to go

     16   and seek other employment.       And as the presentence

     17   investigation reports, he did.       He went from employment to

     18   employment to employment.       Again, all the purpose being to

     19   provide the funds necessary to provide for his kids, because he

     20   did eventually have two other children from another individual.

     21   And Mr. Yotka was trying his best to support his family.

     22               He found himself most recently working at the

     23   Jacksonville Sheriff's Office, as the government has indicated

     24   and as the report does reflect.

     25               Again, up until that time Mr. Yotka has just been
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      1   doing what a normal individual would be doing in their life.

      2   Mr. Yotka, prior to this incident, had never been arrested for

      3   anything.    No traffic ticket, nothing.       Just an individual,

      4   again, who's going about daily life just doing the best that he

      5   can.

      6               At some point in time he became involved in the

      7   viewing of child pornography, and then that led to where we are

      8   today.

      9               I would suggest to the Court that -- and as Mr. Brown

     10   was going through the number of individuals that this Court --

     11   or that have been sentenced in this courthouse, referring to

     12   two of the cases which I had, it's kind of difficult for me to

     13   make comments about that.       But the only one I will comment

     14   about is Colum Patrick Moran, which is currently on appeal and

     15   is still -- an opinion has not been rendered by the Eleventh

     16   Circuit, so I will point that out.

     17               But I would suggest in this particular case that a

     18   term of 40 years, that is, 20 years on each count consecutive,

     19   is more than appropriate.

     20               And I understand, you know, the actual conduct that

     21   was engaged, both the physical contact and also the

     22   distribution of the images.       But I just want to emphasize the

     23   fact that Mr. Yotka, up until most recently -- there is no

     24   indication that Mr. Yotka engaged in any type of conduct of

     25   this nature prior to 2021.       And yes, it is fortunate that he
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      1   was apprehended, and he is now facing the consequences of it.

      2   But again, as I indicated, when he first came into contact with

      3   the FBI, he acknowledged all of his conduct as it related to

      4   his engagement with these children.

      5               And so I would suggest, again, like I said, a term of

      6   20 years consecutive on each count would be appropriate.

      7               Thank you.

      8               THE COURT:    Thank you, Mr. Grant.

      9               Mr. Yotka, as I said, you don't have to speak but it

     10   is your right to do so.      Is there anything that you would like

     11   to say at this time, sir?

     12               THE DEFENDANT:    I would just like to say that, you

     13   know, this has been the worst thing that I've ever gone

     14   through.    And, you know, the fact that from here on out I don't

     15   get to see my kids graduate high school or get their driver's

     16   license, go to college, get married, have their family, that's

     17   probably more painful than anything I've ever experienced in my

     18   life.   And to honestly say that, you know, this just isn't

     19   worth anything that should be done.        And I just -- you know, I

     20   put myself at your mercy.       And that's it.

     21               THE COURT:    All right, sir.    Thank you.

     22        (Pause in proceedings.)

     23               THE COURT:    Mr. Grant, is there any bar to

     24   sentencing?

     25               MR. GRANT:    No, Your Honor.
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      1                THE COURT:   Mr. Brown?

      2                MR. BROWN:   No, Your Honor.

      3                THE COURT:   And the Court -- consistent with

      4   Mr. Brown's representation, the Court simply makes note on the

      5   record that there is no victim in the courtroom.

      6                Mr. Yotka is before the Court having pled guilty to

      7   two counts of production of child pornography.          His sentencing

      8   guidelines would be life but for the statutory maximum.           His

      9   guideline sentence is 60 years, which is the statutory maximum

     10   for each count.

     11                And so the Court, of course, begins by considering

     12   the guidelines and then turns to the 3553 factors and looks at

     13   the nature and circumstances of the offense and the history and

     14   characteristics of the defendant and is charged with imposing a

     15   sentence that is sufficient, but not greater than necessary, to

     16   accomplish the statutory purposes of sentencing, which include

     17   the need for the sentence to reflect the seriousness of the

     18   offense; to promote respect for the law; to provide just

     19   punishment; to afford adequate deterrence not just for

     20   Mr. Yotka, but for those that might have similar interests; to

     21   protect the public from further crimes of the defendant; and,

     22   of course, always seeking to avoid any unwarranted sentencing

     23   disparity.

     24                The nature and circumstances of the offense are

     25   horrible.    The Court sees many individuals charged with
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      1   possessing child pornography, charged with distributing child

      2   pornography, but not so many of those that actually create the

      3   child pornography.

      4               Mr. Yotka actually created the child pornography.

      5   And more than just creating this contraband imagery, Mr. Yotka

      6   physically abused these two young children in the most horrible

      7   way.   And he physically abused these two young children that

      8   were in his care.

      9               And not only was he willing to harm and destroy these

     10   children, but he was willing to offer to share them with other

     11   people so that they, too, could abuse these two young children.

     12               And, of course, he was willing to share the imagery

     13   that he created without any regard for the harm of the children

     14   not only for his own abuse of them, but sharing it on the

     15   internet, where, as we all know, it will never go away.           The --

     16   so the offense conduct is horrible.        It's extraordinarily

     17   serious.

     18               And, indeed, the guidelines -- at level 43, the

     19   guidelines are life.      Mr. Yotka's guidelines would actually be

     20   level 48, but the sentencing table doesn't go that high.

     21               And so the nature and the circumstances of the

     22   offense -- simply -- simply creating the child pornography

     23   would be bad enough, but the circumstances under which

     24   Mr. Yotka engaged in that conduct with the children in his

     25   care, and with the willingness to hand them off to another
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      1   person, just emphasizes his lack of any regard for the

      2   well-being of those children.

      3               And then when one looks at Mr. Yotka's history and

      4   characteristics, his personal history, that's where one would

      5   seek to find mitigation, seek to find some reason to understand

      6   why Mr. Yotka would behave in this fashion.         And I struggle to

      7   identify any mitigating factor in Mr. Yotka's background.

      8               True, he has no criminal history, but the guidelines

      9   take that into account because he has a Criminal History

     10   Category of I.     There's nothing -- unlike many of the

     11   individuals that the Court sees, there's nothing that can

     12   explain why he would act in a manner that I have to describe as

     13   depraved and be willing to victimize these two young boys, and

     14   apparently desired to victimize the young girl.          That's part of

     15   his history and characteristics.

     16               The other parts of his history and characteristics,

     17   in addition to not reflecting any significant mitigation, there

     18   are aggravating factors.      Mr. Yotka's decision to administer a

     19   chat room for individuals interested in incest fetishes and

     20   little-kid things suggests a very deep-seated sexual deviance.

     21   And by running a chat room like that, he's simply encouraging

     22   others.    That is of concern.

     23               And also I found it troubling that Mr. Yotka's

     24   comments -- in his comments he expressed no remorse for the

     25   children or the harm he inflicted on the children, only regret
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      1   for the impact of his actions on his own life.

      2               So in my view, the guideline sentence is the

      3   necessary sentence, and I simply struggle to find any reason to

      4   vary downward.     And in particular given -- given the reality

      5   that, as I said, the guidelines would be -- would be much

      6   higher but for the statutory maximum.        And they would be that

      7   much higher because of Mr. Yotka's decisions and the gravity of

      8   his offense conduct.

      9               And so for all of those reasons it's the Court's

     10   intention at this time to impose a guideline sentence because

     11   that sentence is absolutely necessary to reflect the

     12   seriousness of the offense, to promote respect for the law.

     13   It's absolutely necessary to accomplish just punishment.           It's

     14   necessary -- critical, I would say, for deterrence not just in

     15   Mr. Yotka, but to anyone else that would sacrifice the

     16   well-being of a child for their own sexual gratification.              And

     17   in my view, it's also necessary to protect the public from

     18   future acts of Mr. Yotka.       So for those reasons, I intend to

     19   impose a guideline sentence at this time.

     20               And I'll ask Mr. Grant and Mr. Yotka to come up to

     21   the podium.

     22               The Court has asked why judgment should not be

     23   pronounced and has been given no cause.         I've heard from

     24   counsel, I have reviewed the presentence report, and I have

     25   heard from Mr. Yotka.      Pursuant to Title 18, United States
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      1   Code, Sections 3551 and 3553, it is the judgment of the Court

      2   that the defendant, Scott Matthew Yotka, is hereby committed to

      3   the custody of the Bureau of Prisons to be imprisoned for a

      4   term of 720 months.      That term of imprisonment consists of a

      5   360-month term as to Count One and a 360-month as to Count Two,

      6   with each such term of imprisonment to run consecutively.

      7               Upon release from imprisonment Mr. Yotka will be

      8   required to serve a term of supervised release of life.           That's

      9   life as to each Count One and Count Two, to run concurrently.

     10               While on supervised release Mr. Yotka will be

     11   required to comply with the standard conditions of release

     12   adopted in the Middle District of Florida as well as special

     13   conditions.

     14               Mr. Yotka will be required to participate in a mental

     15   health treatment program specializing in sex offender treatment

     16   and he'll have to submit to polygraph testing.

     17               He's required to register as -- register with the

     18   state sex offender registration agency in any state where he

     19   resides, that he visits, where he's employed, or where he

     20   carries on a vocation or is a student.         The probation officer

     21   will provide state officials with all information required

     22   under state and federal sex offender registration laws.           And

     23   Mr. Yotka will be required to report to those agencies and

     24   engage in any -- participate in any processing they require.

     25               Mr. Yotka is prohibited from having direct contact
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      1   with minors without the written approval of the probation

      2   officer and is ordered not to enter into any area where

      3   children frequently congregate, including schools, daycare

      4   centers, theme parks, playgrounds, et cetera.          He's prohibited

      5   from possessing, subscribing to, or viewing images, videos,

      6   magazines, literature, or other materials depicting children in

      7   the nude or in sexually explicit condition.

      8               Without the prior approval of the probation office,

      9   Mr. Yotka is prohibited from possessing or using a computer,

     10   including a phone or other computer device that is capable of

     11   connecting to an online service or an internet service

     12   provider.    That prohibition includes a computer at a public

     13   library, internet cafe, place of employment, or educational

     14   facility.

     15               Mr. Yotka is also prohibited from possessing

     16   electronic data storage media, including flash drives, compact

     17   disks, floppy disks, or using any data encryption technique or

     18   program.

     19               If Mr. Yotka is permitted to possess any of those

     20   devices by the probation office, he must permit routine

     21   inspection of the devices by the probation office.          And the

     22   probation office must conduct the inspection in a manner no

     23   more intrusive than necessary to ensure compliance.

     24               And if the condition impacts another individual with

     25   whom Mr. Yotka shares the device, Mr. Yotka must advise them of
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      1   this search party -- of the third -- of the search restriction.

      2   And a refusal to permit the search would be a violation of the

      3   terms of Mr. Yotka's supervise release.

      4               Mr. Yotka is prohibited from having any contact,

      5   directly or indirectly, with the minors who are the victims in

      6   Counts One and Two of the indictment.

      7               He is required to submit to a search of his person,

      8   his residence, his place of business, any storage unit,

      9   computer, or vehicle in his possession by the probation office

     10   at a reasonable time and in a reason manner based upon

     11   reasonable suspicion that there is contraband or evidence of a

     12   violation of Mr. Yotka's supervised release.

     13               Mr. Yotka is -- will be required to provide the

     14   probation office with access to any financial information

     15   requested as a means of monitoring his compliance with his

     16   conditions of release.

     17               Having been convicted of a qualifying felony offense,

     18   Mr. Yotka is required to participate in the collection of DNA.

     19               The Court waives the mandatory drug testing

     20   requirements of the Violent Crime Control Act.

     21               And Mr. Brown, as I understand it, you're not asking

     22   me to defer restitution.      You're satisfied that that's simply

     23   not something that's going to be sought in this case; is that

     24   correct?

     25               MR. BROWN:    Let me just confer, if I may.
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      1         (Pause in proceedings.)

      2               MR. BROWN:    I conferred with our victim/witness

      3   coordinator, Your Honor, Ms. Daniels.

      4               And as I said before, she has been advised of the

      5   opportunity for restitution.       She has not elected to take

      6   advantage of that.

      7               I would ask the Court to consider deferring for

      8   60 days.    We'll make one more contact with her.        But I'll

      9   notify the Court within -- as soon as we can get in touch with

     10   her whether or not -- I'll file a notice that says she -- that

     11   confirm she's not seeking restitution if that's, indeed, the

     12   case.

     13               THE COURT:    All right.    Mr. Grant, it would be the

     14   Court's intention to allow that, just in an abundance of

     15   caution, given the obligation of the Court to order restitution

     16   if it is sought.     Any objection to me doing so?

     17               MR. GRANT:    Inasmuch as the Court is required by

     18   statute to do so, I do not object.

     19               I was going to object to the condition regarding

     20   finances, but now I'm going to hold back on that until the

     21   restitution issue is dealt with.

     22               THE COURT:    Okay.

     23               MR. GRANT:    Because other than that, I don't see a

     24   reason -- a basis by which the Court can use to restrict his

     25   finances.
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      1               THE COURT:    Well, I didn't impose a restriction on

      2   it, I just imposed the requirement that he supply financial

      3   information.     So I didn't -- I didn't restrict him from

      4   incurring credit charges or anything because I didn't --

      5   because I didn't think I was ordering restitution, but I -- but

      6   reviewing financial information is a mechanism that allows the

      7   probation office to assure that they aren't engaging -- that

      8   they aren't violating the online -- the other online

      9   restrictions, and so that's why I imposed the one.

     10               MR. GRANT:    I never heard it that way.      I'm going to

     11   hold back still and I'll address it later.

     12               THE COURT:    Okay.   So I am going to -- given

     13   Mr. Brown's -- or given what we've just discussed I am going to

     14   impose the restriction prohibiting him from incurring new

     15   credit charges, opening lines of credit, obligating himself for

     16   any major purpose without the approval of the probation

     17   officer.

     18               However, if it turns out that there is no restitution

     19   ordered, Mr. Brown, at that point can I simply amend the

     20   judgment by removing that restriction in light of the absence

     21   of restitution?

     22               MR. BROWN:    I would have no objection to that, Your

     23   Honor.

     24               THE COURT:    All right.    So -- and then, Mr. Grant, we

     25   can talk about the other one at that time.
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      1                MR. GRANT:   Yes, Your Honor.

      2                THE COURT:   All right.

      3                All right.   So I'm going to set a deadline of

      4   February 18th -- is that a weekend?

      5                COURTROOM DEPUTY:    It's a Saturday, Your Honor.

      6                THE COURT:   All right.    February 21st.    February 21st

      7   for a notice regarding restitution.        If restitution is sought,

      8   Mr. Brown, I'll ask you to confer with Mr. Grant and see if

      9   there's an agreement; and if not, we'll set a hearing.

     10                MR. BROWN:   Yes, Your Honor.

     11                THE COURT:   The Court waives the imposition of a

     12   fine.

     13                Mr. Brown previously advised that there was no need

     14   for forfeiture.

     15                There are $200 in special assessments which are

     16   mandatory.

     17                The special -- the JVTA and the AVAA assessments are

     18   waived in light of Mr. Yotka's financial circumstances.

     19                I have already explained the reasons for my sentence

     20   and I won't repeat those reasons now.

     21                The Court accepts Mr. Yotka's plea agreement because

     22   it adequately reflects his offense conduct and its acceptance

     23   does not undermine the statutory purposes of sentencing.

     24                Mr. Brown has already moved to dismiss Count Three.

     25   So Mr. Grant, is it appropriate for the Court to dismiss Count
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      1   Three pursuant to the plea agreement at this time?

      2               MR. GRANT:    Yes, Your Honor.

      3               THE COURT:    Count Three is dismissed.

      4               Does Mr. Yotka have any requests with regard to

      5   designation?

      6               MR. GRANT:    He does, Your Honor.     We would ask the

      7   Court to recommend FCI Englewood.        It's in Littleton, Colorado.

      8               THE COURT:    I'm told that I have better luck if you

      9   tell me why.

     10               MR. GRANT:    It is a -- it has a sex offender program

     11   there at that facility, and that's the reason why.

     12               And secondarily, we would ask the Court -- I don't

     13   know if you did include, while he's incarcerated, education and

     14   vocation.    I don't know if you did.      I tried to listen, but --

     15               THE COURT:    I haven't.    So the Court recommends

     16   designation to the facility in Littleton, Colorado.           Englewood?

     17               MR. GRANT:    It's FCI Englewood.

     18               THE COURT:    Okay.   The Court recommends designation

     19   to FCI Englewood given the availability of sex offender

     20   treatment at that location and the Court's firm observation

     21   that Mr. Yotka is in need of such treatment.

     22               The Court also recommends that he be permitted to

     23   participate in any educational and vocational treatment

     24   available at the facility of designation.

     25               And Mr. Yotka will be remanded to the custody of the
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      1   marshal to await such designation.

      2               Mr. Yotka, your plea agreement somewhat limits your

      3   appeal rights.     For purposes of this hearing what I need to do

      4   is make sure you understand the process for appeal.

      5               If you wish to pursue an appeal you have to file a

      6   Notice of Appeal within 14 days.        The government also has the

      7   right to appeal.     You are entitled to be represented by an

      8   attorney in any appeal that's taken.        And if you can't afford

      9   one, of course, the Court will appoint one to represent you at

     10   no cost to you.     And if you wish to pursue an appeal but you

     11   can't afford the filing fee, the Court will accept your notice

     12   without prepayment.

     13               Do you understand all these things, sir?

     14               THE DEFENDANT:    Yes, ma'am.

     15               THE COURT:    Do you have any questions about anything

     16   we've done here today?

     17               THE DEFENDANT:    No, ma'am.

     18               THE COURT:    Mr. Grant, any objection to the sentence

     19   or the manner in which it was imposed?

     20               MR. GRANT:    Your Honor, as the Court is aware, I'm

     21   reserving as it relates to those two matters.          But other than

     22   that, I do not.

     23               THE COURT:    Okay.   Mr. Brown, any objection to the

     24   sentence or the manner in which it was imposed?

     25               MR. BROWN:    No, Your Honor.
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      1               THE COURT:    All right.    Mr. Yotka, I won't see you

      2   again, sir.    Good luck to you.

      3               COURT SECURITY OFFICER:      All rise.

      4       (Proceedings concluded at 10:56 a.m.)

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      1                  CERTIFICATE OF OFFICIAL COURT REPORTER

      2

      3   UNITED STATES DISTRICT COURT)

      4   MIDDLE DISTRICT OF FLORIDA )

      5

      6           I hereby certify that the foregoing transcript is a true

      7   and correct computer-aided transcription of my stenotype notes

      8   taken at the time and place indicated herein.

      9

     10           DATED this 20th day of January 2023.

     11

     12                           /s/ Katharine M. Healey
                                  Katharine M. Healey, RMR, CRR, FPR-C
     13                           Official Court Reporter

     14

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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION

UNITED STATES OF AMERICA                               Case Number: 3:21-cr-106-MMH-JBT

v.                                                     USM Number: 65398-509

SCOTT MATTHEW YOTKA                                    Maurice C. Grant, II, FPO
 a/k/a "Scot t njax44"                                 200 W. Forsyth Street
                                                       Ste. 1240
                                                       Jacksonville, FL 32202

                               JUDGMENT IN A CRIMINAL CASE

The defendant pleaded guilty to Counts One and Two of the Indictment. The defendan t 1s
a djudicated guilty of these offenses:

     Title & Section                                               Date Offense         Count
                              Nature of Offense
                                                                   Concluded            Number(s)
     18 U.S.C. §§ 2251(a)     Production of Child Pornography       September 2021       One
     and 2251(e)

     18 U.S.C. §§ 225 l (a)   Production of Child P ornogr aphy     Sep tember 2021      Two
     a nd 2251(e)

The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sen tence is
imposed pursuant to th e Sentencing Reform Act of 1984.

Count Three of the Indictment is dismissed on the motion of t he United States and pursu ant to
the Plea Agreemen t.

IT IS ORDERED th a t the defendant must notify the United States attorney for this district
within 30 days of a ny ch an ge of name, r esidence, or mailing a ddress until all fines, restitu tion,
costs and special assessments imposed by this judgment are fully paid. If ordered to pay
r estitution, the defendant must notify the court and United States a t torney of material ch an ges in
economic circumstances.

                                                Date of Imposition of Sentence :
                                                December 21, 2022



                                                MARCIA MORALES HOWARD
                                                UNITED STATES DISTRICT JUDGE

                                                December   L-\ , 2022
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                                        IMPRISONMENT

      The defenda nt is h er eby committed to th e custody of the Feder al Bureau of Prisons to be
imprisoned for a total term of SEVEN HUNDRED TWENTY (720) MONTHS, consisting of
THREE HUNDRED SIXTY (360) MONTHS as to each Count One and Count Two to run
consecutively.

       The Court makes t he following r ecommendations to the Bureau of Prisons:
          • Incarceration at FCI Englewood given the availability of sex offender treatment at
            that location and the Court's firm observation that Defendant is in need of such
            treatment.
          • Defendant enroll in any educational and vocational programs available.


      The defendant is rema nded to t h e custody of the United States Marshal.


                                              RETURN

I h ave executed this judgment as follow s:




Defendant delivered on - - - - - - - - - to - -- - - -- - - -- -- - - - -


at _ __ __ __ _ _ _ _ _ __ __ _ _ _ __ , with a certified copy of this judgment.




                                              UNITED STATES MARSHAL


                                              By: - - -- -- - - - -- -- - - - -
                                              Deputy United States Marshal



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                                   SUPERVISED RELEASE

      Upon release from imprisonment, you will be on supervised r elease for a term of LIFE,
consisting of LIFE as to each Count One and Count Two to run concurrently.


                                 MANDATORY CONDITIONS

1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one
      drug test within 15 days of release from imprisonment and at least two periodic drug tests
      thereafter, as determined by the court.
          • The above drug testing condition is suspended, based on the court's determination
              that you pose a low risk of future substance abuse.
4.    You must cooperate in the collection of DNA as directed by the probation officer.
5.    You must comply with the requirements of the Sex Offender Registration and Notification
      Act (34 U.S.C. § 20901, et seq.) as directed by the probation officer, the Bureau of Prisons,
      or any state sex offender registration agency in the location where you reside , work, are a
      student, or were convicted of a qualifying offense.
6.    If restitution is ordered, you must make it in accordance with 18 U.S.C. §§ 3663 and 3663A
      or any other statute authorizing a sentence of restitution.


You must comply with the standard conditions that have been adopted by this court as well as
with any other conditions on the attached page.




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                         STANDARD CONDITIONS OF SUPERVISION

As part of your s up er vised r elease, you must comply with the following standard conditions of
s upervision. These conditions are imposed because t hey establish the basic expectation s for your
behavior while on s upervision a nd identify the minimum tools needed by probation officers to keep
informed, report to the court abou t, and bring about improvements in your conduct and condition.

1.     You must r eport to th e probation office in the federal judicial district wher e you a r e
       a uthorized to reside within 72 h ours of your release from imprisonment, unless the
       probation officer instructs you to r eport to a different probation office or within a differ ent
       time frame.
2.    Afte r initially reporting to the probation office, you will receive instructions from the court
      or the probation officer about how and when you must report to the probation officer, a nd
      you must r eport to th e probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are a uthorized to reside
      without first getting permission from the court or the probation officer.
4.    You must an swer truthfully th e questions asked by your probation officer
5.    You must live at a place approved by the probation officer. If you plan to cha n ge where you
      live or anything about your living arrangem ents (such as th e people you live with), you must
      notify the probation officer at least 10 days before the ch an ge . If n otifying the probation
      officer in a dvance is not possible due to unanticipated circumst ances, you must notify the
      probation officer within 72 hours of becoming awar e of a ch ange or expected chan ge.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and
      you must permit the probation officer to take any item s prohibited by the condition s of your
      supervision t h at h e or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless
      the probation officer excuses you from doing so. If you do not h ave full-time employment
      you must try to find full-time employm ent, unless the probation officer excuses you from
      doing so. If you plan to change where you work or anything about your work (such as your
      position or your job responsibilities), you must notify th e probation officer at least 10 days
      before the change . If n otifying th e probation officer at least 10 days in advance is n ot possible
      due to una n ticipated circumstances, you must notify the probation officer within 72 hours
      of becoming awar e of a ch a n ge or expected ch ange.
8.    You must not communicat e or interact with someone you know is en gaged in criminal
      activity. If you know som eone has been convicted of a felony, you must not knowingly
      communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer , you must notify the probation
      officer within 72 h ours.
10.   You must not own, possess, or h ave access to a fire arm, ammunition , destructive device, or
      dangerous weapon (i.e., anything that was designed, or was modified for , the specific
      purpose of causing bodily injury or death to a noth er per son s uch as nunchucks or tasers).
11.   You must not act or m ake any agreem ent with a law enforcemen t agency to act as a
      confidential huma n source or informant without first getting th e permission of the cour t.


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12.   If the probation officer determines that you pose a risk to another person (including an
      organization), the probation officer may require you to notify the person about the risk and
      you must comply with t hat instruction. The probation officer may contact the person and
      confirm that you h ave notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of
      superv1s10n.


U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by th e court and has
provided me with a written copy of this judgment containing th ese conditions. For further
information regarding these conditions, see Overview of Probation and Supervised Release
Conditions, available at: www.uscourts.gov.




Defendant's Signature: _ _ _ _ _ _ _ _ _ _ _ __                   Date:
                                                                          -----------




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                  ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

 1.    You shall p ar ticipate in a mental h ealt h progr am specializing in sexual offender treatment
       and submit to polygr aph testing for t reatment and monitoring purposes. You sh all follow
       th e probation officer's instructions regarding t he implemen tation of this court directive.
       Furt her , you sh all cont r ibute to the costs of such treatmen t and/or polygr aphs not to exceed
       a n amount determined r easonable by t he probation officer based on ability to pay or
       availability of thir d p ar ty payment an d in conforman ce with t he Probation Office's Sliding
       Scale for Treatment Services.

2.     You shall register wit h t he state sexu al offender registration agency(s) in any state wh er e
       you reside, visit, ar e employed, carry on a vocation , or ar e a studen t, as directed by th e
       probation officer .

3.     The probation officer sh all provide state officials with all information required under Florida
       sexual predator and sexual offender notification and r eg·istration st atutes (F.S. 943.0435)
       a nd/or the Sex Offen der Registration and Notification Act (Tit le I of t he Adam Walsh Child
       Protection a nd Safety Act of 2006, Public Law 109-248), a nd may direct th e defenda nt to
       r epor t to th ese agencies person ally for required a ddition al processing, such as
       photogr ap hing, fingerprinting, and DNA collection .

4.     You sh all h ave no direct con tact with minor s (under t he age of 18) wit hou t the written
       approval of the pr ob ation officer and sh all r efrain from en tering into any ar ea wher e
       children frequen tly con gr egate including: schools, daycare centers, theme p arks,
       playgr ounds, etc.

5.    You ar e pr ohibited from possessing, subscribing to, or viewin g, any images, video,
      magazines, liter ature, or other materials depicting children in t he nude and/or in sexually
      explicit positions .

6.    Without prior written appr oval of the pr obation officer, you ar e prohibite d from eit her
      possessing or using a computer (including a smar t phone, a h a nd-held computer device, a
      gaming console, or an electronic device) cap able of connecting to an online ser vice or internet
      service provider. This pr ohibition includes a computer at a public library, an internet cafe,
      your place of employment, or an educational facility. Also, you ar e prohibited from
      possessing an electr onic data stor age medium (including a flash drive, a comp act disk, a nd
      a flopp y disk) or usin g any data encryption technique or progr am. If approved to possess or
      use a device, you must permit routine inspection of the device, including th e h ard drive and
      any oth er electronic data stor age medium, to confirm adher en ce to t his condition. The
      United States Probation Office must conduct t he inspection in a manner no m ore intrusive
      th an necessary to ensure complia nce wit h this condit ion . If t his condition might affect a
      third par ty, including your employer , you mus t inform th e t hird par ty of this restriction ,
      including t he computer inspection provision.




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 7.       You shall submit to a sear ch of your person , residence, place of business, any storage units
          under your control, computer , or vehicle, conducted by the United States Probation Officer
          a t a r eason able time a nd in a r easonable manner, based upon reason able su spicion of
          contraband or evidence of a violation of a condit ion of release. You shall inform any other
          residents that the p remises m ay be subject to a search pursuant to this condition . F ailure
          to submit to a search may be gr ounds for r evocation.

 8.       You shall h ave n o contact, direct or indirect, with t he victims identified in Counts One and
          Two (Minor 1 an d Minor 2).

9.       You sh all provide t h e probation officer access to any r equested financial information .

 10.      You shall be prohibited from incurring new credit ch arges, opening additional lines of cr edit,
          or obligating yourself for a ny m ajor purch ases without approval of the probation officer. If
          no r estitution is order ed, th e Court will enter an amended judgmen t r emoving this
          condition.



                                 CRIMINAL MONETARY PENALTIES

       The defendant must pay the following total criminal monet ary penalties under the schedule
of p aymen ts set forth in the Schedule of P ayments.
                                  AVAA               JVTA
               Ass essment                                               Fine          Restitution
                                  Assessment 1       Assessment 2

TOTALS         $200.00            $0.00              $0.00               $0.00         TBD

        The determination of restit ution is deferred . No later than Fe bruary 21, 2023, counsel for
th e U nited States sh all file a notice advising t he Court whether r estitution will be requested. If
so, th e Court will set a r estit ution hearing. An Amended Judgment in a Criminal Case (AO 245C)
will be entered after such determination .




1
    Amy, Vicky, a nd An dy Child Pornogr aphy Victim Assis tance Act of 2018, Pub. L. No. 115-299.
2   J ustice for Victim s of Trafficking Act of 20 15, Pub. L. No. 114-22.
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Scott Matthew Yotka
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                                  SCHEDULE OF PAYMENTS

The Special Assessment in the amount of $200.00 is due in full and immediately.

Unless the court h as expressly order ed oth erwise, if this judgmen t imposes a period of
imprisonment, payment of criminal monetary penalties is due during the period of imprisonment.
All criminal monetary penalties, except those payments ma de through t he Feder al Bureau of
Prisons' Inmate Financial Responsibility Program, are ma de to the clerk of the court, unless
otherwise directed by th e court.

The defendant sh all receive credit for all payments previously made toward any criminal monetary
penalties imposed.

Payments sh all be applied in t he following order: (1) assessment, (2) r estitution principal, (3)
restitution inter est, (4) AVAA assessment, (5) fine principal, (6) fine interest, (7) community
restitution, (8) JVTA assessmen t, (9) pen alties, and (10) costs, including cost of prosecution and
court costs.




A0245B (Rev. 09/19) Judgment in a Criminal Case
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                           DOC. 57
Case 3:21-cr-00106-MMH-JBT Document 57 Filed 01/03/23 Page 1 of 2 PageID 208
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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION



   UNITED STATES OF AMERICA

   v.                                           Case No. 3:21-cr-106-MMH-JBT

   SCOTT MATTHEW YOTKA
   _______________________________________/

                              NOTICE OF APPEAL

         NOTICE IS HEREBY GIVEN that Scott Matthew Yotka, Defendant

   above named, hereby appeals to the United States Court of Appeals for the

   Eleventh Circuit from the Judgment in a Criminal Case entered in this action

   on December 22, 2022.

         DATED this 3rd day of January, 2023.


                                        A. FITZGERALD HALL, ESQ.
                                        FEDERAL PUBLIC DEFENDER

                                        /s/ Maurice C. Grant, II
                                        ____________________________________
                                        Maurice C. Grant, II, Esq.
                                        Assistant Federal Defender
                                        Florida Bar No. 0791806
                                        200 West Forsyth Street, Suite 1240
                                        Jacksonville, FL 32202
                                        Telephone: (904) 232-3039
                                        Fax: (904) 232-1937
                                        maurice grant@fd.org
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                           CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a copy of the foregoing Notice of Appeal has

   been furnished by electronic notification to David Rodney Brown, Assistant

   United States Attorney, 300 N. Hogan St, Suite 700 Jacksonville, Florida

   32202, this 3rd day of January, 2023.


                                              /s/ Maurice C. Grant, II

                                              Maurice C. Grant, II, Esq.
                                              Assistant Federal Defender
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                           DOC. 67
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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION


UNITED STATES OF AMERICA

v.                                             CASE NO. 3:21-cr-106-MMH-JBT

SCOTT MATTHEW YOTKA




           UNITED STATES’ NOTICE REGARDING RESTITUTION

      The United States of America, pursuant to this Court’s Order on December

21, 2022, hereby notifies the Court and defendant through counsel of the following

information regarding restitution:

      1.     On December 21, 2022, the Court held a sentencing hearing in this

case. See Doc. 54. Near the conclusion of the hearing, the Court indicated that it

would allow the United States additional time to confer with the parent of the child

victims regarding restitution. To that end, the Court directed the United States to file

a notice no later than February 21, 2023 advising whether restitution would be

requested.

      2.     Subsequent to the sentencing hearing, the United States, through its

Victim-Witness Specialist, communicated with the parent of the child victims and
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was advised in summary that the parent has incurred “no out of pocket expenses”

and does not wish to pursue restitution.

                                       Respectfully submitted,

                                       ROGER B. HANDBERG
                                       United States Attorney


                                 By:   s/ D. Rodney Brown
                                       D. RODNEY BROWN
                                       Assistant United States Attorney
                                       Florida Bar No. 0906689
                                       300 N. Hogan Street, Suite 700
                                       Jacksonville, Florida 32202
                                       Telephone: (904) 301-6300
                                       Facsimile: (904) 301-6310
                                       E-mail: rodney.brown@usdoj.gov




                                           2
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U.S. v. Scott Matthew Yotka                         Case No. 3:21-cr-106-MMH-JBT


                            CERTIFICATE OF SERVICE

       I hereby certify that on February 1, 2023, I electronically filed this document

with the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to the following:


                            Maurice C. Grant, II, Esq.
                            Assistant Federal Public Defender




                                               s/ D. Rodney Brown
                                               D. RODNEY BROWN
                                               Assistant United States Attorney




                                           3
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                           DOC. 68
         Case 3:21-cr-00106-MMH-JBT Document 68 Filed 02/03/23 Page 1 of 8 PageID 240
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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION

UNITED STATES OF AMERICA                              Case Number: 3:21-cr-106-MMH-JBT

v.                                                    USM Number: 65398-509

SCOTT MATTHEWYOTKA                                    Maurice C. Grant, II, FPD
 a/k/a "Scot tnj ax44"                                200 W. Forsyth Street
                                                      Ste. 1240
                                                      Jacksonville, FL 32202

                          AMENDED JUDGMENT IN A CRIMINAL CASE

The defendant pleaded guilty to Counts One a nd Two of the I ndictmen t. The defendant is
adjudicated guilty of these offen ses:
                                                                  Date Offense        Count
     Title & Section          Nature of Offense
                                                                  Concluded           Number(s)

     18 U.S.C. §§ 225 l (a)   Production of Child P ornogr aphy    September 2021       One
     an d 225 l (e)

     18 U.S.C. §§ 2251(a)     Production of Child P ornography     September 2021       Two
     a nd 225 l (e)
The defendan t is sentenced as provided in pages 2 throu gh 8 of this judgmen t. The sen te nce is
imposed pursu ant to th e Sentencing Reform Act of 1984.

Count Three of th e Indictmen t is dismissed on t he motion of th e U nited States an d pursu an t to
t he Plea Agr eemen t .

IT IS ORDERED that the defendant must notify the U nited S tates at torney for this district
wit hin 30 days of a ny cha n ge of name, residence, or mailing address until all fines, restitution ,
costs and special assessments imposed by this judgmen t ar e fully paid. If ordered to pay
restitution , the defen dant must notify th e court and U nited States attorney of material changes in
econ omic cir cumstances.

                                               Date of Imposition of Sentence:
                                               December 21, 2022
                                               First Amended: February 2, 2023


                                               Uru ,,ta- Ul)\C, ~,, ~ev.A
                                               MARCIA MORALES HOWARD
                                               UNITED STATES DISTRICT JUDGE

                                               February      T, 2023
AO245C (Rev. 09/19) Amended Judgme nt in a Crimin a l Case
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                                       IMPRISONMENT

      The defendant is hereby committed to the custody of the Feder al Bureau of Prisons to be
imprisoned for a total term of SEVEN HUNDRED TWENTY (720) MONTHS, consisting of
THREE HUNDRED SIXTY (360) MONTHS as to each Count One and Count Two to run
consecutively.

      The Court makes the following r ecommendations to the Bureau of Prisons:
         • Incarceration at FCI Englewood given the availability of sex offender treatment at
           that location and the Court's firm observation that Defendant is in need of such
           treatment.
         • Defendant enroll in a ny educational and vocational programs available.


      The defendant is remanded to the custody of the United States Marshal.


                                             RETURN

I h ave executed this judgment as follows:




Defe ndant delivered on _ _ _ _ _ _ _ __ to _ _ __ _ __ __ __ _ __ _ __


a t - - - - - - - - -- - - - - - -- - - - ~ with a certified copy of this_judgment.




                                              UNITED STATES MARSHAL


                                              B y : - - - -- - - - - - - -- - - --
                                              Deputy United States Marshal



A0245C (Rev. 09/19) Amended Judgment in a Criminal Case
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                                     SUPERVISED RELEASE

      Upon release from imprisonment, you will be on super vised release for a term of LIFE,
consisting of LIFE as to each Count One and Count Two to run concurrently.


                                  MANDATORY CONDITIONS

1.     You must not commit a nother federal, state or local crime .
2.     You must n ot unlawfully possess a controlled substance .
3.     You must refrain from any unlawful use of a controlled substance. You must submit to one
       drug test wit hin 15 days of release from imprisonment and at least two periodic drug tests
       th ereafter, as determined by th e cour t.
           • The above dr u g testing condition is su spended, based on th e cour t's determination
               t h at you pose a low risk of future sub stance abuse .
4.     You must cooperate in the collection of DNA as directed by the probation officer.
5.     You must comply with the r equirements of the Sex Offender Registration and Notification
       Act (34 U .S.C. § 20901, et seq.) as directed by the probation officer, t he Bureau of Prisons,
       or any state sex offender registration agency in the location where you reside, work, ar e a
       student, or wer e convicted of a qualifying offen se.
6.     If restit ution is order ed, you must make it in accordance with 18 U .S.C. §§ 3663 and 3663A
       or a ny other statute authorizing a senten ce of restitution.


You must comply with t he standard condition s th at h ave been adopted by this court as well as
with any other condition s on th e attached page.




AO245C (Rev. 09/ 19) Ame nded Judgm ent in a Criminal Case
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                        STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of
s upervision. These conditions are imposed because they establish the basic expectations for your
behavior while on supervision and identify the minimum tools needed by probation officers to keep
informed, r eport to t he cour t about, and bring a bout improvements in your conduct and condition.

1.     You must report to the probation office in the fede ral judicial district where you are
       a uthorized to r eside within 72 hours of your r elease from imprisonment, unless the
       probation officer instructs you to report to a different probation office or wit hin a different
       time frame.
2.    After initially reporting to the probation office, you will r eceive instructions from the court
       or the probation officer about how and when you must r eport to the probation officer, a nd
      you must r epor t to the probation officer as instructed.
3.    You must not knowingly leave t he federal judicial district where you are a uthorized to reside
      without first getting permission from the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer
5.    You must live at a place approved by the probation officer. If you plan to cha nge where you
      live or a nything about your living arran gemen ts (such as the people you live with), you must
      notify t he probation officer at least 10 days before the ch ange. If notifying the probation
      officer in advance is not possible due to una nticipated circumstances, you must notify the
      probation officer within 72 hours of becoming aware of a ch an ge or expected ch an ge.
6.    You must allow the probation officer to visit you at any time at your h ome or elsewh ere, a nd
      you must permit the probation officer to take any items prohibited by the conditions of your
      sup ervision that he or sh e observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless
      the probation officer excuses you from doing so. If you do not h ave full-time employment
      you must try to find full- time employment, unless t he probation officer excuses you from
      doing so. If you plan to change where you work or anything about your work (such as your
      position or your job resp onsibilities), you must notify the probation officer at least 10 days
      before the ch ange. If notifying the probation officer at least 10 days in a dvance is not possible
      due to unanticipated circumstances, you must notify the probation officer within 72 hours
      of becoming aware of a ch ange or expected ch an ge.
8.    You must not communicate or interact with someone you know is engaged in criminal
      activity. If you know someone has been convicted of a felony, you must not knowingly
      communicate or interact with th at per son without first getting th e permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer , you must notify the probation
      officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or
      dangerous weapon (i.e ., anythin g that was designed, or was modified for , t h e specific
      purpose of cau sing bodily injury or death to a noth er person such as nunchucks or tasers).
11.   You must not act or m ake any agreement with a law enforcement agency to act as a
      confidential human source or informant with out first getting the permission of t he court.


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12.   If the probation officer determines that you pose a risk to another person (including an
      or ganization), the probation officer m ay r equire you to notify the person about th e risk and
      you must comply with t h at instruction . The probation officer may contact th e person and
      confirm t h at you h ave notified th e person about th e risk.
13.   You must follow the instructions of t he probation officer related to the conditions of
      supervision.


U.S. Probation Office Use Only

A U.S. probation officer h as instructed me on th e conditions specified by the court and has
provided me with a written copy of this judgment containing these conditions. For further
information regarding these conditions, see Overview of Probation and Supervised R elease
Conditions, available at: www.uscourts.gov.




Defendant's Signature :_ _ _ _ _ _ _ _ _ _ _ __                    Date:- - - - - - - - - - -




AO245C (Rev. 09/19) Am ended Judgment in a Crimin al Case
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                ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

1.    You shall participate in a mental health progr am specializing in sexual offender treatment
      and submit to polygraph testing for treatment and monitoring purposes. You shall follow
      th e probation officer's instructions regarding the implemen tation of this court directive.
      Further , you sh a ll contribute to t he costs of s uch treatment and/or polygr aphs not to exceed
      an a mount determined reason able by the probation officer based on ability to pay or
      availability of third party p aymen t a nd in conforma nce with th e Probation Office's Sliding
      Scale for Trea tment Services.

2.    You shall r egister with the state sexual offender registr ation agency(s) in any state where
      you r eside, visit, are employed, carry on a vocation, or ar e a studen t , as directed by t he
      probation officer .

3.    The probation officer sh all provide state officials with all information required under Florida
      sexual predator and sexual offender notification and registration statutes (F.S. 943.0435)
      and/or the Sex Offender Registr ation and Notification Act (Title I of the Adam VValsh Child
      Protection and Safety Act of 2006, Public Law 109-248), and may direct the defendan t to
      r eport to these agencies personally for r equired addition al processin g, such as
      photographing, finger printing, and DNA collection.

4.    You sh all h ave no direct contact with minors (under th e age of 18) with out the written
      approval of the probation officer and sh all r efrain from entering into any area where
      children frequently con gregate including: schools, dayca re centers, theme par ks,
      playgrounds, etc.

5.    You are prohibited from possessing, subscribing to, or viewing, any images, video,
      magazines, liter ature, or other materials depicting children in t he nude a nd/or in sexually
      explicit positions .

6.    Without prior written approval of t he probation officer, you are prohibited from either
      possessing or using a computer (including a smart phone, a h and-held computer device, a
      gaming console, or an electr onic device) capable of connectin g to an online ser vice or internet
      service provider. This prohibition includes a computer at a public library, an internet cafe,
      your place of employment, or an education al facility. Also, you ar e prohibited from
      possessing an electronic data stor age medium (includin g a flash drive, a comp act disk, and
      a flopp y disk) or u sing any data encr yption technique or program. If approved to possess or
      u se a device, you must permit routine inspection of the device, including the h ard drive a nd
      any oth er electronic da ta s tor age medium, to confirm adherence to this condition. The
      United States Probation Office must conduct the inspection in a manner no more intrusive
      than necessary to ensure compliance with this condition . If this condition might affect a
      third party, including your employer, you must inform the third p ar ty of t his restriction ,
      including the computer inspection provision.




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7.        You shall submit to a search of your person , residence, place of business, a ny storage units
          under your control, computer, or vehicle, conducted by the United States Probation Officer
          at a r eason able time and in a r easonable manner , b ase d upon reasonable suspicion of
          contraband or eviden ce of a violation of a condition of r elease. You shall inform a ny other
          residen ts t h at th e premises may be subject to a sear ch pursu ant to this condition. Failure
          to submit to a sear ch may be grounds for r evocation .

8.        You sha ll h ave no contact, direct or indirect , with the victims ident ified in Counts One and
          Two (Minor 1 a nd Minor 2).

9.        You sh all provide th e probation officer access to any requested financial information.


                                 CRIMINAL MONETARY PENALTIES

      The defenda nt must pay t he followin g total criminal monetary penalt ies under the schedule
of payments se t forth in the Sch edule of Payments.
                                  AVAA               JVTA
               Assessment                                               Fine          Restitution
                                  Assessm e nt 1     Assessment2

TOTALS          $200.00           $0.00              $0.00              $0.00         $0.00




 1   Amy, Vicky, a nd Andy Child Pornography Victim Assistance Act of 2018, P ub. L. No. 115-299.
2    Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
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Scott Matthew Yotk a
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                                  SCHEDULE OF PAYMENTS

The Special Assessment in the amount of $200.00 is due in full and immediately.

Unless the court has expressly order ed otherwise, if this judgment imposes a period of
imprisonment, payment of criminal mone tary penalties is due during the period of imprisonment.
All criminal monetary penalties, except those paymen ts made t hrou gh th e Federal Bureau of
Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court, unless
other wise directed by the court.

The defendant sh all r eceive credit for all payments previously made toward any criminal monetary
penalties imposed.

P ayments sh all be applied in the following order: (1) assessmen t, (2) r estit u tion principal, (3)
restitution inter est, (4) AVAA assessment, (5) fine principal, (6) fine interest, (7) community
r estitution, (8) JVTA a ssessment, (9) pen alt ies, and (10) costs, including cost of prosecution and
court costs.




AO245C (Rev. 09/19) Amended Judgment in a Criminal Case
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                         CERTIFICATE OF SERVICE

     I certify that on March 29, 2023, the foregoing was electronically

filed with the Clerk of Court by using the CM/ECF system, which will

send a notice of electronic filing to the United States Attorney’s Office.


                                   /s/ Shehnoor Kaur Grewal
                                   Shehnoor Kaur Grewal, Esq.




                                       4
